                             UNITED STATES DISTRICT
                            COURT SOUTHERN DISTRICT
                                  OF NEW YORK

BEN & JERRY’S HOMEMADE, INC.,      )
CLASS I DIRECTORS OF BEN & JERRY’S )
INDEPENDENT BOARD                  )
                                                     Case No. 1:24-cv-08641-PKC
                                   )
                Plaintiffs,        )
                                                     JURY TRIAL DEMANDED
     v.                            )
                                   )
UNILEVER PLC AND CONOPCO, INC.     )
                                   )
                Defendants.

              FIRST[PROPOSED] SECOND AMENDED COMPLAINT

       Plaintiffs Ben & Jerry’s Homemade, Inc. and the Class I Directors of the Ben &

Jerry’s Independent Board (together, “Plaintiffs” or “Ben & Jerry’s”), by and through their

undersigned attorneys, as and for their firstsecond amended complaint (the “Complaint”)

against defendants Conopco, Inc. (“Conopco”) and Unilever PLC (“Unilever,” and together

with Conopco, “Unilever” or “Defendants”), hereby allege upon knowledge as to themselves

and their own acts, and upon information and belief as to all other matters, as follows:

                                    INTRODUCTION

       1.      This dispute centers on Unilever’s failure to adhere to its contractual

obligations vis-a-vis the parties’ Merger Agreement, Settlement Agreement, and Settlement

Amendment. Specifically, Unilever has repeatedly failed to recognize and respect the

Independent Board’s primary responsibility over Ben & Jerry’s Social Mission and Brand

Integrity, including threatening Ben & Jerry’s personnel should the company speak out

regarding issues whichthat Unilever prefers to censor. The Independent Board initiates this

litigation to protect Ben & Jerry’s three-part mission from Unilever’s unilateral erosion and

to safeguard the company from Unilever’s repeated overreaches.
                                                                                    Exhibit No.
                                                                                                  exhibitsticker.com




                                           1
                                                                                           A
                                            PARTIES

       2.      Plaintiff Ben & Jerry’s Homemade, Inc. is a Vermont corporation with its principal

place of business in Burlington, Vermont.

       3.      Plaintiffs Class I Directors of the Ben & Jerry’s Independent Board consist of the

Class I Directors of Ben & Jerry’s Homemade, Inc., who bring suit in their capacity as Directors

of the Independent Board with the authority to enforce the Settlement Agreement. The Class I

Directors of Ben & Jerry’s Homemade, Inc. are citizens of California, Nevada, and Georgia.:

               a. Anuradha Mittal – California

               b. Daryn Dodson – California

               c. Jennifer Henderson – Nevada

               d. Detavio Samuels – Georgia

               e. Chivy Sok – California

       4.      Defendant Conopco, Inc. is a New York corporation headquartered in Englewood

Cliffs, New Jersey.

       5.      Defendant Unilever PLC is a United Kingdom public limited company

headquartered in London, England.

                         PERSONAL JURISDICTION AND VENUE

       6.      This Court has personal jurisdiction over Unilever because Unilever has consented

to personal jurisdiction in any federal court located in the State of New York under Section 14 of

the Settlement Agreement with respect to the claims being brought in this Complaint.

       7.      This Court has personal jurisdiction over Conopco because Conopco has consented

to personal jurisdiction in any federal court located in the State of New York under Section 14 of

the Settlement Agreement with respect to the claims being brought in this Complaint. Conopco is

also subject to the general personal jurisdiction of this Court as a domestic corporation. See N.Y.
                                                2
C.P.L.R. § 301.

       8.      Venue lies within this District pursuant to Section 14 of the Settlement Agreement.

On information and belief, venue also lies in this District under 28 U.S.C. § 1392(b)(2) because

Defendants conduct, transact, and/or solicit substantial business in New York.




                             SUBJECT MATTER JURISDICTION

       9.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332 as there is complete diversity between the parties and the matter in controversy exceeds,

exclusive of interest and costs, the sum of seventy-five thousand dollars.

                                  FACTUAL BACKGROUND

I.     Unilever Has Breached the Parties’ Settlement Agreement by Inappropriately
          Halting Ben & Jerry’s Social Mission.

       A.      Under the Parties’ Multiple Agreements, The Independent Board Holds
               Primary Responsibility Over Ben & Jerry’s Social Mission and Brand
               Integrity.

       10.     Social justice and human rights are core to Ben & Jerry’s DNA. For over four

decades, the company has pursued its unique Social Mission via its public, progressive stances on

issues such as migrant justice, LGBTQ+ rights, Black Lives Matter, GMO labeling, and a variety

of other economic and social causes affecting historically marginalized communities. Consistent

with its decades-long history of supporting peace and human rights, in July 2020, Ben & Jerry’s

Independent Board unanimously passed a resolution that instructed company management to

develop a plan to end all distribution of Ben & Jerry’s products in Israeli-only settlements in the

Occupied Palestinian Territory. Unilever’s appointee to the Independent Board voted in favor of

the resolution. Approximately one year later, in July 2021, Ben & Jerry’s announced to the public

that it would be ending sales of its products in the area, with Unilever concurrently issuing a press
                                                 3
    release declaring that it had “always recognised the right of the brand and its independent Board

    to take decisions about its social missions.”1

            11.      On June 23, 2022, Unilever announced that it had sold Ben & Jerry’s intellectual

    property in Israel and the Occupied Palestinian Territory to a distributor who would continue sales

    in the settlements. The Independent Board—who had not consented to nor been consulted about

    the sale—initiated litigation on behalf of Ben & Jerry’s within a matter of days, alleging that

    Unilever’s actions constituted breaches of the parties’ 2000 Merger Agreement and 2000

    Shareholders Agreement, both of which cemented “primary responsibility” over Ben & Jerry’s

    Social Mission and Brand Integrity with the Independent Board.

            12.      The parties negotiated for several months thereafter. A primary objective of the

    Independent Board was to enshrine guardrails preventing any dilution of the company’s Social

    Mission and Brand Integrity. Following over six months of negotiations, in December 2022, Ben

    & Jerry’s and Unilever ultimately entered into a Settlement Agreement, which was expressly

    conditioned on Unilever respecting the Independent Board’s authority over Ben & Jerry’s Social

    Mission and Brand Integrity. Per Section 2(b) of the Settlement Agreement, Unilever must

    “[r]espect and acknowledge the Ben & Jerry’s Independent Board’s primary responsibility over

    Ben & Jerry’s Social Mission and Essential Brand Integrity” and “work in good faith with the

    Independent Board to ensure that both are protected and furthered.”2

            13.      Unilever has breached its contractual obligations to both Ben & Jerry’s and the



1
    Exhibit 1 (Unilever Statement on Ben & Jerry’s Decision) at 2.
2
    Exhibit 2 (Settlement Agreement) at 1. This provision underscored the Independent Board’s authority as outlined in
    the Merger Agreement. Indeed, the Settlement Agreement repeatedly references the Merger Agreement, and uses the
    following statement to summarize its purpose and extent: “Unilever respects the Merger Agreement with Ben & Jerry’s
    Homemade Inc., including the company’s three-part mission and the Independent Board’s primary responsibility over
    the company’s Essential Brand Integrity and Social Mission . . . As provided in Sections 6.14(e), (f) of the Merger
    Agreement, any decisions implicating Ben & Jerry’s Essential Brand Integrity and Social Mission should be made after
    consultation with and approval of the Independent Board of Ben & Jerry’s.” Id. at 2-3.
                                                            4
Independent Board through various threats, reprisals, and censorship.


       B.      Unilever Has Repeatedly Halted Ben & Jerry’s Social Mission in Direct
               Contravention of the Settlement Agreement.

       14.     Mere months after the parties entered the Settlement Agreement, Unilever had

already begun its efforts to undermine it. Specifically, during the ongoing humanitarian crisis in

Gaza, which has claimed the lives of over 1820,000 innocent Palestinian children, Ben & Jerry’s

has on four occasions attempted to publicly speak out in support of peace and human rights.

Despite its contractual commitment to “[r]espect and acknowledge” the Independent Board’s

primary responsibility over Ben & Jerry’s Social Mission and Essential Brand Integrity, Unilever

has silenced each of these efforts.

       15.     First, in December 2023, approximately two months into the humanitarian crisis,

the Independent Board alongside Ben & Jerry’s management informed Unilever that Ben & Jerry’s

would be issuing the following statement: “Ben & Jerry’s calls for peace and a permanent and

immediate ceasefire.” By this time, over 140 countries around the world (including England,

France, and Canada), Doctors Without Borders, and the Pope had also called for a ceasefire. In

response, Unilever threatened to dismantle the Independent Board and sue the board members

individually if Ben & Jerry’s—with its decades-long motto of “peace, love, & ice cream”—issued

the statement supporting “peace” and a “ceasefire.” These threats were coupled with personal calls

from Peter ter Kelve and Jeff Eglash (Unilever’s President of Ice Cream and Global Head of

Litigation), who attempted to intimidate Ben & Jerry’s personnel with professional reprisals if the

company issued the ceasefire statement.

       16.     Second, approximately five months later, in May 2024, Ben & Jerry’s social

activism managers in Europe sought to release the following statement in support of the safe

passage of Palestinian refugees:

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       17.     This statement was consistent with Ben & Jerry’s long history of supporting safe

passage for refugees from multiple countries, including Rwanda, Afghanistan, and Ukraine, among

others. In fact, Ben & Jerry’s showcases a statement titled “the Rights and Dignity of Refugees

and Asylum Seekers” under the “Issues We Care About” section of the company’s website.

Nevertheless, Unilever prevented Ben & Jerry’s social activism managers from publishing the

statement, without the Independent Board’s knowledge or consent.

       18.     In June 2024, after the Independent Board became aware of Unilever’s

inappropriate muzzling, Ben & Jerry’s Chairwoman, Anuradha Mittal, wrote to Mr. ter Kelve

emphasizing Ben & Jerry’s “long history of work on refugee rights,” including supporting safe

passage for refugees from multiple countries. The Chairwoman continued: “Safe passage is the

right of every single person from every single country; to single out Gazan refugees’ right to safe

passage is discriminatory and contravenes international human rights and humanitarian laws, not

to mention Unilever’s stated commitment to human rights principles in general. This work also


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falls squarely under the Merger Agreement which grants the Board primary decision-making

authority.”

        19.     On July 1, 2024, Mr. ter Kelve responded: “[T]o my understanding the

communications team initially reviewed [the statement] and was concerned about the timing of it

– it coincided with the Iranian missile attack on Israel. When the matter was escalated to me, I

expressed concerns about the continued perception of antisemitism that is a persistent issue. It was

my judgment that in light of the timing and nature of the post it, it was not an appropriate message

at this time.” Disturbed that Mr. ter Kelve would intentionally create a false equivalency between

calling for the safe passage of Gazan refugees and antisemitism, Ms. Mittal wrote on July 7, 2024:

“[O]ther than your clairvoyant intuition, could you please point to any objective data point—such

as a market study or third-party evaluation—that objectively confirmed your unilateral judgment

that calling for safe passage of all refugees, including from Gaza will be viewed as antisemitism?”

To this day, Mr. ter Kelve has never provided any such evidence.

        20.     Third, in June 2024, as college campuses around the country were protesting the

civilian deaths and humanitarian catastrophe in Gaza, Ben & Jerry’s management and the

Independent Board aligned on issuing a public statement supporting the protesters’ First

Amendment rights. Ben & Jerry’s has a long history of supporting such discourse, including a

post titled “Silence is NOT an Option” regarding the murder of George Floyd, which remains live

on Ben & Jerry’s website. When Ben & Jerry’s management informed Unilever that they would

be publishing the statement supporting the protesters’ rights, Jeffrey Eglash (Unilever Global Head

of Litigation) barred its release.

        21.     Fourth, on September 25, 2024, Senator Bernie Sanders issued the following tweet:




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       22.    In conjunction with Senator Sander’s post, Ben & Jerry’s management and the

Independent Board agreed on releasing the following statement:

              We Support the Sanders Resolution. As the one-year anniversary of October 7th
              approaches, with tens of thousands of innocent Palestinian civilians killed and
              dozens of Israeli hostages still held, we believe in providing critical humanitarian
              aid, not in sending more weapons. We urge you to join us in calling on the Senate
              to pass the Sanders Resolution and halt an additional $20 billion in military aid to
              Israel.

       23.    On September 25, 2024, Ms. Mittal wrote to Ben & Jerry’s CEO requesting

publication of the statement as approved by the Independent Board, the entity with “primary

responsibility” over Ben & Jerry’s Social Mission. The Chair followed up on September 29, 2024,

requesting a status update. The following day, Ms. Mittal was informed that Mr. ter Kelve had




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unilaterally vetoed the statement in what amounted to Unilever’s fourth act of censoring Ben &

Jerry’s social mission in less than a six-month span.

         24.      Unilever’s overreach has recently expanded to other portions of the Social Mission

as well.3 For example, following the November 2024 election, Ben & Jerry’s management worked

collaboratively with the Independent Board to release a post on Inauguration Day that identified

several social issues Ben & Jerry’s believed would be challenged during the Trump administration,

including minimum wage, universal healthcare, abortion, and climate change. Despite weeks of

working on the statement, including feedback from Unilever’s Global Head of Litigation, on

January 18, 2024, Peter ter Kelve unilaterally barred Ben & Jerry’s from issuing the post because

it specifically mentioned “Donald Trump.”

         25.      Mr. ter Kelve’s objection, of course, ignored Ben & Jerry’s consistent history of

challenging the Trump administration, including launching the flavor “Pecan Resist” in 2018

alongside the following public statement: “The company cannot be silent in the face of President

Trump’s policies that attack and attempt to roll back decades of progress on racial and gender

equity, climate change, LGBTQ rights and refugee and immigrant rights – all issues that have been

at the core of the company’s social mission for 40 years.” Mr. ter Kelve—clearly unaware of the

Pecan Resist statement—provided no evidence whatsoever regarding any commercial

implications of previous posts regarding the Trump administration or of the Inauguration Day post

which he unilaterally blocked. Rather, Mr. ter Kelve appeared to base his decision solely offon his

intuition.




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           Plaintiffs allege these additional facts as a part of their pleading amendment “as a matter of course” under
Federal Rule of Civil Procedure 15(a)(1)(B). All material facts alleged in Paragraphs 24–26 of this Complaint occurred
after Plaintiffs’ December 19, 2024 Letter to the Court, and thus could not be addressed therein.

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       26.    Unilever’s springing objection to mentioning “Trump” coincides with its prominent

board member, Nelson Peltz, publicly supporting Mr. Trump. Unsurprisingly, withinWithin

twenty-four hours of Mr. ter Kelve blocking the Inauguration Post based of a hunch rather than

evidence,on the grounds that it was “partisan,” he hosted an Ice Cream Townhall, where he

publicly touted that Mr. Peltz had been the one to introduce Elon Musk to Donald Trump.

According to Mr. ter Kelve, despite four decades of progressive social activism—and years of

challenging the Trump administration’s policies specificallyunder both Democratic and

Republican presidents—criticizing Trump was now too taboo for the brand synonymous with

“Peace, Love, and Ice Cream.”

       27.    As the aforementioned conduct underscores, Unilever has exhibited a pattern and

practice of usurping the Independent Board’s authority, while concurrently stymieing Ben &

Jerry’s Social Mission and Brand Integrity.

II.    Unilever Has Breached the Parties’ Settlement Agreement by Blocking Donations to
          Jewish Voice for Peace and the Council on American Islamic Relations.

       A.     Per the Settlement Agreement, the Chair of the Independent Board Designates
              Donation Recipients.

       28.    As another condition to the Settlement Agreement, Unilever must make a total of

$5 million in payments to Ben & Jerry’s for disbursement to human rights and humanitarian

organizations. Per Section 2(g) of the Settlement Agreement:

              Unilever will make two $2,500,000 payments to Ben & Jerry’s Homemade Inc.
              (totaling $5,000,000). The first payment will occur in 2023 and the second payment
              in 2024. Under no circumstances will the first payment be made later than July 30,
              2023, or the second payment be made later than July 30, 2024. The Chair of the
              Independent Board in good faith consultation with Unilever will determine to which
              humanitarian and human rights organizations the funds will be disbursed.
              Unilever’s consent will not be unreasonably withheld.




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            29.      Per the plain terms of the Settlement Agreement, the Chair of Ben & Jerry’s

    Independent Board is to “determine” the donation recipients. It is a breach of contract for Unilever

    to unreasonably object to the Chair’s designees.

            B.       Unilever Has Unreasonably Blocked Ben & Jerry’s from Donating to Jewish
                     Voice for Peace and the Council on American-Islamic Relations.

            30.      On June 7, 2024, Ben & Jerry’s Chairwoman provided Maria Varsellona—

    Unilever’s Chief Legal Officer—a list of her designees, which included Jewish Voice for Peace

    and the San Francisco-Bay Area Chapter of the Council on American-Islamic Relations (CAIR-

    SFBA), among others. This initial correspondence led to a two-month-long negotiation process

    over the designees.

            31.      On multiple occasions, the Chair requested any objections Unilever had to the

    groups in writing. After initially refusing, Unilever finally provided its written objections on

    August 16, 2024 via a chart of grievances which simply regurgitated offensive stereotypes

    regarding each of the Chair’s designees. These objections were riddled with inconsistencies. For

    example, despite expressly agreeing to donate to “human rights organizations” in the parties’

    Settlement Agreement, each of Unilever’s objections boiled down to the same issue: the

    organizations were advocating for human rights, namely Palestinian human rights. As an

    illustration, Unilever’s objection to donations for Jewish Voice for Peace was that the group was

    too critical of the Israeli government. Unilever’s asserted objections were inconsistent with its

    own public Human Rights Policy which states that “[b]usinesses must not support any actions,

    directly or indirectly, which impinge upon human rights defenders’ right to freedom of expression,

    association, or assembly.”4


4
    See Unilever Principles in Support of Human Rights Defenders (https://www.unilever.com/files/a9ee0484-3dad-4f48-
    9f0b-69cea560ebba/unilever-principles-in-support-of-human-rights-defenders-sept-2023.pdf) at 7.
                                                         11
            32.      Unilever’s pretext for blocking the donations was that it allegedly seeks to remain

    “neutral” on the Palestinian-Israeli conflict. Unilever’s actions, however, belie its assertions of

    neutrality. For example, following October 7, Unilever publicly made a 500,000 Euro donation to

    Magen David Adom, an Israeli organization which acts as an auxiliary service to the Israeli

    Defense Forces (IDF). Magen David Adom has appointed to head its rabbinical committee Rabbi

    Schmuel Eliyahu, who has been repeatedly criticized for his “racist statements and extremist

    views.” Mr. Eliyahu has called on Jews “not to rent apartments to Arabs” and for the indiscriminate

    bombing of Palestinians (“If they don't stop after we kill 100, then we must kill a thousand. And

    if they do not stop after 1,000 then we must kill 10,000. If they still don't stop we must kill 100,000,

    even a million”). As Rabbi Rick Jacobs, President of the Union for Reform Judaism, has described:

    “Rabbi Shmuel [sic] Eliyahu is well known for his racist views which most Jews and supporters

    of Israel find offensive and which the Israeli Supreme Court strongly condemned.”5 He further

    described Rabbi Eliyahu as a “purveyor of hatred towards Arabs.”6 Most recently, Rabbi Eliyahu

    has called for the nuking of Gaza.7

            33.      Moreover, Unilever has not remained “neutral” in other contexts. For example,

    Unilever’s website contemporaneously showcases its position on the Ukraine/Russia conflict:

    Unilever “continue[s] to condemn the war in Ukraine as a brutal and senseless act by the Russian

    state.”8 In support of this position, Unilever “ceased all imports and exports of [its] products into

    and out of Russia . . . stopped all media and advertising spend . . . [and] ceased all capital flows




5
    Exhibit 3 (Sam Sokol, Israeli Rabbi Accused of Racism Says Barred Fromfrom U.S. by ‘anti-Zionists’, HAARETZ (May
    31, 2022)) at 2.
6
    Id.
7
    Exhibit 4 (Rabbi Backs Remark by his Son, a Far-right Minister, that Nuking Gaza is an Option, TIMES OF ISRAEL (Nov.
    14, 2023)) at 1-2.
8
    Exhibit 5 (Unilever Statement on the War in Ukraine) at 2.
                                                            12
     into and out of the country.”9

             34.     On August 28, 2024, Ms. Mittal provided the following response to Unilever’s

     objections chart: “We have provided ample evidence of Unilever taking sides in both this conflict

     and others completely negating your assertions, including the head rabbi of David Magen Adom

     calling for a nuclear bomb to drop on Gaza. It is disappointing that you attempt to portray

     Palestinian human rights as a ‘needless dispute’ We have reviewed your ‘evidence’ and find your

     objections to be riddled with caricatures and stereotypes. There is nothing unreasonable with

     promoting basic human rights for Palestinians.” Ms. Varsellona never responded.




     III.    Unilever Has Failed to Adhere to Its Contractual Payment Obligations to Indigenous
                Palestinian Farmers.

             A.      Per the Parties’ Settlement Amendment, Unilever Is to Disburse $20 Million
                     to Canaan Fair Trade Over the Next 10 Years.

             35.     On August 30, 2023, the Parties negotiated a Settlement Agreement Amendment.

     Per the Amendment, Unilever “will make payments totaling $2 million USD annually to Canaan

     Fair Trade (‘Canaan’), directly or through a third party, for the use of Palestinian almonds (or for

     the direct benefit of Palestinian almond farmers), for at least ten years Payments to Canaan will

     be verified by auditors selected by the Independent Board and reported on an annual basis in

     SEAR. Confirmation of payments made hereunder will be sent to the Chair of the Independent

     Board quarterly.”10 Canaan has sourced ingredients for Ben & Jerry’s products for nearly a decade,

     with its almonds being recognized for their high quality alongside Canaan’s promotion of values-

     led sourcing and fair trade.

             B.      Unilever Has Failed to Adhere to Its Contractually Mandated Reporting


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     Id.
10
     Exhibit 6 (Settlement Agreement Amendment) at 1.
                                                        13
               Requirements While Scapegoating Its Former Executives.

       36.     Per the plain terms of the Settlement Amendment, “[c]onfirmation of payments

made” to Canaan “will be sent to the Chair of the Independent Board quarterly.” The end of the

first quarter occurred on March 31, 2024. Unilever failed to provide such confirmation.

       37.     Instead, on April 2, 2024, Mr. ter Kelve wrote to Ben & Jerry’s Chairwoman that

he “[h]ad not been briefed on this yet and will investigate what the status of this agreement is. Who

is this Canaan group could not find when I googled?”

       38.     As Ms. Mittal pointed out in her response, Mr. ter Kelve’s ignorance was eye-

popping: “We have had a nearly-decade long commitment with Canaan. As referenced in the

language of the Settlement Amendment, they are a supplier of fair-trade ingredients from

Palestinian farmers: https://canaanpalestine.com/.” (emphasis added).

       39.     On April 11, 2024, Ms. Mittal and Mr. ter Kelve had a telephone conference to

further discuss the issue. During the call, Mr. ter Kelve lamented the Settlement Amendment as a

bad agreement, badmouthing and suggested that his predecessor, Matt Close, was fired for

agreeing to it. When Ms. Mittal pointed out that the Settlement Amendment involved a multi-

month negotiation process and review by multiple Unilever executives, Mr. ter Kelve was at a loss

for excuses.

       40.     In addition to attempting to renegotiate the parties’ agreement, Unilever has

unilaterally added hurdles to Cannan’s receipt of the funds, conditions which do not appear in the

Settlement Amendment. These extracontractual conditions highlight Unilever’s chronic overreach

and disregard of the parties’ agreement.

IV.    Unilever Is Attempting to Replace Ben & Jerry’s CEO for Defending the Social
       Mission in Violation of Unilever’s Obligations Under the Merger and Settlement
       Agreements.

       41.     Like the Settlement Agreement, Section 6.14 of the parties’ Merger Agreement

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 protects the Social Mission and Brand Integrity of Ben & Jerry’s, positions the Independent Board

 as the “custodians” of the same, and obligates Unilever to work with the Independent Board in

 good faith.11

          42.      The Merger Agreement further protects Ben & Jerry’s interests by precluding the

 unilateral removal of its CEO. Specifically, under Section 6.14(c), any decision regarding the

 replacement of Ben & Jerry’s CEO shall only occur “after good faith consultation with, and the

 participation in the discussion of, an advisory committee of the Company Board (the ‘Appointment

 Committee’).” The power to appoint members to this committee is vested exclusively in the Class

 I Directors of the Independent Board.

          43.      Contrary to their obligations under Section 6.14, Unilever has repeatedly threatened

 Ben & Jerry’s personnel, including CEO David Stever, should they fail to comply with Unilever’s

 efforts to silence the Social Mission.

          44.      This month, ter Kelve and Unilever followed through with their threats. On March

 3, 2025, Unilever informed the Independent Board that they were removing and replacing Mr.

 Stever as Ben & Jerry’s CEO. Ter Kelve informed third parties of the same soon thereafter.

 Despite the Merger Agreement’s clear obligation that any decision regarding the CEO’s removal

 can only occur “after good faith consultation with, and the participation in the discussion of, an

 advisory committee of the Company Board,” Unilever announced their decision before the

 committee had even been appointed and attempted to force the Independent Board into

 rubberstamping the decision by unilaterally dictating artificial and hasty deadlines.



11
     See Exhibit 7 (Merger Agreement), at 48–52. 1. The good faith cooperation of the CEO, the Independent Board,
     and Conopco in furthering Ben & Jerry’s Social Mission and Brand Integrity is an essential term of the Merger
     Agreement. Sections 6.14(e) and 6.14(f) provide that the Independent Board “shall work together with the CEO”
     to integrate the Social Mission into Ben & Jerry’s business plan and conduct the business in a manner that “preserves
     and enhances” Brand Integrity. Section 6.14(d) contemplates that the Company and Conopco shall work together
     in good faith to devise the annual business plan. And Section 6.14(i) specifically provides that “Conopco shall not
     prevent [Ben & Jerry’s] from fulfilling its obligations” under Section 6.14.
                                                           15
       45.     For example, Unilever attempted to impose an arbitrary four-day deadline for the

Independent Board to convene, appoint a committee, analyze the merits of removal, draft a

“consultation” in writing, and send it to Unilever, despite Unilever claiming they had been

contemplating the removal for over four months. According to Unilever, four days was plenty of

time for good faith discussions regarding replacing the CEO of a billion-dollar business.

       46.     In response, the Independent Board pointed out that Unilever’s four-day timeline

was inconsistent with the Merger Agreement and offered instead to appoint a committee on April

1, the date for the next Independent Board meeting. The Independent Board also requested access

to Unilever’s minutes, notes, and materials related to the removal decision so that the committee—

once appointed—could meaningfully participate in the contractually-mandated discussions.

Unilever refused the request.

       47.     On information and belief, Unilever’s motive for removing Mr. Stever is his

commitment to Ben & Jerry’s Social Mission and Essential Brand Integrity and his willingness to

collaborate in good faith with the Independent Board, rather than any genuine concerns regarding

his performance history. Under Mr. Stever’s tenure, Ben & Jerry’s outperformed Unilever’s ice

cream portfolio and was ranked #2 on the Brand 500 Authenticity Index in both 2023 and 2024.

       48.     In fact, in January 2025, Unilever literally wrote out their true intentions in Mr.

Stever’s annual performance review authored by Gerardo Rozanski (Unilever’s President of Ice

Cream for North America) and Ronald Schellekens (Unilever’s Chief Human Resources Officer).

In that review, Unilever chastised Stever for “repeatedly acquiesce[ing] to the demands of the

Independent Social Mission Board” by allowing Ben & Jerry’s to post statements the Independent

Board had collaboratively worked on with Ben & Jerry’s management.

       49.     Unilever’s actions breached the Merger Agreement by obstructing the CEO’s

duties, purposely undermining Ben & Jerry’s Social Mission and Brand Integrity, and failing to

                                               16
abide by the agreed procedure for removal of Ben & Jerry’s CEO. These actions also breached

the Settlement Agreement: Unilever’s attempt to replace Mr. Stever for preserving Ben & Jerry’s

Social Mission and working respectfully with the Independent Board is antithetical to its

contractual obligations to respect the Social Misson and work with the Independent Board in good

faith to ensure it is furthered.

        50.       Concurrently with their efforts to remove Mr. Stever, Unilever’s suppression of

Ben & Jerry’s Social Mission has reached startling new levels of oppressiveness—and irony. For

example, Unilever prevented Ben & Jerry’s—the company that has openly called for “Dismantling

White Supremacy”—from issuing a post commemorating Black History Month. And most

recently, after Columbia graduate Mahmoud Khalil was detained by ICE for expressing pro-

Palestine views on a college campus, Unilever blocked Ben & Jerry’s from making the following

post: “Protect the First Amendment! Free speech and peaceful protests are the lifeblood of our

democracy, and student activists have always been at the center of the fight for justice. Political

speech is protected by our constitution and peaceful civil disobedience should never be the basis

for deportation. Protect your right to dissent and take action with the @ACLU,” followed by a link

to an ACLU petition for Mr. Khalil’s release. Once again, Unilever provided no explanation for

the censorship.

        51.       Unilever’s repeated threats (including to dismantle the Independent Board),

inappropriate muzzling, and campaign of professional reprisals are particularly concerning given

their simultaneous efforts to restructure the company. Beginning in 2024, Unilever began taking

steps to spin off Unilever’s ice cream business, including Ben & Jerry’s Homemade, Inc. into a

standalone company. To date, Unilever has failed to engage with the Independent Board in good

faith regarding how the restructuring will preserve the rights, duties, and obligations specified in

the parties’ agreements, including Ben & Jerry’s Social Mission and Brand Integrity and the

                                                 17
Independent Board’s authority over the same. Instead, they have repeatedly threatened Ben &

Jerry’s personnel, encroached on the Independent Board’s authority over the Social Mission, and

are now moving to replace those who they deem to have sided with the Independent Board.

       52.     On March 5, 2025, Unilever informed the Independent Board that the restructuring

was “imminent.”

                                     CAUSES OF ACTION:

             COUNT I –BREACH OF CONTRACT: SETTLEMENT AGREEMENT

       41.53. Plaintiffs replead and incorporate by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.

       54.     Plaintiffs and Defendant entered into the Settlement Agreement in December 2022.

42.   Per Section 2(b) of the Settlement Agreement, Unilever must “[r]espect and acknowledge

the Ben & Jerry’s Independent Board’s primary responsibility over Ben & Jerry’s Social Mission

and Essential Brand Integrity” and “work in good faith with the Independent Board to ensure that

both are protected and furthered.” These commitments echo previous promises Defendant made

to Plaintiffs in the Merger Agreement and Shareholders Agreement..

       43.55. Defendants have breached this provision by threatening to dismantle the

Independent Board, sue Board members, and intimidate Ben & Jerry’s personnel. Defendants’

breaches also include censoring Ben & Jerry’s from publicly voicing support for peace and refugee

rights and for social and economic justice under the Trump administration. Defendants have also

failed to ensure that the Social Mission is protected and furthered, often acting unilaterally.

Defendants’ actions are unreasonable, hindering Ben & Jerry’s Social Mission and tarnishing its

Brand Integrity, areas over which the Independent Board retains primary responsibility.

       44.56. Defendants’ actions (including their censorship) have damaged Ben & Jerry’s

Social Mission and brand integrityBrand Integrity (including its goodwill) and encroached on the

                                                 18
     Independent Board’s authority, including their duties as the custodians of the Ben & Jerry’s brand.

             57.      Per Section 2(g) of the Settlement Agreement, “Unilever will make two $2,500,000

     payments to Ben & Jerry’s Homemade Inc. (totaling $5,000,000). The first payment will occur in

     2023 and the second payment in 2024.” Unilever failed to make the 2024 payment. Ben & Jerry’s

     has thus been damaged through its non-receipt of the promised funds.

             58.      Unilever’s breaches have also damaged Ben & Jerry’s by injuring its reputation and

     goodwill with customers, both of which are highly dependent upon a sustained public perception

     that Ben & Jerry’s steadfastly promotes its social goals and refuses to compromise its integrity.

     Ben and Jerry’s customers expect the Company to publicly comment on pressing social issues and

     expect its highest-ranking officials—including the CEO and the independent Board—to be

     supportive of these causes.12 Ben & Jerry’s unwavering commitment to the Social Mission and

     Essential Brand Integrity is one of the primary reasons customers choose Ben & Jerry’s over other

     brands, and a key part of its business model. Consequently, every act of muzzling, suppressing,

     or publicly undermining the company’s social activism causes real, calculable, and significant

     financial and reputational harm to Ben & Jerry’s. Unilever’s breaches have also undermined the

     Independent Board and damaged its authority over the Social Mission and Brand Integrity of the

     company, including their roles as “custodians” of the same.

            COUNT II – DECLARATORY JUDGMENT: SETTLEMENT AGREEMENT

             45.59. Plaintiffs replead and incorporate by reference each and every allegation set forth

     in the preceding paragraphs as if fully set forth herein.

             60.      APer Section 2(b) of the Settlement Agreement, Unilever must “[r]espect and

     acknowledge the Ben & Jerry’s Independent Board’s primary responsibility over Ben & Jerry’s



12
     See, e.g., Ben & Jerry’s January 24, 2025 TikTok post and user comments thereunder:
     (https://www.tiktok.com/@benandjerrys/video/7463526456144989486?lang=en).
                                                           19
Social Mission and Essential Brand Integrity” and “work in good faith with the Independent Board

to ensure that both are protected and furthered.” Unilever’s ongoing silencing of Ben & Jerry’s

Social Mission breaches this obligation, including its present bar on any posts criticizing the Trump

administration’s policies.

          46.61. Additionally, a present, actual, and justiciable controversy exists between Plaintiffs

and Defendants regarding whether Unilever has unreasonably objected to the Chair’s designees

under the terms of Settlement Agreement such that Unilever is now bound to disburse the funds to

the Chair’s designees. 28 U.S.C. § 2201.

          47.62. Under Section 2(g) of the Settlement Agreement, the “Chair of the Independent

Board in good faith consultation with Unilever will determine to which humanitarian and human

rights organizations the funds will be disbursed. Unilever’s consent will not be unreasonably

withheld.”

          48.63. Defendants have breached these provisions by preventing Ben & Jerry’s from

donating to the Chair’s designees, including Jewish Voice for Peace and CAIR-SFBA, among

others.

          64.    Under Section 2(i) of the Settlement Agreement, Unilever and Conopco are required

to ensure that “[r]espect and adherence to the Merger Agreement and a respectful work relationship

with the Independent Board will be a stated component of the job description of every CEO of Ben

& Jerry’s.”

          65.    Defendants are in breach of this provision, as well as the obligation to protect and

further the Social Mission under Section 2(b), if they persist in replacing Ben & Jerry’s CEO for

respecting the Social Mission and collaborating with the Independent Board. These actions also

breach the implied duty of good faith and fair dealing by undermining the agreement’s purpose

and the parties’ obligations under these sections.

                                                   20
       66.     Unilever’s habitual breaches are particularly concerning given their ongoing

restructuring. Any restructuring inconsistent with preserving the Independent Board’s authority

would constitute a breach of Unilever’s contractual obligations, damaging the Independent

Board’s authority as well as the rights they are granted within the agreement.

       49.67. Accordingly, Plaintiffs seek a declaration that:

               a. Unilever has unreasonably withheld its consent to the Chair’s designees.

               b. By unreasonably withholding its consent and failing to make the payments by
                  the agreed upon dates, Unilever has breached the Settlement Agreement.

               c. Any attempt by Unilever to remove Ben & Jerry’s CEO for protecting the Social
                  Mission or Essential Brand Integrity or for respecting the independent Board
                  would breach Defendants’ obligations under the Settlement Agreement.

               d. Any attempt to prevent Ben & Jerry’s from criticizing the Trump
                  administration’s policies or speaking out on other social issues under the purview
                  of its Social Mission would constitute a breach of its commitment to “[r]espect
                  and acknowledge the Ben & Jerry’s Independent Board’s primary responsibility
                  over Ben & Jerry’s Social Mission and Essential Brand Integrity” and “work in
                  good faith with the Independent Board to ensure that both are protected and
                  furthered.”

               e. Any attempt to eliminate the Independent Board or its members, or to
                  substantially alter or diminish the Independent Board’s responsibility and rights
                  over the Social Mission and Essential Brand Integrity, or to restructure the
                  company in a way that would have the same effect would breach Defendants’
                  obligations under the Settlement Agreement.

               c.f. Unilever must immediately disburse or allow Ben & Jerry’s to disburse
                    $2,500,000 in funds to the Chair’s designees, including Jewish Voice for Peace
                    and CAIR.

      COUNT III– DECLARATORY JUDGMENT: SETTLEMENT AMENDMENT

       50.68. Plaintiffs replead and incorporate by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.

       51.69. A present, actual, and justiciable controversy exists between Plaintiffs and

Defendants regarding whether Unilever has failed to adhere to its contractual obligations regarding

disbursements to Canaan Fair Trade and failing to send quarterly confirmation reports to the
                                            21
Independent Board.

       52.70. Per the 2023 Settlement Amendment, Unilever “will make payments totaling $2

million USD annually to Canaan Fair Trade (‘Canaan’), directly or through a third party, for the

use of Palestinian almonds (or for the direct benefit of Palestinian almond farmers), for at least ten

years. Payments to Canaan will be verified by auditors selected by the Independent Board and

reported on an annual basis in SEAR. Confirmation of payments made hereunder will be sent to

the Chair of the Independent Board quarterly.” Defendants have breached the Settlement

Amendment by failing to abide by the quarterly reporting requirements, by failing to make

payments in compliance with the Amendment’s requirements, and by unilaterally erecting

extracontractual hurdles.

       53.71. Accordingly, Plaintiffs seek a declaration that:

               a. Under the terms of the Settlement Amendment, Unilever must make annual
                  payments of $2 million to Canaan Fair trade, for the use of Palestinian almonds
                  or the direct benefit of Palestinian almond farmers, for a period of ten years.

               b. Unilever must send confirmation of the payments to the Chair of the
                  Independent Board, reporting on a quarterly basis.

               c. Unilever must not erect extracontractual barriers to such payment.

             COUNT IV—DECLARATORY JUDGMENT: MERGER AGREEMENT

       72.     Plaintiffs replead and incorporate by reference each and every allegation set forth

in the preceding paragraphs as if fully set forth herein.

       73.     Defendants’ proposed restructuring of the company threatens to eliminate the

Independent Board’s, which would breach Section 6.14(a)’s provision that Conopco “shall not

otherwise remove any member of the Company Board,” as well as violating the duty of good faith

and fair dealing as to this and other subsections of Section 6.14. Eliminating the Independent

Board or its custodial role would irreparably harm Ben & Jerry’s by leaving the Social Mission


                                                 22
and Brand Integrity unprotected, contrary to the clear intent of the Merger Agreement.

       74.     Further, Section 6.14(c) of the Merger Agreement requires Conopco to consult an

Independent Board-appointed advisory committee in good faith before deciding to remove,

appoint, or change the compensation of the CEO. This advisory committee is entitled to

“participation in the discussions” of any such contemplated decision.

       75.     By attempting to remove the CEO of Ben & Jerry’s for cooperating with the

Independent Board on the Social Mission and Essential Brand Integrity, Conopco threatens to

undermine these critical aspects of the Merger Agreement and cause irreparable harm to Ben &

Jerry’s. If completed, Mr. Stever’s removal would breach Section 6.14(c)’s requirements of good

faith consultation and meaningful participation in discussions. Removal under these circumstances

would also breach the implied duty of good faith and fair dealing as to Sections 6.14(d), 6.14(e),

and 6.14(f) by obstructing the ability of the CEO and the Independent Board to work together in

furthering the Social Mission and Essential Brand Integrity.

       76.     Accordingly, Plaintiffs seek a declaration that:

               a. Unilever must engage in good faith consultation with the Independent Board’s
                  Appointment Committee to remove Ben & Jerry’s CEO or appoint a new CEO
                  and must also allow the Appointment Committee to participate in all such
                  discussions. Unilever must provide any notes, minutes, or other memorandum
                  to the Appointment Committee for any discussions which have taken place
                  without their participation.

               b. Under the terms of the Merger Agreement, Defendants may not fire the CEO
                  of Ben & Jerry’s for defending the Social Mission or for cooperating with the
                  Independent Board, and persisting in their current attempt to do so would be a
                  breach of contract.

               c. Eliminating the Independent Board or substantially altering or diminishing its
                  rights, duties, or responsibilities would materially breach the Merger
                  Agreement; therefore, any restructuring of Unilever, Conopco, and/or Ben &
                  Jerry’s Homemade Inc. must preserve the Independent Board’s existence and
                  role as custodian of the Social Mission and Essential Brand Integrity.

                                      PRAYER FOR RELIEF

                                                23
       WHEREFORE, Ben & Jerry’s respectfully requests judgment in its favor and other

appropriate relief against Defendants as follows:

       1.      Actual, direct, indirect, unjust enrichment, incidental, consequential, and nominal

               damages;

       2.      Declaratory relief ordering Defendants to prospectively respect and acknowledge

   the Ben & Jerry’s Independent Board’s primary responsibility over the brand’s Essential Brand

   Integrity and Social Mission; ensure any decisions impacting the Essential Brand Integrity and

   Social Mission afterfollow consultation with and the approval of the Independent Board;

   release funds to the Chair’s designees, including Jewish Voice for Peace and CAIR; and make

   agreed payments to Canaan Fair Trade for the next ten years; respect the CEO’s obligation to

   work with the Independent Board in good faith to further the Social Mission and Essential

   Brand Integrity; comply with the CEO appointment and removal procedure required by the

   Merger Agreement; and ensure that any restructuring of Ben & Jerry’s or its parents does not

   eliminate or diminish the authority of the Independent Board;

       3.      An award of Plaintiffs’ reasonable attorney's fees and costs; and

       4.      Any and all other relief that this Court deems just and proper.




                                                24
Dated: January 24March 18, 2025                 Respectfully submitted,




                                         AHMAD, ZAVITSANOS & MENSING PLLC

                                         By: /s/ Shahmeer Halepota
                                         Shahmeer Halepota
                                         Daryl Moore
                                         Edward Goolsby (admitted pro hac vice)
                                         Weining Bai (admitted pro hac vice)
                                         Angela M. Peterson (admitted pro hac vice)
                                         Sean Healey (admitted pro hac vice)
                                         1221 McKinney, Suite 2500
                                         Houston, Texas 77010
                                         Phone: (713) 655-1101
                                         Fax: (713) 655-0062

                                         Attorneys for Plaintiffs Ben & Jerry’s Homemade, Inc.
                                         and the Class I Directors of the Ben & Jerry’s Board



                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was filed electronically on January 24, 2025 March 18, 2025. As such, this document was
served on all counsel of record pursuant to the Federal Rules of Civil Procedure.

                                         /s/Shahmeer Halepota
                                         Shahmeer Halepota




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   Home            Press releases




                   Unilever statement on Ben & Jerry's
                   decision
                   Published: 18/07/2021

                       Average read time: 1 minute




                   The Israeli-Palestinian conflict is a very complex and sensitive situation. As
                   a global company, Unilever’s brands are available in more than 190
                   countries and in all of them, our priority is to serve consumers with
                                                                                                  Exhibit No.
                                                                                                                                        exhibitsticker.com




                   essential products that contribute to their health, wellbeing and

                   enjoyment.                                                                                      ExhibitA1No.
                   We remain fully committed to our presence in Israel, where we have                                   1
                   invested in our people, brands and business for several decades.


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                  Ben & Jerry’s was acquired by Unilever in 2000. As part of the acquisition
                  agreement, we have always recognised the right of the brand and its
                  independent Board to take decisions about its social mission. We also
                  welcome the fact that Ben & Jerry’s will stay in Israel.

                     Please read Ben & Jerry's statement here.




                  Media Contacts
                     press-office.london@unilever.com



                  Safe Harbour
                  Where relevant, these actions are subject to the appropriate consultations
                  and approvals.


                  This announcement may contain forward looking statements, including
                  ‘forward looking statements’ within the meaning of the United States Private
                  Securities Litigation Reform Act of 1995. Words such as ‘will’, ‘aim’, ‘expects’,
                  ‘anticipates’, ‘intends’, ‘looks’, ‘believes’, ‘vision’, or the negative of these
                  terms and other similar expressions of future performance or results, and
                  their negatives, are intended to identify such forward looking statements.
                  These forward looking statements are based upon current expectations and
                  assumptions regarding anticipated developments and other factors
                  affecting the Unilever Group (the ‘Group’). They are not historical facts, nor
                  are they guarantees of future performance.


                  Because these forward-looking statements involve risks and uncertainties,
                  there are important factors that could cause actual results to differ
                  materially from those expressed or implied by these forward-looking
                  statements. Among other risks and uncertainties, the material or principal
                  factors which could cause actual results to differ materially are: Unilever’s
                  global brands not meeting consumer preferences; Unilever’s ability to
                  innovate and remain competitive; Unilever’s investment choices in its
                  portfolio management; the effect of climate change on Unilever’s business;
                  Unilever’s ability to find sustainable solutions to its plastic packaging;
                  significant changes or deterioration in customer relationships; the
                  recruitment and retention of talented employees; disruptions in our supply
                  chain and distribution; increases or volatility in the cost of raw materials and
                  commodities; the production of safe and high quality products; secure and
                  reliable IT infrastructure; execution of acquisitions, divestitures and business
                  transformation projects; economic, social and political risks and natural
                  disasters; financial risks; failure to meet high and ethical standards; and
                  managing regulatory, tax and legal matters. A number of these risks have
                  increased as a result of the current Covid-19 pandemic.


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                  Unilever Annual Report and Accounts 2020.




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        CONFIDENTIAL SETTLEMENT AND RELEASE AGREEMENT

        This CONFIDENTIAL SETTLEMENT AND RELEASE AGREEMENT (the
                        , effective December 13,                            , is entered
into by                                              ), Unilever IP Holdings B.V., and
Unilever PLC (collectively             , on the one hand, and
Inc. and                                                                              or
          ),
                           .




2.     Conopco and Unilever agree to:




       (b)    Respect and acknowledge the                  Independent Board    primary

              Integrity and agree to work in good faith with the Independent Board to
              ensure that both are protected and furthered.
                                                                                Exhibit No.
                                                                                              exhibitsticker.com




                                           1                                         A2
(g)   Unilever will mak
      Inc. (totaling $5,000,000). The first payment will occur in 2023 and the
      second payment in 2024. Under no circumstances will the first payment be
      made later than July 30, 2023, or the second payment be made later than
      July 30, 2024. The Chair of the Independent Board in good faith
      consultation with Unilever will determine to which humanitarian and
      human rights organizations the funds will be disbursed.
      will not be unreasonably withheld.

(h)   Make the following annual statement to the Unilever Leadership Executive
                and Unilever executives with responsibility for ice cream

      respect to the Social Mission and Essential Brand I
      include this statement in the orientation process for new Unilever executives
      with responsibility for ice cream; and confirm that this will also apply in the
      event of a reorganization with respect to Unilever executives with
      responsibility for ice cream.
      Merger                                                        ., including the
                         -
                                                            nd Integrity and Social
      Mission
      the Merger Agreement. As provided in Sections 6.14(e), (f) of the Merger
      Agreement, any decisions implicating
      Integrity and Social Mission should be made after consultation with and
      approval of                                              For the avoidance of

                                    2
4
13.   Governing Law: This Settlement Agreement and any dispute arising out of this
      Settlement Agreement shall be governed by, and construed in accordance with, the
      laws of the state of New York, regardless of the laws that might otherwise govern
      under applicable principles of conflicts of law.

14.   Each of the Parties hereto (a) consents to submit itself to the personal jurisdiction
      of any state or Federal court located in the State of New York in the event any
      dispute arises regarding this agreement, (b) agrees that it will not attempt to deny
      or defeat such personal jurisdiction by motion or other request for leave from any
      such court, and (c) agrees that it will not bring any action relating to the settlement
      agreement in any court other than a court sitting in the State of New York.

      IN WITNESS WHEREOF, the Parties have each signed this Settlement
      Agreement as of the Effective Date.




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                  Haaretz | Israel News


                 Israeli Rabbi Accused of Racism Says Barred
                 From U.S. by 'anti-Zionists'
                 Shmuel Eliyahu's bureau accused the Reform
                 movement of 'silencing' the controversial rabbi after
                 his travel visa was revoked
                  Sam Sokol May 31, 2022              Follow


                     A controversial Israeli state rabbi claims to have been barred
                     from travelling to the United States, asserting that Embassy
                     officials revoked his travel visa before expiry at the
                     instigation of anti-Zionist and non-Orthodox groups.

                     “Despite appeals to the U.S. Consulate, we have received no
                     reasoning to explain the reason for the revocation of a visa
                     that had been valid for decades,” the bureau of Shmuel
                     Eliyahu, the chief rabbi of the northern Israeli city of Safed,
                     said in a statement on Tuesday.

                     “Our inquiries show that this is an act of anti-Zionists such
                     as the Reform movement, bodies that frequently try to
                     infringe on freedom of expression and silence the rabbi.
                     After failing to silence Rabbi Eliyahu in legal ways, they are
                     now trying to silence the rabbi [through] petty methods.
                     There is no reason to worry – they will not succeed.”

                     Eliyahu’s son Amihai confirmed that his father’s U.S. visa
                     had been revoked while the rabbi’s chief of staff Ahiya
                     Medad told Haaretz that he had not received an explanation
                                                                                                                                         Exhibit No.
                                                                                                                                                         exhibitsticker.com




                     for the American decision “despite our attempts to
                                                                                                                                              A3
                     understand.”
https //www haaretz com/israel news/2022 05 31/ty article/ premium/rabbi accused of racism says barred from u s by anti zionists/00000181 19e9 d       1/4
                     Medad declined to elaborate on his o                                  ce’s statement nor
                     did he offer any proof for his assertion.

                     Asked for comment, a U.S. Embassy spokesperson said that
                     “visa records are confidential under U.S. law; therefore, we
                     cannot discuss the details of individual visa cases.”

                     Rabbi Rick Jacobs, president of the Union for Reform
               ffi
                     Judaism, said in response to the statements: "Rabbi Shmuel
                     Eliyahu is well known for his racist views which most Jews
                     and supporters of Israel find offensive and which the Israeli
                     Supreme Court strongly condemned. As a purveyor of hatred
                     towards Arabs, non-Orthodox Jews, LGBTQ and others, his
                     views sully the strong moral case we regularly make on
                     behalf of the State of Israel."

                     He continued, "Our Israeli Reform Movement’s Israel
                     Religious Action Center (IRAC) has led and will continue to
                     lead the legal fight against his regular incitement of racism.
                     We were not involved in the decision to deny him a visa but if
                     the rabbi is upset he should undertake a thorough cheshbon
                     hanefesh, an honest assessment of his deeds, which is surely
                     the reason he’s not a welcome figure across the Jewish and
                     democratic world.”

                     Eliyahu, the son of former Sephardic Chief Rabbi Mordechai
                     Eliyahu, is known for his extreme stances, and has
                     previously been indicted for incitement to racism. In one
                     occasion, he called to remove all of Safed Academic College's
                     Arab students following a suicide attack on a bus near Meron
                     in northern Israel.

                     In 2008, he called on the government to carry out "state-
                     sanctioned revenge" against Arabs in order to, in his words,

https //www haaretz com/israel news/2022 05 31/ty article/ premium/rabbi accused of racism says barred from u s by anti zionists/00000181 19e9 d   2/4
                     restore Israel's deterrence in the wake of a terrorist attack at
                     Jerusalem’s Mercaz Harav yeshiva in which eight students
                     were killed.

                     In 2013, Israel’s then-attorney general called on him not to
                     run for the post of Sephardi chief rabbi, in light of certain
                     contentious remarks and the "legal difficulties" posed by his
                     candidacy.

                     In response, the rabbi denied having made racist remarks,
                     explaining some of his comments as being taken out of
                     context while insisting others were never uttered.

                     "Must I as a rabbi explain why I oppose intermarriage?" he
                     wrote in a letter defending his record. "Must I explain why I
                     oppose same-sex marriages or support people becoming
                     observant?”

                     In 2019, the rabbi told teenagers suspected of murdering a
                     Palestinian woman in the West Bank that they shouldn't fear
                     prison since that's where the road to political power begins,
                     prompting several rights groups to call for disciplinary
                     action and criminal charges to be filed against him.

                     Two months earlier, the High Court of Justice had ordered
                     then-Justice Minister Ayelet Shaked to explain why she had
                     not taken disciplinary action against Eliyahu for a number of
                     statements that he made, including disparaging remarks
                     about Arabs and gays.

                     The following year, the court ordered that Eliyahu, whose
                     salary is paid by the state, be subject to a disciplinary
                     hearing for his comments, citing, among other statements,
                     one in which he said that “we must try to make sure that
                     anyone who raises a hand against a Jew should be killed,
https //www haaretz com/israel news/2022 05 31/ty article/ premium/rabbi accused of racism says barred from u s by anti zionists/00000181 19e9 d   3/4
                      revenge must
                      revenge must be taken. Even
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                      Jew] or wanted to
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  Chief Rabbi
  Chief Rabbi of
               of Safed
                  Safed Rabbi
                        Rabbi Shmuel
                              Shmuel Eliyahu
                                     Eliyahu speaks
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                                                    at the
                                                       the 'Besheva'
                                                           'Besheva' group,
                                                                     group, on
                                                                            on February
                                                                               February 7,
                                                                                        7, 2022.
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       chief rabbi
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            Minister Amichai               was quick
                                  Eliyahu was  quick to   walk back
                                                       to walk  back his
                                                                      his comments
                                                                          comments as   as                                            Exhibit
                                                                                                                                      Exhibit No.
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  “metaphorical”
  “metaphorical” after
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                                 sparked an
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  idea with gusto.
  idea with  gusto.
https://www.timesofisrael.com/rabbi-backs-remark-by-his-son-a-far-right-minister-that-nuking-gaza-is-an-option/
https://www.timesofisrael.com/rabbi-backs-remark-by-his-son-a-far-right-minister-that-nuking-gaza-is-an-option/                                    1/7
                                                                                                                                                   1/7
  “There’s now much discussion on what to do with Gaza. To erase them?
  What is going to be done? Drop an atom [bomb] on them? It’s an option,”
  the rabbi said, smiling during a digression in the talk.




  “They won’t fire me,” he continued. “My son, they wanted to [fire], but me
  they won’t.”


  A video of the Jerusalem speech, titled “How to defeat Ishmael’s kingdom,”
  was uploaded to YouTube late Monday by the rabbi’s office. The biblical
  Ishmael is used by some Orthodox Jews to refer to Arabs, often
  derogatorily.



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  The elder Eliyahu, a prominent figure on the radical fringe of Israel’s right-
  wing nationalist movement, has generated criticism in the last several
  years for a variety of statements and rulings on Jewish law, including one
  that forbade the rental or sale of Jewish-owned property in the northern
  city of Safed to Arabs.

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  Otzma Yehudit
  Otzma Yehudit MK
                MK Amichai
                   Amichai Eliyahu
                           Eliyahu speaks
                                   speaks in
                                          in the
                                             the Knesset
                                                 Knesset on
                                                         on December
                                                            December 6,
                                                                     6, 2022.
                                                                        2022. (Noam
                                                                              (Noam Moskowitz/Knesset)
                                                                                    Moskowitz/Knesset)


  The
  The rabbi
       rabbi has
              has also
                   also drawn
                         drawn censure
                                  censure for
                                           for criticizing
                                               criticizing the
                                                           the Reform
                                                                Reform movement,
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  LGBTQ
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           community and        women serving
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  potent
  potent political
          political force.
                      force. Last  year, the
                              Last year, the US
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  reaction
  reaction to
            to his
                his comments.
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      November 5,  5, his
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  Ben
  Ben Gvir’s
       Gvir’s far-right
               far-right Otzma     Yehudit party,
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  when aa host
  when     host asked
                 asked him     whether “your
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  Gaza,
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  “That’s
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  A smoke plume erupts in Rafah in the southern Gaza Strip on November 14, 2023. (Said Khatib/AFP)


  The comments from the younger Eliyahu, who does not have influence
  over the three-member war cabinet directing the war against the Hamas
  terror group, were quickly disavowed by Prime Minister Benjamin
  Netanyahu, Defense Minister Yoav Gallant and others.

  Answering calls for Eliyahu to be fired, Netanyahu instead suspended him
  from cabinet meetings indefinitely, though he has continued to take part
  in phone votes held by the cabinet, which has rarely convened in person
  since war broke out last month.

  Netanyahu initially sought to fire Eliyahu, but backpedaled after Ben Gvir
  said he would not go along with the move, Channel 12 news reported.

                                                           ADVERTISEMENT




  Despite a series of scandals and calls for his removal over the years,
  Shmuel Eliyahu has remained chief rabbi in Safed since the late 1980s,
  though he has twice failed to be elected as Israel’s chief Sephardic rabbi, a
  position his father held from 1983 to 1996. In 2020, the High Court of
  Justice ordered disciplinary action against Shmuel Eliyahu for making a
  series of offensive comments and for taking “explicit” political stances
  forbidden to him due to his status as a government employee.

  In 2007, the father, former chief rabbi Mordechai Eliyahu, wrote a letter to
  then-prime minister Ehud Olmert saying all Gazans should be considered


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  guilty for rocket attacks, and Shmuel Eliyahu said his father preferred
  “carpet bombing” Gaza rather than risking soldiers’ lives.

  Many of Shmuel Eliyahu’s past comments have been construed as
  supporting or inciting violence against Arabs.

  “A Jew should not flee from Arabs. A Jew should make the Arabs flee. There
  is a silent war going on here for land”; “Most of the violence in Israeli
  society stems from the Arabs”; and “The Arabs have a different code, and
  violent norms that have become an ideology” — were among the
  statements Eliyahu made in a 2010 interview with the Maariv daily.

  In 2011, then-attorney general Yehuda Weinstein called for a criminal
  investigation into Eliyahu’s comments for suspected incitement, but by
  2012, the Justice Ministry, then headed by Yaakov Neeman, closed all
  proceedings, citing lack of evidence.




  Charred debris and objects are scattered inside a building in Kibbutz Alumim, following the October 7 attack by
  Hamas terrorists, in southern Israel near the Gaza Strip on October 18, 2023. (Gil Cohen-Magen/AFP)


  Israel launched its war against Hamas after the terror group carried out a
  brutal assault on southern Israel communities, killing some 1,200 people,
  mostly civilians, and taking over 240 hostages, including small children
  and the elderly.
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  In
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      Unilever statement on the war in Ukraine
      Published: 13 February 2023

      @     Average read time: 2 minutes



      We continue to condemn the war in Ukraine as a brutal and senseless act
      by the Russian state.




      Our focus remains on ensuring the wellbeing of our Ukrainian employees and their
      families, including by helping them find safety in nearby countries and by setting up
      accommodation in the west of Ukraine for those who have chosen to stay. We have
      also donated more than €15m of support and essential Unilever products to the
      humanitarian              relief effort.                                                                            7
                                                                                                                     Exhibit
                                                                                                                     Exhibit No.
                                                                                                                             No.
                                                                                                                                   exhibitsticker.com




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https://www.unilever.com/news/press-and-media/press-releases/2023/unilever-statement-on-the-war-in-ukraine/                                             1/3
      Since March 2022, we have ceased all imports and exports of our products into and out
      of Russia, and we have stopped all media and advertising spend. We have also ceased
      all capital flows into and out of the country. We continue to supply our everyday food
      and hygiene products made in Russia to people in the country.


      We understand why there are calls for Unilever to leave Russia. We also want to be
      clear that we are not trying to protect or manage our business in Russia. However, for
      companies like Unilever, which have a significant physical presence in the country,
      exiting is not straightforward.


      We have three primary options when assessing the future of our business in Russia.


      The first option would be to try to close down the business, which currently employs
      around 3,000 people across four manufacturing sites and a head office. However, it is
      clear that were we to abandon our business and brands in the country, they would be
      appropriated – and then operated – by the Russian state. In addition, we do not think it
      is right to abandon our people in Russia.


      The second option would be to sell the business, but to date we have not been able to
      find a solution which avoids the Russian state potentially gaining further benefit, and
      which safeguards our people.


      The third option is to allow the business to run with the strict constraints that we put in
      place last March.

      To be clear, none of these options are desirable. Nevertheless, we believe the third
      remains the best option, both to avoid the risk of our business ending up in the hands
      of the Russian state, either directly or indirectly, and to help protect our people.


      We will of course continue to keep this position under close review.




      Media Contacts
      Press-Office.London@unilever.com




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      We're always looking to connect with
      those who share an interest ina                                                  Get in touch with Unilever PLC and
      sustainable future.                                                              specialist teams in our headquarters, or
                                                                                       find contacts around       the world.


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         CONFIDENTIAL        SETTLEMENT AND RELEASE                    AGREEMENT
                                  AMENDMENT

       This   CONFIDENTIAL            SETTLEMENT         AND       RELEASE          AGREEMENT
AMENDMENT        (the “Amendment”), effective August 30, 2023 (the “Effective Date’’), is
entered into by Conopco, Inc. (“Conopco”), Unilever IP Holdings B.V., and Unilever PLC
(collectively “Unilever”), on the one hand, and Ben & Jerry’s Homemade Inc. and the
Class I Directors of the Ben & Jerry’s Board of Directors (“Ben & Jerry’s”), on the other
hand, each hereinafter sometimes referred to as a “Party” and collectively as the “Parties”.

       WHEREAS.       on   December    13, 2022,   the   Parties   entered   into   a Confidential
Settlement and Release Agreement (the “Settlement Agreement”);




         NOW, THEREFORE, with no Party admitting any liability or fault in relation
thereto, and in consideration of the covenants, promises, agreements and other good and
valuable consideration set forth herein, the receipt and sufficiency of which are hereby
acknowledged by each Party, the Parties hereby agree to amend the Settlement Agreement
as follows:


                   commencing in 2024, Ben & Jerry’s/Unilever will make payments
       totaling $2 million USD annually to Canaan Fair Trade (“Canaan”), directly or
       through a third party, for the use of Palestinian almonds (or for the direct benefit of
       Palestinian almond farmers), for at least ten years and execute the sourcing plan as
       reflected in Exhibit A (save for any language which decreases the total amount
       disbursed to Canaan). Payments to Canaan will be verified by auditors selected by
       the Independent Board and reported on an annual basis in SEAR. Confirmation of
       payments made hereunder will be sent to the Chair of the Independent Board
       quarterly. Any changes to the sourcing plan will require the Independent Board’s
       approval.

       All remaining portions of the Settlement Agreement remain binding, unchanged,
   N




       and in effect.

       IN WITNESS WHEREOF,             the Parties have each signed this Amendment as of
       the Effective Date.




                                                                                            Exhibit No.
                                                                                                               exhibitsticker.com




                                                                                                     Exhibit   No.
                                                                                                 A6
                                                                                                           6
             For:    | Conopco, Inc.
             By:       Matt Close                For:      Ben & Jerry’s Homemade, Inc.
                      Matt Close                 By:       Dave Stever
             Date:     Lith Sept 2023                      Dave Stever
                                                 Date:      September 6, 2023


             For:    Unilever IP Holdings B.V.
             By:       Matt Close                For:      Class | Directors
                      Matt Close                 By:       Anuradha Mittal
             Date:     11th Sept 2023                      Anuradha Mittal
                                                 Date:      September 6, 2023


             For:     Unilever PLC
             By;       Matt Close
                      Matt Close
             Date:     11th Sept 2023


Signature:         ple                                   Signature:    24ve Sfever
    Email:   matt.close@unilever.com                         Email:   dave.stever@benjerry.com


Signature:    Anuradha Mittal
    Email;   amittal@oaklandinstitute.org
                                                                                                                         s


     Settiement Agreement                                                        Amendment
    Final Audit Report                                                                                      2023-09-11

           Created:                 2023-09-06

           By:                      Melissa Bland (melissa.bland@benjerry.com)

           Status:                  Signed

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                          AGREEMENT AND PLAN OF MERGER


                       Dated as of April 11, 2000,
               As Amended and Restated as of July 5, 2000,


                                      Among


                                 CONOPCO I INC. '


                      VERMONT ALL NATURAL EXPANSION COMPANY


                                       And


                          BEN & JERRY'S HOMEMADE, INC.




                                                              Exhibit No.
                                                                            exhibitsticker.com




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EXHIBIT A            Articles of Incorporation
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[NYCorp;l097238.l]
                          AMENDED AND RESTATED AGREEMENT AND PLAN
                     OF MERGER, dated as of April 11, 2000, as
                     amended and restated as of July 5, 2000,
                     among CONOPCO, INC., a New York corporation
                     ("Conopco"}, VERMONT ALL NATURAL EXPANSION
                     COMPANY, a Vermont corporation ("Sub"}, and
                     BEN & JERRY'S HOMEMADE, INC., a Vermont
                     corporation (the "Company"}.

           WHEREAS Conopco, Sub and the Company entered into
an Agreement and Plan of Merger, dated as of April 11, 2000
 (the "Original Merger Agreement"}, and they now desire to
amend and restate the Original Merger Agreement to make
certain modifications to Section 6.18 of the Original Merger
Agreement (it being understood that all references herein to
this "Agreement" refer to the Original Merger Agreement as
amended and restated hereby and that all references herein
to the date hereof or the date of this agreement refer to
April 11, 2000};

          WHEREAS Conopco believes that it is uniquely
positioned to further the Company's three-part mission
through a business combination that leverages the strengths
of both Conopco and the Company;

          WHEREAS the respective Boards of Directors of
Conopco, Sub and the Company have approved the acquisition
of the Company by Conopco on the terms and subject to the
conditions set forth in this Agreement;

          WHEREAS, in furtherance of such acquisition,
Conopco proposes to cause Sub to make a tender offer (as it
may be amended from time to time as permitted under this
Agreement, the "Offer"} to purchase all the outstanding
shares of Class A Corrnnon Stock of the Company, par value
$.033 per share (the "Class A Corrnnon Stock"}, including the
associated Class A Rights (as defined in Section 3.03}, and
all the outstanding shares of Class B Corrnnon Stock of the
Company, par value $.033 per share (the "Class B Corrnnon
Stock", and together with the Class A Corrnnon Stock, the
"Company Corrnnon Stock"}, including the associated Class B
Rights (as defined in Section 3.03}, at a price per share of
Company Corrnnon Stock (including the associated Company Right
(as defined in Section 3.03}} of $43.60, net to the seller
in cash, on the terms and subject to the conditions set
forth in this Agreement;

          WHEREAS the respective Boards of Directors of
Conopco, Sub and the Company have approved the merger (the
"Merger"} of Sub into the Company, or (at the election of
Conopco} the Company into Sub, on the terms and subject to


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the conditions set forth in this Agreement, whereby (a) each
issued share of Company Common Stock not owned by Conopco,
Sub or the Company, and (b) each share of Company Corrnnon
Stock, not owned directly or indirectly by Conopco or the
Company, shall be converted into the right to receive $43.60
in cash;

            WHEREAS, irrnnediately following the acceptance for
payment of shares of Company Common Stock pursuant to the
Offer, the Company shall cause the outstanding shares of the
Company 1 s $1.20 Class A Preferred Stock, par value $1.00 per
share (the "Company Preferred Stock 11 and, together with the
Company Corrnnon Stock, the 11 Company Capital Stock 11 ) , to be
redeemed;

          WHEREAS simultaneously with the execution and
delivery of this Agreement Ben & Jerry 1 s Homemade Holdings,
Inc. and the Company are granting an international license
to Unilever N.V. and Unilever PLC pursuant to a License
Agreement (the 11 License Agreement 11 ) ;

            WHEREAS simultaneously with the execution and
delivery of this Agreement the Company and Conopco are
entering into a stock option agreement (the 11 Stock Option
Agreement 11 and, together with this Agreement and the License
Agreement, the 11 Transaction Agreements 11 ) , pursuant to which
the Company is granting Conopco an option to purchase shares
of Class A Corrnnon Stock on the terms and subject to the
conditions set forth therein; and

          WHEREAS Conopco, Sub and the Company desire to
make certain representations, warranties, covenants and
agreements in connection with the Offer and the Merger and
also to prescribe various conditions to the Offer and the
Merger.


                 NOW, THEREFORE, the parties hereto agree as
follows:


                                ARTICLE I

                        The Offer and the Merger

          SECTION 1.01. The Offer.    (a) Subject to the
conditions of this Agreement, as promptly as practicable but
in no event later than five business days after the date of
this Agreement, Sub shall, and Conopco shall cause Sub to,
commence the Offer within the meaning of the applicable
rules and regulations of the Securities and Exchange


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Corrnnission (the "SEC"}. The obligation of Sub to, and of
Conopco to cause Sub to, corrnnence the Offer and accept for
payment, and pay for, any shares of Company Corrnnon Stock
tendered pursuant to the Offer are subject to the conditions
set forth in Section 7.01. The initial expiration date of
the Offer shall be the 20th business day following the
corrnnencement of the Offer (determined using Rule 14d-2 of
the SEC}.    Sub expressly reserves the right to modify the
terms of the Offer or waive any condition to the Offer,
except that, without the consent of the Company, Sub shall
not (i} reduce the number of shares of Company Corrnnon Stock
subject to the Offer, (ii} reduce the price per share of
Company Corrnnon Stock to be paid pursuant to the Offer,
 (iii} reduce or waive the Minimum Tender Condition (as
defined in Section 7.01}, (iv} modify, in any manner adverse
to the holders of Company Corrnnon Stock, or add to, the
conditions set forth in Section 7.01, (v} extend the Offer
or (vi} change the form of consideration payable in the
Offer. Notwithstanding the foregoing, Sub may, without the
consent of the Company, (i} extend the Offer in increments
of not more than five business days each, if at the
scheduled expiration date of the Offer any of the conditions
to Sub's obligation to purchase shares of Company Corrnnon
Stock are not satisfied, until such time as such conditions
are satisfied or waived, (ii} extend the Offer for any
period required by any rule, regulation, interpretation or
position of the SEC or the staff thereof applicable to the
Offer and (iii} make available a subsequent offering period
 (within the meaning of Rule 14d-11 of the SEC}. Without
limiting the right of Sub to extend the Offer, in the event
that any condition set forth in paragraph (a} of
Section 7.01 is not satisfied or waived at the scheduled
expiration date of the Offer, at the request of the Company
Sub shall, and Conopco shall cause Sub to, extend the
expiration date of the Offer in increments of five business
days each until the earliest to occur of (w} the
satisfaction or waiver of such condition, (x} Conopco
reasonably determines that such condition to the Offer is
not capable of being satisfied on or prior to September 30,
2000, (y} the termination of this Agreement in accordance
with its terms and (z} September 30, 2000.     In addition, on
the terms and subject to the conditions of the Offer and
this Agreement, Sub shall pay for all shares of Company
Corrnnon Stock validly tendered and not withdrawn pursuant to
the Offer that Sub becomes obligated to purchase pursuant to
the Offer as soon as practicable after the expiration of the
Offer.

          (b}  On the date of corrnnencement of the Offer,
Conopco and Sub shall file with the SEC a Tender Offer
Statement on Schedule TO with respect to the Offer, which


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shall contain an offer to purchase and a related letter of
transmittal and surrnnary advertisement (such Schedule TO and
the documents included therein pursuant to which the Offer
will be made, together with any supplements or amendments
thereto, the "Offer Documents").    Each of Conopco, Sub and
the Company shall promptly correct any information provided
by it for use in the Offer Documents if and to the extent
that such information shall have become false or misleading
in any material respect, and each of Conopco and Sub shall
take all steps necessary to amend or supplement the Offer
Documents and to cause the Offer Documents as so amended or
supplemented to be filed with the SEC and to be disseminated
to the Company's shareholders, in each case as and to the
extent required by applicable Federal securities laws.
Conopco and Sub shall provide the Company and its counsel in
writing with any corrnnents Conopco, Sub or their counsel may
receive from the SEC or its staff with respect to the Offer
Documents promptly after the receipt of such corrnnents.

          SECTION 1.02. Company Actions.    (a) Subject to
the right of the Board of Directors of the Company (the
"Company Board", which term shall mean, after the Effective
Time (as defined in Section 1.05), the board of directors of
the Surviving Corporation (as defined in Section 1.03)) to
take action permitted by Section 5.02(b), the Company hereby
approves of and consents to the Offer, the Merger and the
other transactions contemplated by the Transaction
Agreements (collectively, the "Transactions").

            (b) On the date the Offer Documents are filed
with the SEC, the Company shall file with the SEC a
Solicitation/Recorrnnendation Statement on Schedule 14D-9 with
respect to the Offer, including an appropriate information
statement (the "Information Statement") under Rule 14f-1
 (such Schedule 14D-9 and Information Statement, as amended
from time to time, the "Schedule 14D-9") and shall mail the
Schedule 14D-9 to the holders of Class A Common Stock. The
Schedule 14D-9 shall contain the recommendation described in
Section 3.04(b), unless such recorrnnendation has been
withdrawn or modified in accordance with Section 5.02(b).
Each of the Company, Conopco and Sub shall promptly correct
any information provided by it for use in the Schedule 14D-9
if and to the extent that such information shall have become
false or misleading in any material respect, and the Company
shall take all steps necessary to amend or supplement the
Schedule 14D-9 and to cause the Schedule 14D-9 as so amended
or supplemented to be filed with the SEC and disseminated to
the Company's shareholders, in each case as and to the
extent required by applicable Federal securities laws. The
Company shall provide Conopco and its counsel in writing
with any comments the Company or its counsel may receive


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from the SEC or its staff with respect to the Schedule 14D-9
promptly after the receipt of such connnents.

           {c)  In connection with the Offer, the Company
shall cause its transfer agent to furnish Sub promptly with
mailing labels containing the names and addresses of the
record holders of Company Connnon Stock as of a recent date
and of those persons becoming record holders of Company
Connnon Stock subsequent to such date, together with copies
of all lists of shareholders, security position listings and
computer files and all other information in the Company's
possession or control regarding the beneficial owners of
Company Connnon Stock, and shall furnish to Sub such
information and assistance {including updated lists of
shareholders, security position listings and computer files)
as Conopco may reasonably request in connnunicating the Offer
to the Company's shareholders. Subject to the requirements
of applicable Law {as defined in Section 3.05), and except
for such steps as are necessary to disseminate the Offer
Documents and any other documents necessary to consunnnate
the Transactions, Conopco and Sub shall hold in confidence
the information contained in any such labels, listings and
files, shall use such information only in connection with
the Offer and the Merger and, if this Agreement shall be
terminated, shall, upon request, deliver to the Company all
copies of such information then in their possession.

          SECTION 1.03. The Merger. On the terms and
subject to the conditions set forth in this Agreement, and
in accordance with the Vermont Business Corporation Act {the
"VBCA"), Sub shall be merged with and into the Company at
the Effective Time {as defined in Section 1.05). At the
Effective Time, the separate corporate existence of Sub
shall cease and the Company shall continue as the surviving
corporation {the "Surviving Corporation"). At the election
of Conopco, any direct or indirect wholly owned subsidiary
of Conopco may be substituted for Sub as a constituent
corporation in the Merger.  In such event, the parties shall
execute an appropriate amendment to this Agreement in order
to reflect the foregoing.

          SECTION 1.04. Closing. The closing {the
"Closing") of the Merger shall take place at the offices of
Cravath, Swaine & Moore, 825 Eighth Avenue, New York, New
York 10019 at 10:00 a.m. on the second business day
following the satisfaction {or, to the extent permitted by
Law, waiver by all parties) of the conditions set forth in
Section 7.02, or at such other place, time and date as shall
be agreed in writing between Conopco and the Company. The
date on which the Closing occurs is referred to in this
Agreement as the "Closing Date".


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          SECTION 1.05. Effective Time. Prior to the
Closing, the Company shall prepare, and on the Closing Date
or as soon as practicable thereafter the Surviving
Corporation shall file with the Secretary of State of the
State of Vermont, articles of merger or other appropriate
documents (in any such case, the "Articles of Merger")
executed in accordance with the relevant provisions of the
VBCA and shall make all other filings or recordings required
under the VBCA. The Merger shall become effective at such
time as the Articles of Merger are duly filed with such
Secretary of State, or at such other later time as Conopco
and the Company shall agree and specify in the Articles of
Merger (the time the Merger becomes effective being the
"Effective Time").

          SECTION 1.06. Effects. The Merger shall have the
effects set forth in Section 11.06 of the VBCA.

          SECTION 1.07. Articles of Incorporation and By-
laws.  (a) The Articles of Incorporation of the Surviving
Corporation shall be amended at the Effective Time to read
in the form of Exhibit A and, as so amended, such Articles
of Incorporation shall be the Articles of Incorporation of
the Surviving Corporation until thereafter changed or
amended as provided therein or by applicable Law.

           (b) The By-laws of Sub as in effect irrnnediately
prior to the Effective Time shall be the By-laws of the
Surviving Corporation until thereafter changed or amended as
provided therein or by applicable Law.

           SECTION 1.08. Directors. The directors of the
Company irrnnediately prior to the Effective Time shall be the
directors of the Surviving Corporation who elect to remain
on or rejoin the Company Board, together with such other
individuals appointed to the Company Board, all in
accordance with the provisions of Section 6.14(a).

           SECTION 1.09. Officers. The officers of the
Company irrnnediately prior to the Effective Time shall be the
officers of the Surviving Corporation, until the earlier of
their resignation or removal or until their respective
successors are duly elected or appointed and qualified, as
the case may be.




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                             ARTICLE II

                 Effect on the Capital Stock of the
         Constituent Corporations; Exchange of Certificates

            SECTION 2.01. Effect on Capital Stock. At the
Effective Time, by virtue of the Merger and without any
action on the part of the holder of any shares of Company
Corrnnon Stock or any shares of capital stock of Sub:

           (a)   Capital Stock of Sub. Each issued and
outstanding share of capital stock of Sub shall be converted
into and become ten thousand fully paid and nonassessable
shares of corrnnon stock, par value $0.01 per share, of the
Surviving Corporation.

             (b) Cancelation of Treasury Stock and Conopco-
Owned Stock. Each share of Company Corrnnon Stock that is
owned by the Company, Conopco or Sub shall no longer be
outstanding and shall automatically be canceled and retired
and shall cease to exist, and no consideration shall be
delivered or deliverable in exchange therefor. Each share
of Company Corrnnon Stock that is owned by any subsidiary of
the Company or Conopco (other than Sub) shall automatically
be converted into one fully paid and nonassessable share of
corrnnon stock, par value $0.01 per share, of the Surviving
Corporation.

           (c) Conversion of Comoanv Corrnnon Stock.
(1)  Subject to Sections 2.01(b) and 2.01(d), each issued
and outstanding share of Company Corrnnon Stock shall be
converted into the right to receive $43.60 in cash.

            (2)   The cash payable upon the conversion of
 shares of Company Corrnnon Stock pursuant to this
 Section 2.01(c) is referred to collectively as the "Merger
 Consideration". As of the Effective Time, all such shares
 of Company Corrnnon Stock shall no longer be outstanding and
 shall automatically be canceled and retired and shall cease
 to exist, and each holder of a certificate representing any
 such shares of Company Corrnnon Stock shall cease to have any
 rights with respect thereto, except the right to receive
 Merger Consideration upon surrender of such certificate in
·accordance with Section 2.02, without interest.

            (d)  Dissenters Rights. Notwithstanding anything
in this Agreement to the contrary, shares ("Dissenters
Shares") of Company Corrnnon Stock that are outstanding
irrnnediately prior to the Effective Time and that are held by
any person who is entitled to demand and properly demands
payment of the fair value of such Dissenters Shares pursuant


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to, and who complies in all respects with, Chapter 13 of the
VBCA ("Chapter 13") shall not be converted into Merger
Consideration as provided in Section 2.01(c), but rather the
holders of Dissenters Shares shall be entitled to payment of
the fair value of such Dissenters Shares in accordance with
Chapter 13 of the VBCA; provided, however, that if any such
holder shall fail to perfect or otherwise lose such holder's
right to receive payment of fair value under Chapter 13,
then the right of such holder to be paid the fair value of
such holder's Dissenters Shares shall cease and such
Dissenters Shares shall be deemed to have been converted as
of the Effective Time into, and to have become exchangeable
solely for the right to receive, Merger Consideration as
provided in Section 2.01(c). The Company shall serve prompt
notice to Conopco of any demands received by the Company for
appraisal of any shares of Company Corrnnon Stock. Prior to
the Effective Time, the Company shall not, without the prior
written consent of Conopco, participate in negotiations or
proceedings with respect to such demands or make any payment
with respect to, or settle or offer to settle, any such
demands, or agree to do any of the foregoing.

          SECTION 2.02. Exchange of Certificates.
(a)  Paying Agent.    Prior to the Effective Time, Conopco and
the Company shall select a bank or trust company to act as
paying agent (the "Paying Agent") for the payment of Merger
Consideration upon surrender of certificates representing
Company Corrnnon Stock. Concurrently with the Effective Time,
the Company shall provide to the Paying Agent the amount of
cash required to pay the aggregate Merger Consideration
(such cash being hereinafter referred to as the "Exchange
Fund").

            (b)  Exchange Procedure. As soon as reasonably
practicable after the Effective Time, the Paying Agent shall
mail to each holder of record of a certificate or
certificates (the "Certificates") that irrnnediately prior to
the Effective Time represented outstanding shares of Company
Corrnnon Stock whose shares were converted into the right to
receive Merger Consideration pursuant to Section 2.01, (i) a
letter of transmittal (which shall specify that delivery
shall be effected, and risk of loss and title to the
Certificates shall pass, only upon delivery of the
Certificates to the Paying Agent and shall be in such form
and have such other provisions as Conopco and the Company
may reasonably specify) and (ii) instructions for use in
effecting the surrender of the Certificates in exchange for
Merger Consideration. Upon surrender of a Certificate for
cancelation to the Paying Agent or to such other agent or
agents as may be appointed by Conopco, together with such
letter of transmittal, duly executed, and such other docu-


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ments as may reasonably be required by the Paying Agent, the
holder of such Certificate shall be entitled to receive in
exchange therefor the amount of cash into which the shares
of Company Corrnnon Stock theretofore represented by such
Certificate shall have been converted pursuant to
Section 2.01, and the Certificate so surrendered shall
forthwith be canceled.    In the event of a transfer of
ownership of Company Corrnnon Stock that is not registered in
the transfer records of the Company, payment may be made to
a person other than the person in whose name the Certificate
so surrendered is registered, if such Certificate shall be
properly endorsed or otherwise be in proper form for
transfer and the person requesting such payment shall pay
any transfer or other taxes required by reason of the
payment to a person other than the registered holder of such
Certificate or establish to the satisfaction of Conopco that
such tax has been paid or is not applicable. Until
surrendered as contemplated by this Section 2.02, each
Certificate shall be deemed at any time after the Effective
Time to represent only the right to receive upon such
surrender the amount of cash, without interest, into which
the shares of Company Corrnnon Stock theretofore represented
by such Certificate have been converted pursuant to
Section 2.01. No interest shall be paid or shall accrue on
the cash payable upon surrender of any Certificate.

           (c)   No Further Ownership Rights in Company Corrnnon
Stock. The Merger Consideration paid in accordance with the
terms of this Article II upon conversion of any shares of
Company Corrnnon Stock shall be deemed to have been paid in
full satisfaction of all rights pertaining to such shares of
Company Corrnnon Stock, subject, however, to the Surviving
Corporation's obligation to pay any dividends or make any
other distributions with a record date prior to the
Effective Time that may have been declared or made by the
Company on such shares of Company Corrnnon Stock in accordance
with the terms of this Agreement or prior to the date of
this Agreement and which remain unpaid at the Effective
Time, and after the Effective Time there shall be no further
registration of transfers on the stock transfer books of the
Surviving Corporation of shares of Company Corrnnon Stock that
were outstanding irrnnediately prior to the Effective Time.
If, after the Effective Time, any certificates formerly
representing shares of Company Corrnnon 1 Stock are presented to
the Surviving Corporation or the Paying Agent for any
reason, they shall be canceled and exchanged as provided in
this Article II.

          (d)   Termination of Exchange Fund. Any portion of
the Exchange Fund that remains undistributed to the holders
of Company Corrnnon Stock for six months after the Effective


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Time shall be delivered to Conopco, upon demand, subject to
compliance with any applicable abandoned property, escheat
or similar Law.

           (e} No Liability. To the extent permitted by
applicable Law, none of Sub, Conopco, the Company or the
Paying Agent shall be liable to any person in respect of any
cash from the Exchange Fund delivered to a public official
pursuant to any applicable abandoned property, escheat or
similar Law.   If any Certificate has not been surrendered
prior to five years after the Effective Time (or immediately
prior to such earlier date on which Merger Consideration in
respect of such Certificate would otherwise escheat to or
become the property of any Governmental Entity (as defined
in Section 3.05}}, any such shares, cash, dividends or
distributions in respect of such Certificate shall, to the
extent permitted by applicable Law, become the property of
the Surviving Corporation, free and clear of all claims or
interest of any person previously entitled thereto.

           (f} Investment of Exchange Fund. The Paying
Agent shall invest any cash included in the Exchange Fund,
as directed by Conopco, on a daily basis. Any interest and
other income resulting from such investments shall be paid
to Conopco.

           (g} Withholding Rights. The Surviving
Corporation shall be entitled to deduct and withhold from
the consideration otherwise payable to any holder of Company
Common Stock pursuant to this Agreement such amounts as may
be required to be deducted and withheld with respect to the
making of such payment under the Code (as defined in
Section 3.11}, or under any provision of state, local or
foreign tax Law.


                            ARTICLE III

            Representations and Warranties of the Company

          The Company represents and warrants to Conopco and
Sub as follows:

          SECTION 3. 01. Organi·zation, Standing and Power.
Each of the Company and each of its subsidiaries (the
"Company Subsidiaries"} is duly organized, validly existing
and in good standing under the laws of the jurisdiction in
which it is organized and has full corporate power and
authority and possesses all governmental franchises,
licenses, permits, authorizations and approvals necessary to
enable it to own, lease or otherwise hold its properties and


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assets and to conduct its businesses as presently conducted.
The Company and each Company Subsidiary is duly qualified to
do business in each jurisdiction where the nature of its
business or their ownership or leasing of its properties
make such qualification necessary or the failure to so
qualify has had or would reasonably be expected to have a
material adverse effect on the Company, a material adverse
effect on the ability of the Company to perform its
obligations under the Transaction Agreements or a material
adverse effect on the ability of the Company to consunnnate
the Offer, the Merger and the other Transactions {a "Company
Material Adverse Effect"). The Company has delivered to
Conopco true and complete copies of the Articles of
Incorporation of the Company, as amended to the date of this
Agreement {as so amended, the "Company Charter"), and the
By-laws of the Company, as amended to the date of this
Agreement {as so amended, the "Company By-laws"), and the
comparable charter and organizational documents of each
Company Subsidiary, in each case as amended through the date
of this Agreement.
           SECTION 3.02. Company Subsidiaries; Equity
Interests.   {a) The letter, dated as of the date of this
Agreement, from the Company to Conopco and Sub {the "Company
Disclosure Letter") lists each Company Subsidiary and its
jurisdiction of organization. All the outstanding shares of
capital stock of each Company Subsidiary have been validly
issued and are fully paid and nonassessable and, except as
set forth in the Company Disclosure Letter, are owned by the
Company, by another Company Subsidiary or by the Company and
another Company Subsidiary, free and clear of all pledges,
liens, charges, mortgages, encumbrances and security
interests of any kind or nature whatsoever {collectively,
"Liens").
          {b) Except for its interests in the Company
Subsidiaries and except for the ownership interests set
forth in the Company Disclosure Letter, the Company does not
own, directly or indirectly, any capital stock, membership
interest, partnership interest, joint venture interest or
other equity interest in any person.
          SECTION 3.03. Capital Structure.    {a) The
authorized capital stock of>the Company consists of
20,000,000 shares of Class A Connnon Stock and 3,000,000
shares of Class B Connnon Stock, as well as 900 shares of
Company Preferred Stock. The Board of Directors of the
Company has duly authorized the conversion of each issued
and outstanding share of Class B Connnon Stock into one share
of Class A Connnon Stock and has authorized the mailing of a
notice of conversion pursuant to the Company Charter, upon


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receipt of the notice from Conopco contemplated by
Section 6.ll{b), to all the holders of Class B Connnon Stock.
At the close of business on March 31, 2000,
{i) 6,130,582 shares of Class A Connnon Stock, 793,729 shares
of Class B Connnon Stock and 900 shares of Company Preferred
Stock were issued and outstanding, {ii) 644,606 shares of
Class A Connnon Stock and 1,092 shares of Class B Connnon
Stock were held by the Company in its treasury,
{iii) 1,298,627 shares of Class A Connnon Stock were subject
to outstanding Company Stock Options {as defined below) and
160,185 additional shares of Class A Connnon Stock were
reserved for issuance pursuant to the Company Stock Plans
{as defined below) {assuming for such purpose that, with
respect to the offering period in effect on the date hereof
under the Company's 1986 Employee Stock Purchase Plan {the
"1986 ESPP"), {A) all current participants continue to
contribute at current levels and {B) the purchase price of
the shares purchasable" in respect of such offering period is
determined to be 85% of the fair market value of shares of
Class A Connnon Stock on the first day of such offering
period, and giving effect to such offering period),
{iv) {A) 7,400,000 shares of Class A Connnon Stock were
reserved for issuance in connection with the rights {the
"Class A Rights") issued pursuant to the Rights Agreement
dated as of July 30, 1998, as amended from time to time {the
"Class A Rights Agreement"), between the Company and
American Stock Transfer & Trust Company, and
{B) 900,000 shares of Class B Connnon Stock were reserved for
issuance in connection with the rights {the "Class B Rights"
and, together with the Class A Rights, the "Company Rights")
issued pursuant to the Rights Agreement dated as of July 30,
1998, as amended from time to time {together with the
Class A Rights Agreement, the "Company Rights Agreements"),
between the Company and American Stock Transfer & Trust
Company and {v) 125,000 shares of Class A Connnon Stock
reserved for issuance under the warrants held by Gordian
Group, L.P. {the "Gordian Group Warrants"). Except as set
forth above and except for the shares of Class A Connnon
Stock reserved for issuance upon either {i) the exercise of
the option granted to Conopco pursuant to the Stock Option
Agreement or {ii) the conversion of shares of Class B Connnon
Stock, at the close of business on March 31, 2000, no shares
of capital stock or other voting securities of the Company
were issued, reserved for issuance or outstanding. There
are no outstanding Company SARs {as defined below) that were
not granted in tandem with a related Company Stock Option.
All outstanding shares of Company Capital Stock are, and all
such shares that may be issued prior to the Effective Time
{including shares of Company Capital Stock that shall be
deemed to be shares of Class A Connnon Stock upon the
automatic conversion of shares of Class B Connnon Stock) will


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be when issued, duly authorized, validly issued, fully paid
and nonassessable and not subject to or issued in violation
of any purchase option, call option, right of first refusal,
preemptive right, subscription right or any similar right
under any provision of the VBCA, the Company Charter, the
Company By-laws or any Contract (as defined in Section 3.05}
to which the Company is a party or otherwise bound. There
are not any bonds, debentures, notes or other indebtedness
of the Company having the right to vote (or convertible
into, or exchangeable for, securities having the right to
vote} on any matters on which holders of Company Common
Stock may vote ("Voting Company Debt"}. Except as set forth
above or in Section 3.03(b}, as of the date of this
Agreement, there are not any options, warrants, rights,
convertible or exchangeable securities, "phantom" stock
rights, stock appreciation rights, stock-based performance
units, commitments, Contracts, arrangements or undertakings
of any kind to which the Company or any Company Subsidiary
is a party or by which any of them is bound (i} obligating
the Company or any Company Subsidiary to issue, deliver or
sell, or cause to be issued, delivered or sold, additional
shares of capital stock or other equity interests in, or any
security convertible or exercisable for or exchangeable into
any capital stock of or other equity interest in, the
Company or any Company Subsidiary or any Voting Company
Debt, (ii} obligating the Company or any Company Subsidiary
to issue, grant, extend or enter into any such option,
warrant, call, right, security, commitment, Contract,
arrangement or undertaking or (iii} that give any person the
right to receive any economic benefit or right similar to or
derived from the economic benefits and rights accruing to
holders of Company Capital Stock. Except as set forth in
Section 6.11, as of the date of this Agreement, there are
not any outstanding contractual obligations of the Company
or any Company Subsidiary to repurchase, redeem or otherwise
acquire any shares of capital stock of the Company or any
Company Subsidiary. The Company has delivered to Conopco
complete and correct copies of the Company Rights
Agreements, as amended to the date of this Agreement.

          (b}  The authorized capital stock of The American
Company for Ice Cream Manufacturing E. I. Ltd. ( "ACICM"}
consists of 18,000 Ordinary Shares (the "Subsidiary Ordinary
Shares"} and 1s;ff00 Preferred Shares (the "Subsidiary
Preferred Shares"}, each with a nominal value of 1.00 NIS.
At the close of business on March 31, 2000, 12,000
Subsidiary Ordinary Shares and 18,000 Subsidiary Preferred
Shares were issued and outstanding, and 3,333 Subsidiary
Ordinary Shares reserved for issuance under options and
1,200 Subsidiary Ordinary Shares were subject to outstanding
options to purchase Subsidiary Ordinary Shares and


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Subsidiary Preferred Shares, respectively, and no other
Subsidiary Ordinary Shares or Subsidiary Preferred Shares
were issued, outstanding or reserved for issuance. As of
such date, Ben & Jerry's Homemade, B.V., a wholly owned
subsidiary of the Company, owned 18,000 Subsidiary Preferred
Shares.

                      (c}   For purposes of this Agreement:

             "Company Stock Option" means any option to
        purchase Company Connnon Stock granted under any Company
        Stock Plan.

             "Company SAR" means any stock appreciation right
        or other award linked to the price of Company Connnon
        Stock and granted under any Company Stock Plan.

              "Company Stock Plans" means the Company's 1995
        Equity Incentive Plan, 1999 Equity Incentive Plan, 1985
        Stock Option Plan, 1986 Employee Stock Purchase Plan,
        1992 Non-Employee Directors' Restricted Stock Plan and
        1995 Non-Employee Directors' Plan for Stock in Lieu of
        Director's Cash Retainer, all separate stock option
        agreements under which options were issued in 1999 (the
        form of which is set forth in the Company Disclosure
        Letter} and the provisions of employment agreements for
        officers (disclosed in the Company Disclosure Letter}
        that include certain terms of options granted under the
        Company's 1985 Stock Option Plan and 1995 Equity
        Incentive Plan.

           SECTION 3.04. Authority; Execution and Delivery;
Enforceability.   (a} The Company has all requisite
corporate power and authority to execute and deliver each
Transaction Agreement to which it is a party and, subject,
in the case of the Merger, to receipt of the Company
Shareholder Approval (as defined in Section 3.04(c}}, to
consunnnate the Transactions. The execution and delivery by
the Company of the Transaction Agreements to which it is a
party and the consunnnation by the Company of the
Transactions have been duly authorized by all necessary
corporate action on the part of the Company, subject, in the
case of the Merger, to receipt of the Company Shareholder
Approval. The Company has duly executed and delivered each ,,
Transaction Agreement to which it is a party, and each
Transaction Agreement to which it is a party constitutes its
legal, valid and binding obligation, enforceable against it
in accordance with its terms, subject, in the case of the
Merger, to receipt of the Company Shareholder Approval.




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           (b) The Company Board, at a meeting duly called
and held, duly adopted resolutions (i) adopting this
Agreement, (ii) approving the other Transaction Agreements,
the Offer, the Merger and the other Transactions,
(iii) determining that the terms of the Offer and the Merger
are fair to and in the best interests of the shareholders of
the Company, (iv) recommending that the holders of Company
Common Stock accept the Offer and tender their shares of
Company Common Stock pursuant to the Offer and
(v) recommending that the Company's shareholders approve
this Agreement. No state takeover statute or similar
statute or regulation applies or purports to apply to the
Company with respect to this Agreement and the other
Transaction Agreements, the Offer, the Merger or any other
Transaction.

          (c) The only vote of holders of any class or
series of Company Capital Stock necessary to approve this
Agreement and the Merger is the approval, by person or
proxy, of this Agreement by the holders of a majority of the
outstanding shares of Class A Common Stock (the "Company
Shareholder Approval"). The affirmative vote of the holders
of Company Capital Stock, or any of them, is not necessary
to approve any Transaction Agreement other than this
Agreement or consummate the Offer or any Transaction other
than the Merger.

           SECTION 3.05. No Conflicts; Consents.
 (a) Except as set forth in the Company Disclosure Letter,
the execution and delivery by the Company of each
Transaction Agreement to which it is a party do not, and the
consummation of the Offer, the Merger and the other
Transactions and compliance with the terms hereof and
thereof will not, conflict with, or result in any violation
of or default (with or without notice or lapse of time, or
both) under, or give rise to a right of termination,
cancelation or acceleration bf any obligation or to loss of
a material benefit under, or to increased, additional,
accelerated or guaranteed rights or entitlements of any
person under, or result in the creation of any Lien upon any
of the properties or assets of the Company or any Company
Subsidiary under, any provision of (i) the Company Charter,
the Company By-laws or the comparable charter or
organi'zational documents of any Company Subsidiary, (Lii) any
contract, lease, license, indenture, note, bond, agreement,
permit, concession, franchise or other instrument (a
"Contract") to which the Company or any Company Subsidiary
is a party or by which any of their respective properties or
assets is bound or (iii) subject to the filings and other
matters referred to in Section 3.0S(b), any judgment, order
or decree ("Judgment") or statute, law (including common


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law}, ordinance, rule or regulation ("Law"} applicable to
the Company or any Company Subsidiary or their respective
properties or assets, other than, in the case of clause
 (iii} above, any such items that, individually or in the
aggregate, have not had and would not reasonably be expected
to have a Company Material Adverse Effect or result in a
liability to the Company and the Company Subsidiaries, taken
as a whole, in excess of $1,000,000.

           (b} No consent, approval, license, permit, order
or authorization ("Consent"} of, or registration,
declaration or filing with, or permit from, any Federal,
state, local or foreign government or any court of competent
jurisdiction, administrative agency or corrnnission or other
governmental authority or instrumentality, domestic or
foreign (a "Governmental Entity"} is required to be obtained
or made by or with respect to the Company or any Company
Subsidiary in connection with the execution, delivery and
performance of any Transaction Agreement to which it is a
party or the consurrnnation of the Transactions, other than
(i} compliance with and filings under the Hart-Scott-Rodino
Antitrust Improvements Act of 1976, as amended (the 11 HSR
Act"}, (ii} the filing with the SEC of (A} the
Schedule 14D-9, (B} a proxy or information statement
relating to the approval of this Agreement by the Company's
shareholders (the "Proxy Statement"}, (C} the Information
Statement and (D} such reports under Section 13 of the
Securities Exchange Act of 1934, as amended (the "Exchange
Act"} as may be required in connection with this Agreement
and the other Transaction Agreements, the Offer, the Merger
and the other Transactions, (iii} the filing of the Articles
of Merger with the Secretary of State of the State of
Vermont and appropriate documents with the relevant
authorities of the other jurisdictions in which the Company
is qualified to do business, (iv} compliance with and such
filings as may be required under applicable Environmental
Laws (as defined in Section 3.14}, (v} such filings as may
be required in connection with the Taxes described in
Section 6.09, (vi} as may be required under any state
securities laws and (vii} such other items as are set forth
in the Company Disclosure Letter.

           (c} The Company Board has taken all action
·necessary to (i} render the Company Rights inapplicable to
 this Agreement and the other Transaction Agreements, the
 Offer, the Merger and the other Transactions and (ii} ensure
 that (A} neither Conopco nor Sub nor any of its affiliates
 or associates is or will become an "Acquiring Person" (as
 defined in each of the Company Rights Agreements} by reason
 of any Transaction Agreement, the Offer, the Merger or any
 other Transaction, and (B} a "Distribution Date" (as defined


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in each of the Company Rights Agreements) shall not occur by
reason of any Transaction Agreement, the Offer, the Merger
or any other Transaction.

            SECTION 3.06. SEC Documents; Undisclosed
 Liabilities. The Company has filed all reports, schedules,
 forms, statements and other documents required to be filed
 by the Company with the SEC since December 28, 1997 (the
 "Company SEC Documents"). As of its respective date, each
 Company SEC Document complied in all material respects with
 the requirements of the Exchange Act or the Securities Act
 of 1933, as amended (the 11 Securities Act"), as the case may
 be, and the rules and regulations of the SEC promulgated
 thereunder applicable to such Company SEC Document, and did
 not contain any untrue statement of a material fact or omit
 to state a material fact required to be stated therein or
 necessary in order to make the statements therein, in light
 of the circumstances under which they were made, not
 misleading. Except to the extent that information contained
 in any Company SEC Document has been revised or superseded
 by a later filed Company SEC Document, none of the Company
 SEC Documents contains any untrue statement of a material
 fact or omits to state any material fact required to be
 stated therein or necessary in order to make the statements
 therein, in light of the circumstances under which they were
 made, not misleading. The consolidated financial statements
 of the Company included in the Company SEC Documents comply
 as to form in all material respects with applicable
 accounting requirements and the published rules and
 regulations of the SEC with respect thereto, have been
 prepared in accordance with generally accepted accounting
 principles ( 11 GAAP 11 ) (except, in the case of unaudited
 statements, as permitted by Form 10-Q of the SEC) applied on
 a consistent basis during the periods involved (except as
 may be indicated in the notes thereto) and fairly present
 the consolidated financial position of the Company and its
 consolidated subsidiaries as of the dates thereof and the
 consolidated results of their operations and cash flows for
 the periods then ended (subject, in the case of unaudited
 statements, to normal year-end audit adjustments). Except
 as set forth on the face of, or in the notes to, the most
 recent balance sheet of the Company included in the Filed
 Company SEC Documents (as defined in Section 3.08), neither
·the Company nor any Company Subsidiary had,· as of such date,
 any liabilities or obligations of any nature (whether
 accrued, absolute, contingent or otherwise) required by GAAP
 to be set forth on a consolidated balance sheet or in the
 notes thereto.

          SECTION 3.07. Information Supplied. None of the
information supplied or to be supplied by the Company for


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inclusion or incorporation by reference in (i} the Offer
Documents, the Schedule 14D-9 or the Information Statement
will, at the time such document is filed with the SEC, at
any time it is amended or supplemented or at the time it is
first published, sent or given to the Company's
shareholders, contain any untrue statement of a material
fact or omit to state any material fact required to be
stated therein or necessary to make the statements therein
not misleading, or (ii} the Proxy Statement will, at the
date it is first mailed to the Company's shareholders or at
the time of the Company Shareholders Meeting (as defined in
Section 6.01}, contain any untrue statement of a material
fact or omit to state any material fact required to be
stated therein or necessary in order to make the statements
therein, in light of the circumstances under which they are
made, not misleading. The Schedule 14D-9, the Information
Statement and the Proxy Statement will comply as to form in
all material respects with the requirements of the Exchange
Act and the rules and regulations thereunder, except that no
representation or warranty is made by the Company with
respect to statements made or incorporated by reference
therein based on information supplied by Conopco or Sub in
writing specifically for inclusion or incorporation by
reference therein.

           SECTION 3.08. Absence of Certain Changes or
Events. Except as disclosed in the Company SEC Documents
filed and publicly available on or prior to April 7, 2000
 (the "Filed Company SEC Documents"} or in the Company
Disclosure Letter, from the date of the most recent audited
financial statements included in the Filed Company SEC
Documents to the date of this Agreement, the Company has
conducted its business only in the ordinary course
consistent with recent past practice, and during such period
there has not been:

             (i} any event, change, effect or development that,
        individually or in the aggregate, has had or would
        reasonably be expected to have a Company Material
        Adverse Effect;

            (ii} any declaration, setting aside or payment of
        any dividend or other distribution (whether in cash,
        stock or property} ·with respect·to any Company Capital
        Stock or any repurchase for value by the Company of any
        Company Capital Stock;

           (iii} any split, combination or reclassification of
        any Company Capital Stock or any issuance or the
        authorization of any issuance of any other securities
        in respect of, in lieu of or in substitution for shares


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        of Company Capital Stock, other than the authorization
        by the Company Board to convert all the outstanding
        shares of Class B Common Stock into shares of Class A
        Common Stock and to redeem the Company Preferred Stock;

             (iv} (A} any granting by the Company or any Company
        Subsidiary to any director or officer of the Company or
        any Company Subsidiary of any increase in compensation,
        except in the ordinary course of business consistent
        with prior practice or as was required under employment
        or consulting agreements in effect as of the date of
        the most recent audited financial statements included
        in the Filed Company SEC Documents, (B} any granting by
        the Company or any Company Subsidiary to any such
        director or officer of any increase in severance or
        termination pay, except as was required under any
        employment, consulting, severance or termination
        agreements in effect as of the date of the most recent
        audited financial statements included in the Filed
        Company SEC Documents, or (C} any entry by the Company
        or any Company Subsidiary into, or any amendment of,
        any employment, consulting, deferred compensation,
        indemnification, severance or termination agreement
        with any such director or officer;

              (v} any change in accounting methods, principles
        or practices by the Company or any Company Subsidiary
        materially affecting the consolidated assets,
        liabilities or results of operations of the Company,
        except insofar as may have been required by a change in
        GAAP;

             (vi} any material elections with respect to Taxes
        by the Company or any Company Subsidiary or settlement
        or compromise by the Company or any Company Subsidiary
        of any material Tax liability or refund;

            (vii} (A} any acquisition by the Company or any
        Company Subsidiary by merging or consolidating with, or
        by purchasing a substantial equity interest in or
        substantial portion of the assets of, or by any other
        manner, any business or any corporation, partnership,
        joint venture, association or other business
        organization or division thereof or (B} any acquisition
        by the Company or any Company Subsidiary of any assets
        (other than inventory} that are material, individually
        or in the aggregate, to the Company and the Company
        Subsidiaries;

          (viii} any sale, lease, license, encumbrance or other
        disposition of assets of the Company or any Company


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        Subsidiary in excess of $500,000 in the aggregate,
        other than sales of products to customers and
        irrnnaterial dispositions of personal property and other
        than any encumbrance created in connection with
        financing the purchase of equipment and other property,
        in each case in the ordinary course of business
        consistent with past practice;

            (ix} any incurrence of capital expenditures by the
        Company or any Company Subsidiary in excess of
        $500,000 individually, or in excess of $1 million in
        the aggregate; or

             (x} any other transaction, contract or corrnnitment
        of the Company or any Company Subsidiary other than in
        the ordinary course of business, consistent with past
        practice and on an arms' length basis.

          SECTION 3.09. Taxes.    (a}  Except as disclosed in
the Company Disclosure Letter, each of the Company and each
Company Subsidiary has timely filed, or has caused to be
timely filed on its behalf, all Tax Returns required to be
filed by it, and all such Tax Returns are true, complete and
accurate. All Taxes shown to be due on such Tax Returns, or
otherwise owed, have been timely paid.

            (b} Except as disclosed in the Company Disclosure
Letter, the most recent financial statements contained in
the Filed Company SEC Documents reflect an adequate reserve
 (in addition to any reserve for deferred Taxes established
to reflect timing differences between book and tax income}
for all Taxes payable by the Company and the Company
Subsidiaries for all Taxable periods and portions thereof
through the date of such financial statements. No
deficiency with respect to any Taxes has been proposed,
asserted or assessed against the Company or any Company
Subsidiary, and no requests for waivers of the time to
assess any such Taxes are pending.

           (c} Except as disclosed in the Company Disclosure
Letter, the Federal income Tax Returns of the Company and
each Company Subsidiary consolidated in such Returns have
been examined by and settled with the United States Internal
Revenue Service for all years through 1997. All material
assessments for Taxes due with respect to such completed and
settled examinations or any concluded litigation have been
fully paid.

          (d}  Except as disclosed in the Company Disclosure
Letter, there are no material Liens for Taxes (other than
for current Taxes not yet due and payable} on the assets of


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the Company or any Company Subsidiary. Neither the Company
nor any Company Subsidiary is bound by any agreement with
respect to Taxes.

          (e)  Except as disclosed in the Company Disclosure
Letter, no claim has been made in the past five years by any
authority in a jurisdiction within which the Company or any
Company Subsidiary does not file Tax Returns that it is, or
may be, subject to taxation by that jurisdiction.

                       (f)   For purposes of this Agreement:

          "Taxes" includes all forms of taxation, whenever
created or imposed, and whether of the United States or
elsewhere, and whether imposed by a local, municipal,
governmental, state, foreign, Federal or other Governmental
Entity, or in connection with any agreement with respect to
Taxes, including all interest, penalties and additions
imposed with respect to such amounts.

          "Tax Return" means all Federal, state, local,
provincial and foreign Tax returns, declarations, claims for
refunds, statements, reports, schedules, forms and
information returns and any amended Tax return relating to
Taxes.

           SECTION 3.10. Absence of Changes in Benefit
Plans. Except as disclosed in the Company Disclosure
Letter, from the date of the most recent audited financial
statements included in the Filed Company SEC Documents to
the date of this Agreement, there has not been any adoption
or amendment in any material respect by the Company or any
Company Subsidiary of any collective bargaining agreement or
any bonus, pension, profit sharing, deferred compensation,
incentive compensation, stock ownership, stock purchase,
stock option, phantom stock, retirement, thrift, savings,
stock bonus, restricted stock, cafeteria, paid time off,
perquisite, fringe benefit, vacation, severance, disability,
death benefit, hospitalization, medical or other plan,
arrangement or understanding (whether or not legally
binding) maintained, sponsored or funded, in whole or in
part, by the Company or any Company Subsidiary providing
benefits to any current or former employee, consultant,
officer or director of"• the -company or any Company Subsidiary
(collectively, "Company Benefit Plans"). Except as
disclosed in the Filed Company SEC Documents or in the
Company Disclosure Letter, as of the date of this Agreement
there are not any consulting arrangements or agreements
involving payments by the Company of more that $50,000 per
year or any employment, indemnification, severance or
termination agreements or arrangements between the Company


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or any Company Subsidiary and any current or former
employee, consultant, officer or director of the Company or
any Company Subsidiary (collectively, "Company Benefit
Agreements"}.
           SECTION 3.11. ERISA Compliance; Excess Parachute
Payments.   (a} The Company Disclosure Letter contains a
list and brief description of all "employee pension benefit
plans" (as defined in Section 3(2} of the Employee
Retirement Income Security Act of 1974, as amended
 ("ERISA"}} (sometimes referred to herein as "Company Pension
Plans"}, "employee welfare benefit plans" (as defined in
Section 3(1} of ERISA} and all other Company Benefit Plans
and Company Benefit Agreements maintained, or contributed
to, by the Company or any Company Subsidiary or to which the
Company or any Company Subsidiary is a party, for the
benefit of any current or former employees, consultants,
officers or directors of the Company or any Company
Subsidiary. The Company has delivered to Conopco true,
complete and correct copies of (i} each Company Benefit Plan
and Company Benefit Agreement (or, in the case of any
unwritten Company Benefit Plan or Company Benefit Agreement,
a description thereof}, (ii} the most recent annual report
on Form 5500 filed with the Internal Revenue Service with
respect to each Company Benefit Plan (if any such report was
required}, (iii} the most recent summary plan description
for each Company Benefit Plan for which such summary plan
description is required and (iv} each trust agreement and
group annuity contract relating to any Company Benefit Plan.
           (b} Except as disclosed in the Company Disclosure
Letter, all Company Pension Plans that are intended to be
qualified under Section 401(a} of the Internal Revenue Code
of 1986, as amended (the "Code"}, have received favorable
determination letters from the Internal Revenue Service with
respect to "TRA" (as defined in Section 1 of Rev. Proc. 93-
39}, to the effect that such Company Pension Plans are
qualified and exempt from Federal income taxes under
Sections 401(a} and 501(a}, respectively, of the Code, and
no such determination letter has been revoked nor, to the
knowledge of the Company, has revocation been threatened,
nor has any such Company Pension Plan been amended since the
date of its most recent determination letter or application
therefor in any srespect that would adversely affect· its       -..,.
qualification or materially increase its costs. All Company
Benefit Plans have been operated in all material respects in
accordance with their terms and in substantial compliance
with all applicable laws, including ERISA and the Code.
There is no material pending or, to the knowledge of the
Company, threatened litigation relating to the Company
Benefit Plans.


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           (c} None of the Company, any Company Subsidiary
or any entity that is considered one employer with the
Company under Section 4001 of ERISA or Section 414 of the
Code contributes or has ever contributed or been obligated
to contribute to any "multiemployer plan" within the meaning
of Section 4001(a} (3} of ERISA or to any defined benefit
pension plan subject to Title IV of ERISA or to Part 3 of
Subpart B of Title I of ERISA. Neither the Company nor any
Company Subsidiary, nor to the knowledge of the Company or
any Company Subsidiary, any officer of the Company or any of
its Company Subsidiary or any of the Company Benefit Plans
which are subject to ERISA, including the Company Pension
Plans, any trusts created thereunder or any trustee or
administrator thereof, has engaged in a "prohibited
transaction" (as such term is defined in Section 406 of
ERISA or Section 4975 of the Code} or any other breach of
fiduciary responsibility that could subject the Company, any
Company Subsidiary or any officer of the Company or any
Company Subsidiary to the tax or penalty on prohibited
transactions imposed by such Section 4975 or to any
liability under Section 502(i} or 502(1} of ERISA. All
contributions and premiums required to be made under the
terms of any Company Benefit Plan as of the date hereof have
been timely made or have been reflected on the most recent
consolidated balance sheet filed or incorporated by
reference in the Filed Company SEC Documents.

           (d} With respect to any Company Benefit Plan that
is an employee welfare benefit plan, except as disclosed in
the Company Disclosure Letter, (i} no such Company Benefit
Plan is unfunded or funded through a "welfare benefits fund"
(as such term is defined in Section 419(e} of the Code},
(ii} each such Company Benefit Plan that is a "group health
plan" (as such term is defined in Section 5000(b} (1} of the
Code}, complies with the applicable requirements of
Section 4980B(f} in all material respects of the Code and
(iii} each such Company Benefit Plan (including any such
Plan covering retirees or other former employees} may be
amended or terminated without material liability to the
Company and the Company Subsidiary on or at any time after
the Effective Time. Neither the Company nor any Company
Subsidiary has any obligations for retiree health and life
benefits under any Company Benefit Plan or Company Benefit
Agreement. '

           (e} Except as disclosed in the Company Disclosure
Letter, the consummation of the Offer and the Merger or any
of the other Transactions will not (i} entitle any employee,
consultant, officer or director of the Company or any
Company Subsidiary to severance pay, (ii} accelerate the
time of payment or vesting or trigger any payment or funding


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(through a granter trust or otherwise) of compensation or
benefits under, increase the amount payable or trigger any
other material obligation pursuant to, any of the Company
Benefit Plans or Company Benefit Agreements or (iii) result
in any breach or violation of, or a default under, any of
the Company Benefit Plans or Company Benefit Agreements.

           (f) Other than payments that may be made to the
persons listed in the Company Disclosure Letter (the
"Primary Company Executives"), any amount or economic
benefit that could be received (whether in cash or property
or in respect of the vesting of property) as a result of the
Offer and the Merger or any other Transaction (including as
a result of termination of employment on or following the
Effective Time) by any employee, officer or director of the
Company or any of its affiliates who is a "disqualified
individual" (as such term is defined in proposed Treasury
Regulation Section 1.280G-1) under any Company Benefit Plan
or Company Benefit Agreement or otherwise would not be
characterized as an "excess parachute payment" (as defined
in Section 280G(b) (1) of the Code), and no disqualified
individual is entitled to receive any additional payment
from the Company or any Company Subsidiary or any other
person in the event that the excise tax under Section 4999
of the Code is imposed on such disqualified individual. Set
forth in the Company Disclosure Letter is (i) the estimated
maximum amount that could be paid to each Primary Company
Executive as a result of the Merger and the other
Transactions under all Company Benefit Plans and Company
Benefit Agreements and (ii) the "base amount" (as defined in
Section 280G(b) (3) of the Code) for each Primary Company
Executive calculated as of the date of this Agreement.

          SECTION 3.12. Litigation. Except as disclosed in
the Company Disclosure Letter, there is no suit, action or
proceeding pending or, to the knowledge of the Company,
threatened against or affecting the Company or any Company
Subsidiary (and the Company is not aware of any basis for
any such suit, action or proceeding) that, individually or
in the aggregate, has resulted in or would reasonably be
expected to result in a Company Material Adverse Effect or
in a liability to the Company and the Company Subsidiaries,
taken as a whole, in excess of $1,000,000, nor is there any
Judgment outstanding against the Company or any Company
Subsidiary that, individually or in the aggregate, has
resulted in or would reasonably be expected to result in a
Company Material Adverse Effect or in a liability to the
Company and the Company Subsidiaries, taken as a whole, in
excess of $1,000,000.




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          SECTION 3.13. Compliance with Applicable Laws.
Except as disclosed in the Company Disclosure Letter, the
Company and the Company Subsidiaries are in compliance in
all material respects with all applicable Laws, including
those relating to occupational health and safety. Except as
set forth in the Company Disclosure Letter, neither the
Company nor any Company Subsidiary has received any written
communication during the past two years from a Governmental
Entity that alleges that the Company or a Company Subsidiary
is not in compliance with any applicable Law. This
Section 3.13 does not relate to matters with respect to
Taxes, which are the subject of Section 3.09, or to
environmental matters, which are the subject of
Section 3.14.

            SECTION 3.14. Environmental Matters.   {a}  Except
 as set forth in the Company Disclosure Letter, neither the
 Company nor any Company Subsidiary has {i} placed, held,
 located, released, transported or disposed of any Hazardous
 Substances {as defined below} on, under, from or at any of
 the Company's or any Company Subsidiary's properties or any
 other properties, except for those actions that individually
 or in the aggregate have not resulted in, or would not
 reasonably be expected to result in, material liability to
 the Company and the Company Subsidiaries, {ii} any knowledge
 or reason to know of the presence of any Hazardous
 Substances on, under or at any Company Subsidiary's
 properties or any other property but arising from the
 Company's or any Company Subsidiary's properties, other than
 a reason to know of such presences that individually or in
 the aggregate have not resulted in, or would not reasonably
 be expected to result in, material liability to the Company
 and the Company Subsidiaries, or {iii} received any written
 notice {A} of any violation of any statute, law, ordinance,
 regulation, rule, judgment, decree or order of any
 Governmental Entity relating to any matter of pollution,
 protection of the environment, environmental regulation or
 control or regarding Hazardous Substances on or under any of
 the Company's or any Company Subsidiary's properties or any
 other properties {collectively, "Environmental Laws"},
  {B} of the institution or pendency of any suit, action,
 claim, proceeding or investigation by any Governmental
 Entity or any third party in connection with any such
"-violation, {C} requiring the response to or remediation of
 Hazardous Substances at or arising from any of the Company's
 or any Company Subsidiary's properties or any other
 properties, or {D} demanding payment for response to or
 remediation of Hazardous Substances at or arising from any
 of the Company's or any Company Subsidiary's properties or
 any other properties. For purposes of this Agreement, the
 term "Hazardous Substance" shall mean any toxic or hazardous


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materials or substances, including asbestos, buried
contaminants, chemicals, flarrnnable explosives, radioactive
materials, petroleum and petroleum products and any
substances defined as, or included in the definition of,
"hazardous substances", "hazardous wastes", "hazardous
materials" or "toxic substances" under any Environmental
Law.

           (b} Except as set forth in the Company Disclosure
Letter, no Environmental Law imposes any obligation upon the
Company or any Company Subsidiary arising out of or as a
condition to any Transaction, including, without limitation,
any requirement to modify or to transfer any permit or
license, any requirement to file any notice or other
submission with any Governmental Entity, the placement of
any notice, acknowledgment or covenant in any land records,
or the modification of or provision of notice under any
agreement, consent order or consent decree.· No Lien has
been placed upon any of the Company's or its subsidiaries'
properties under any Environmental Law.

           SECTION 3.15. Contracts; Debt Instruments.   (a}
Except as disclosed in the Company Disclosure Letter,
 (i} there is no Contract that has a future liability to the
Company and the Company Subsidiaries, taken as a whole, in
excess of $200,000 per annum or $500,000 over the lifetime
of such Contract (a "Material Contract"}, and (ii} neither
the Company nor any Company Subsidiary is the lessee under
any lease (whether of real or personal property} that
requires annual payments in excess of $200,000 or $500,000
over the lifetime of such lease. Neither the Company nor
any Company Subsidiary is in violation in any material
respect of or in default in any material respect under (nor
does there exist any condition which upon the passage of
time or the giving of notice would cause such a violation of
or default under} any Material Contract to which it is a
party or by which it or any of its properties or assets is
bound, and, to the knowledge of the Company, no other party
to any such Material Contract is (with or without the lapse
of time or the giving of notice, or both} in breach or
default in any material respect thereunder.

            (b}  The Company Disclosure Letter sets forth
- (i} a list of all loan or credit agreements, notes, bonds,
 mortgages, indentures and other agreements and instruments
 pursuant to which any indebtedness of the Company or any
 Company Subsidiary in an aggregate principal amount in
 excess of $100,000 is outstanding or may be incurred and
  (ii} the respective principal amounts currently outstanding
 thereunder.



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           (c) The Company Filed SEC Documents include as
exhibits thereto all Contracts that are required to be filed
by the Company under the Exchange Act.

           SECTION 3.16. Intellectual Property. The Company
Disclosure Letter sets forth a surrnnary description of all
patents, patent rights, trademarks, trademark rights, trade
names, trade name rights, service marks, service mark
rights, copyrights and other proprietary intellectual
property rights and proprietary computer programs necessary
to produce the products of the Company and the Company
Subsidiaries and to conduct the business of the Company and
the Company Subsidiaries as currently conducted
 (collectively, "Intellectual Property Rights"). The Company
and the Company Subsidiaries own, or are validly licensed or
otherwise have the right to use, all Intellectual Property
Rights necessary to conduct their respective businesses as
currently conducted with no infringement of, or conflict
with, the rights of any others. Except as set forth in the
Company Disclosure Letter, no claims are pending or, to the
knowledge of the Company, threatened that the Company or any
Company Subsidiary is infringing or otherwise adversely
affecting the rights of any person with regard to any
Intellectual Property Right. Except as set forth in the
Company Disclosure Letter, neither the Company nor any
Company Subsidiary has granted to any third party a license
or other right to any Intellectual Property Right. To the
knowledge of the Company, except as set forth in the Company
Disclosure Letter, no person is infringing the rights of the
Company or any Company Subsidiary with respect to any
Intellectual Property Right.

          SECTION 3.17. Labor Matters. Except as set forth
in the Company Disclosure Letter, there are no collective
bargaining or other labor union agreements to which the
Company or any Company Subsidiary is a party or by which any
of them is bound. Since December 31, 1996, neither the
Company nor any Company Subsidiary has encountered any labor
union organizing activity, or had any actual or threatened
employee strikes, work stoppages, slowdowns or lockouts.

          SECTION 3.18. Title to Properties.    (a) Except
as set forth in the Company Disclosure Letter, each of the
Company and each Company Subsidiary has good and marketable
title to, or valid leasehold interests in, all its
respective real properties except for such as are no longer
used or useful in the conduct of its respective business or
as have been disposed of in the ordinary course of business
and assets which are material to the conduct of the business
of the Company and the Company Subsidiaries ("Material
Assetsn). All such properties and Material Assets, other


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than properties and Material Assets in which the Company or
any Company Subsidiary has leasehold interests, are free and
clear of all Liens other than (i) Liens imposed by Law that
were incurred in the ordinary course of business such as
carrier's, warehousemen's and mechanic's Liens, which Liens
do not materially detract from the value of such properties
and Material Assets or materially impair the use thereof in
the operation of the respective businesses of the Company
and the Company Subsidiaries, (ii) Liens arising pursuant to
purchase money security interests relating to indebtedness
representing an amount no greater than the purchase price of
such properties or Material Assets, (iii) Liens for Taxes
and assessments not yet due and payable or Liens for Taxes
being contested in good faith and by appropriate proceedings
for which adequate reserves have been established, or (iv)
Liens set forth in the Company Disclosure Letter. The
Company Disclosure Letter sets forth a complete list of all
real property owned by the Company or any Company
Subsidiary.

          (b) Except as set forth in the Company Disclosure
Letter, each of the Company and each Company Subsidiary has
complied in all material respects with the terms of all
leases with annual payments in excess of $50,000 to which it
is a party and under which it is in occupancy, and all such
leases are in full force and effect. Each of the Company
and each Company Subsidiary enjoys peaceful and undisturbed
possession under all such leases. To the knowledge of the
Company, no other party to any of such leases is (with or
without the lapse of time or the giving of notice, or both)
in breach or default in any material respect thereunder.

           SECTION 3.19. Equipment. Except as set forth in
the Company Disclosure Letter, all (i) the material
equipment of the Company and the Company Subsidiaries, and
 (ii) the equipment currently in use that, in the aggregate,
is necessary to produce the products of the Company and the
Company Subsidiaries (other than the Company's novelty
product line and related equipment) or otherwise necessary
to conduct the business of the Company and the Company
Subsidiaries as currently conducted, is in good operating
condition and repair (ordinary wear and tear excepted),
taking into account its age and use, and is available for
immediate use in the business of-the Company and the Company
Subsidiaries.

          SECTION 3.20. Suppliers.    Except as set forth in
the Company Disclosure Letter, since January 1, 2000, there
has not been (i) any material adverse change in the business
relationship of the Company or any Company Subsidiary with
any of their top 20 suppliers or (ii) any material adverse


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change in the terms of the supply agreements or related
arrangements with any such supplier. Except as set forth in
the Company Disclosure Letter, to the knowledge of the
Company, the Transactions will not adversely affect its or
any Company Subsidiary's business relationship with any of
their top 20 suppliers, other than as a result of a pre-
existing relationship with Conopco or Sub.

          SECTION 3.21. Brokers; Schedule of Fees and
Expenses. No broker, investment banker, financial advisor
or other person, other than Gordian Group, L.P., the fees
and expenses of which will be paid by the Company, is
entitled to any broker's, finder's, financial advisor's or
other similar fee or commission in connection with the
Transactions based upon arrangements made by or on behalf of
the Company. The estimated fees and expenses incurred and
to be incurred by the Company in connection with the Offer,
the Merger and the other Transactions (including the fees of
Gordian Group, L.P. and the fees of the Company's legal
counsel) are set forth in the Company Disclosure Letter.
The Company has furnished to Conopco a true and complete
copy of all agreements between the Company and Gordian
Group, L.P. relating to the Offer, the Merger and the other
Transactions.

          SECTION 3.22. Opinion of Financial Advisor. The
Company has received the opinion of Gordian Group, L.P.,
dated the date of this Agreement, to the effect that, as of
such date, the consideration to be received in the Offer and
the Merger by the holders of Company Common Stock is fair
from a financial point of view, a signed copy of which
opinion has been or promptly upon receipt will be, delivered
to Conopco.


                            ARTICLE IV

         Representations and Warranties of Conopco and Sub

          Conopco and Sub jointly and severally represent
and warrant to the Company as follows:

          SECTION 4.01. Organization, Standing and Power.
Each of Conopco and Sub is duly organized, validly existing
and in good standing under the laws of the jurisdiction in
which it is organized and has full corporate power and
authority to conduct its businesses as presently conducted.

          SECTION 4.02. Sub.    (a) Since the date of its
incorporation, Sub has not carried on any business or
conducted any operations other than the execution of the


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Transaction Agreements to which it is a party, the
performance of its obligations hereunder and thereunder and
matters ancillary thereto. Sub was incorporated solely for
the consurrnnation of the Transactions.

          (b}  The authorized capital stock of Sub consists
of 1,000 shares of corrnnon stock, par value $0.01 per share,
all of which have been validly issued, are fully paid and
nonassessable and are owned by Conopco free and clear of any
Lien.

            SECTION 4.03. Authority; Execution and Delivery;
Enforceability. Each of Conopco and Sub has all requisite
corporate power and authority to execute and deliver each
Transaction Agreement to which it is a party and to
consurrnnate the Transactions. The execution and delivery by
each of Conopco and Sub of each Transaction Agreement to
which it is a party and the consurrnnation by it of the
Transactions have been duly authorized by all necessary
corporate action on the part of Conopco and Sub. Conopco,
as sole shareholder of Sub, has approved this Agreement. No
vote of Conopco's shareholders is required to approve this
Agreement or the transactions contemplated hereby. Each of
Conopco and Sub has duly executed and delivered each
Transaction Agreement to which it is a party, and each
Transaction Agreement to which it is a party constitutes its
legal, valid and binding obligation, enforceable against it
in accordance with its terms.

            SECTION 4.04. Consents. No Consent of, or
registration, declaration or filing with, any Governmental
Entity is required to be obtained or made by or with respect
to Conopco or any of its subsidiaries in connection with the
execution, delivery and performance of any Transaction
Agreement to which Conopco or Sub is a party or the
consurrnnation of the Transactions, other than (i} compliance
with and filings under the HSR Act, (ii} the filing with the
SEC of (A} the Offer Documents and (B} such reports under
Sections 13 and 16 of the Exchange Act as may be required in
connection with this Agreement, and the other Transaction
Agreements, the Offer, the Merger and the other
Transactions, (iii} the filing of the Articles of Merger
with the Secretary of State of the State of Vermont,
(iv} compliance with-,·artd such filings as may be required
under applicable Environmental Laws and (v} such filings as
may be required in connection with the Taxes described in
Section 6.09.

          SECTION 4.05.  Information Supplied.  (a}  None of
the information supplied or to be supplied by Conopco or Sub
for inclusion or incorporation by reference (i} in the Offer


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Documents, the Schedule 14D-9 or the Information Statement
will, at the time such document is filed with the SEC, at
any time it is amended or supplemented or at the time it is
first published, sent or given to the Company's
shareholders, contain any untrue statement of a material
fact or omit to state any material fact required to be
stated therein or necessary to make the statements therein
not misleading, or {ii) in the Proxy Statement will, at the
date it is first mailed to the Company's shareholders or at
the time of the Company Shareholders Meeting, contain any
untrue statement of a material fact or omit to state any
material fact required to be stated therein or necessary in
order to make the statements therein, in light of the
circumstances under which they are made, not misleading.

          {b) The Offer Documents will comply as to form in
all material respects with the requirements of the Exchange
Act and the rules and regulations thereunder, except that no
representation is made by Conopco or Sub with respect to
statements made or incorporated by reference therein based
on information supplied by the Company for inclusion or
incorporation by reference therein.

          SECTION 4.06. Brokers. Except as set forth in
the letter, dated as of the date of this Agreement, from
Conopco to the Company {the "Conopco Disclosure Letter") no
broker, investment banker, financial advisor or other
person, other than Morgan Stanley & Co. Incorporated, the
fees and expenses of which will be paid by Conopco, is
entitled to any broker's, finder's, financial advisor's or
other similar fee or corrnnission in connection with the
Transactions based upon arrangements made by or on behalf of
Conopco.

          SECTION 4.07.    Conopco Plans.  Conopco has
previously disclosed to the Company or its counsel each
agreement or understanding between Conopco or its
affiliates, on the one hand, and any member of the Company
Board or of the Company's Office of the Chief Executive
Officer {the "OCEO") or the Chief Executive Officer of the
Company {the "CEO"), on the other hand, regarding {i) any
plans that Conopco or its affiliates may have to cause to be
terminated the employment, or cause to be changed the
responsibilities·,, of the CEO or of any member of the OCEO,
{ii) any plans that Conopco or its affiliates may have to
cause to be terminated the directorship of any member of the
Company Board, and {iii) any financial or other matter
concerning support of the Transactions or directorship,
employment or other arrangements with Conopco or the Company
following the Effective Time.



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                               ARTICLE V

                Covenants Relating to Conduct of Business

           SECTION 5.01. Conduct of Business.   (a}  Conduct
of Business by the Company. Except for matters set forth in
the Company Disclosure Letter or otherwise expressly
permitted by the Transaction Agreements, from the date of
this Agreement to the earlier of Conopco having designated a
majority of the Company Board pursuant to Section 6.10 and
the Effective Time the Company shall, and shall cause each
Company Subsidiary to, conduct the business of the Company
and the Company Subsidiaries, taken as a whole, in the
usual, regular and ordinary course in substantially the same
manner as previously conducted and use all reasonable
efforts to preserve intact its current business
organization, keep available the services of its current
officers and employees and keep its relationships with
customers, suppliers, licensors, licensees, distributors and
others having business dealings with them to the end that
its goodwill and ongoing business shall be unimpaired, in
all material respects, at the Effective Time.   In addition,
and without limiting the generality of the foregoing, except
for matters set forth in the Company Disclosure Letter or
otherwise expressly permitted by the Transaction Agreements,
from the date of this Agreement to the earlier of Conopco
having designated a majority of the Company Board pursuant
to Section 6.10 and the Effective Time, the Company shall
not, and shall not permit any Company Subsidiary to, do any
of the following without the prior written consent of
Conopco:

              (i} (A} declare, set aside or pay any dividends
        on, or make any other distributions in respect of, any
        of its capital stock, other than dividends and distri-
        butions by a direct or indirect wholly owned subsidiary
        of the Company to its parent, (B} split, combine or
        reclassify any of its capital stock or issue or author-
        ize the issuance of any other securities in respect of,
        in lieu of or in substitution for shares of its capital
        stock (other than upon the conversion of shares of
        Class B Corrnnon Stock into shares of Class A Corrnnon
        Stock in accordance with the Company Charter}, or
        (C} purchase, redeem or otherwise acquire any shares of·
        capital stock of the Company or any Company Subsidiary
        or any other securities thereof or any rights, warrants
        or options to acquire any such shares or other
        securities;

             (ii} issue, deliver, sell or grant (A} any shares
        of its capital stock, (B} any Voting Company Debt or


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       other voting securities, {C} any securities convertible
        into or exchangeable for, or any options, warrants or
        rights to acquire, any such shares, Voting Company
       Debt, voting securities or convertible or exchangeable
        securities or {D} any 11 phantom 11 stock, 11 phantom 11 stock
        rights, stock appreciation rights or stock-based
       performance units, other than {x} the issuance of
        Class A Corrnnon Stock {and associated Class A Rights}
        {l} upon the exercise of Company Stock Options
       outstanding on the date of this Agreement and in
       accordance with their present terms, {2} pursuant to
        the Stock Option Agreement, {3} upon the conversion of
        shares of Class B Corrnnon Stock into shares of Class A
        Corrnnon Stock in accordance with the Company Charter,
        {4} upon exercise of Gordian Warrants or {5} pursuant
        to the 1986 ESPP {subject to Section 6.0S{c}} and {y}
        the issuance of capital stock of ACICM upon the
       'exercise of options to purchase such capital stock that
       are outstanding on the date of this Agreement and in
       accordance with their present terms;
           {iii} amend its articles of incorporation, by-laws
        or other comparable charter or organizational
        documents;
             {iv} acquire or agree to acquire {A} by merging or
        consolidating with, or by purchasing a substantial
        equity interest in or portion of the assets of, or by
        any other manner, any business or any corporation,
        partnership, joint venture, association or other
        business organization or division thereof or {B} any
        assets that are material, individually or in the
        aggregate, to the Company and the Company Subsidiaries,
        taken as a whole, except purchases of inventory in the
        ordinary course of business consistent with past
        practice or in the fulfillment of Contracts in
        existence on the date hereof and copies of which have
        been made available to Conopco;
              {v} {A} grant to any employee, officer or director
        of the Company or any Company Subsidiary any increase
        in compensation, except in the ordinary course of
        business consistent with prior practice or to the
     - ,-extent required under employment or consulting   <

        agreements in effect as of the date of the most recent
        audited financial statements included in the Filed
        Company SEC Documents, {B} grant to any employee,
        officer or director of the Company or any Company
        Subsidiary any increase in severance or termination
        pay, except to the extent required under any
        employment, consulting, severance or termination


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        agreement in effect as of the date of the most recent
        audited financial statements included in the Filed
        Company SEC Documents, (C) establish, adopt, enter into
        or amend any Company Benefit Agreement, (D) establish,
        adopt, enter into or amend in any material respect any
        collective bargaining agreement or Company Benefit Plan
        or (E) take any action to accelerate any rights or
        benefits, or make any material detenninations not in
        the ordinary course of business consistent with prior
        practice, under any collective bargaining agreement or
        Company Benefit Plan or Company Benefit Agreement;

            (vi) make any change in accounting methods,
        principles or practices materially affecting the
        reported consolidated assets, liabilities or results of
        operations of the Company, except insofar as may have
        been required by a change in GAAP;

            (vii) sell, lease (as lessor), license or otherwise
        dispose of or subject to any Lien any properties or
        assets, except for leases and disposals of trucks and
        trailers and sales of inventory and excess or obsolete
        assets, in all cases in the ordinary course of business
        consistent with past practice;

           (viii) (A) incur any indebtedness for borrowed money
        or guarantee any such indebtedness of another person,
        issue or sell any debt securities or warrants or other
        rights to acquire any debt securities of the Company or
        any Company Subsidiary, guarantee any debt securities
        of another person, enter into any "keep well" or other
        agreement to maintain any financial statement condition
        of another person or enter into any arrangement having
        the economic effect of any of the foregoing, except for
        short-tenn borrowings incurred in the ordinary course
        of business consistent with past practice, or (B) make
        any loans, advances or capital contributions to, or
        investments in, any other person, other than to or in
        the Company or any direct or indirect wholly owned
        subsidiary of the Company;

            (ix) make or agree to make any new capital expendi-
        ture or expenditures that, individually, is in excess
        of $500,000 or, in the aggregate, are in excess of
        $1,000,000; provided, however, that with respect to
        proposed capital expenditures the written consent of
        Conopco shall not unreasonably be withheld;

              (x) make or change any material Tax election or
        settle or compromise any material Tax liability or
        refund;


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                    (xi) (A) pay, discharge or satisfy any claims,
               liabilities or obligations (absolute, accrued, asserted
               or unasserted, contingent or otherwise) in excess of
               $100,000, other than the payment, discharge or
               satisfaction, in the ordinary course of business
               consistent with past practice or in accordance with
               their terms, of liabilities reflected or reserved
               against in, or contemplated by, the most recent
               consolidated financial statements (or the notes
               thereto) of the Company included in the Filed Company
               SEC Documents or incurred in the ordinary course of
               business consistent with past practice, (B) cancel any
               material indebtedness (individually or in the
               aggregate) or waive any claims or rights of substantial
               value or (C) waive the benefits of, or agree to modify
               in any manner, any confidentiality, standstill or
               similar agreement to which the Company or any Company
               Subsidiary is a party; or

                  (xii) authorize any of, or corrnnit or agree to take
               any of, the foregoing actions.

                  (b) Other Actions. Subject to Section 5.02(b),
       the Company shall not, and shall not permit any Company
       Subsidiary to, take any action that would, or that would
       reasonably be expected to, result in (A) any of the
       representations and warranties of the Company set forth in
       any Transaction Agreement to which it is a party that is
       qualified as to Company Material Adverse Effect becoming
       untrue, (B) the representations and warranties that are not
       so qualified as to Company Material Adverse Effect becoming
       untrue where the failure of the representations and
       warranties referred to in this clause (B) to be so true,
       when taken together, would reasonably be expected to have a
       Company Material Adverse Effect, or (C) any condition to the
       Offer set forth in Section 7.01, or any condition to the
       Merger set forth in Section 7.02, not being satisfied.
       Conopco shall not, and shall not permit its subsidiaries to,
       take any action that would, or would reasonably be expected
       to, result in any condition to the Offer set forth in
       Section 7.01, or any condition to the Merger set forth in
       Section 7.02, not being satisfied.

·.,-             (c) Advice of Changes. The Company shall
       promptly advise Conopco orally and in writing of any change
       or event that has or would reasonably be expected to have a
       Company Material Adverse Effect. The Company shall promptly
       provide to Conopco (or its counsel) copies of all filings
       made by the Company with any Governmental Entity in
       connection with this Agreement and the Transactions, except



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with respect to the disclosure in Item 4(c) and any related
materials in the Company's filing under the HSR Act.

           (d) Continuation of Contracts. The Company shall
use its best efforts to take such actions necessary to
ensure the continuation of the contracts referred to in
Section 3.05 of the Company Disclosure Letter; provided,
however, that this Section 5.0l{d) shall not require the
payment by the Company of any consent or other similar fee
under any such contract.

          SECTION 5.02. No Solicitation.    (a)  The Company
shall not, nor shall it authorize or permit any Company
Subsidiary to, nor shall it authorize or permit any officer,
director or employee of, or any investment banker, attorney
or other advisor or representative (collectively,
"Representatives") of, the Company or any Company Subsidiary
to, (i) directly or indirectly solicit, initiate or
encourage the submission of, any Company Takeover Proposal
(as defined in Section 5.02(e)), (ii) enter into any
agreement with respect to any Company Takeover Proposal or
(iii) directly or indirectly participate in any discussions
or negotiations regarding, or furnish to any person any
information with respect to, or take any other action to
facilitate any inquiries or the making of any proposal that
constitutes, or may reasonably be expected to lead to, any
Company Takeover Proposal; provided, however, that prior to
the acceptance for payment of shares of Class A Corrnnon Stock
pursuant to the Offer the Company may, to the extent
required by the fiduciary obligations of the Company Board,
as determined in good faith by a majority of the
disinterested members thereof after consultation with
outside counsel, in response to a Company Takeover Proposal
that was made by a person whom the Company Board determines,
in good faith after consultation with outside counsel and an
independent financial advisor, to be reasonably capable of
making a Superior Company Proposal (as defined in
Section 5.02(e)), that was not solicited by the Company and
that did not otherwise result from a breach or a deemed
breach of this Section 5.02(a), (x) furnish information with
respect to the Company to the person or group making such
Company Takeover Proposal and its Representatives pursuant
to a customary confidentiality agreement not less
restrictive of the other party than the Confidentiality
Agreement (as defined in Section 6.02) and (y) participate
in discussions and negotiations with such person or group
and its Representatives to the extent required regarding
such Company Takeover Proposal. Without limiting the
foregoing, it is agreed that any violation of the
restrictions set forth in the preceding sentence by any
Representative or affiliate of the Company or any Company


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Subsidiary, whether or not such person is purporting to act
on behalf of the Company or any Company Subsidiary or
otherwise, shall be deemed to be a breach of this
Section 5.02(a) by the Company. Subject to the foregoing
provisions of this Section 5.02, the Company shall, and
shall cause its Representatives to, cease immediately all
discussions and negotiations regarding any proposal that
constitutes, or may reasonably be expected to lead to, a
Company Takeover Proposal.

           (b) Neither the Company Board nor any committee
thereof shall (i) withdraw or modify, or propose to withdraw
or modify, in a manner adverse to Conopco or Sub, the
approval or recommendation by the Company Board or any such
committee of this Agreement, the Offer or the Merger,
 (ii) approve any letter of intent, agreement in principle,
acquisition agreement or similar agreement relating to any
Company Takeover Proposal or (iii) approve or recommend, or
propose to approve or recommend, any Company Takeover
Proposal. Notwithstanding the foregoing, if, prior to the
acceptance for payment of shares of Class A Common Stock
pursuant to the Offer, the Company Board receives a Superior
Company Proposal and a majority of the disinterested
directors of the Company determine in good faith, after
consultation with outside counsel, that it is necessary to
do so in order to comply with their fiduciary obligations,
the Company Board may withdraw its approval or
recommendation of the Offer, the Merger and this Agreement
and, in connection therewith, approve or recommend such
Superior Company Proposal, provided, that the Company Board
shall give Conopco five business days' notice prior to
withdrawing its recommendation.

           (c) The Company promptly shall advise Conopco
orally and in writing of any Company Takeover Proposal or
any inquiry with respect to or that could lead to any
Company Takeover Proposal, the identity of the person or
group making any such Company Takeover Proposal or inquiry
and the material terms of any such Company Takeover Proposal
or inquiry. The Company shall (i) keep Conopco fully
informed of the status, including any change to the details,
of any such Company Takeover Proposal or inquiry and
(ii) provide to Conopco as soon as practicable after receipt
or delivery thereof with copies of all correspondence and
other written material sent or provided to the Company from
any third party in connection with any Company Takeover
Proposal or sent or provided by the Company to any third
party in connection with any Company Takeover Proposal.

           (d) Nothing contained in this Section 5.02 shall
prohibit the Company from taking and disclosing to its


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shareholders a position contemplated by Rule 14e-2{a}
promulgated under the Exchange Act or from making any
required disclosure to the Company's shareholders if, in the
good faith judgment of the Company Board, after consultation
with outside counsel, failure so to disclose would be
inconsistent with its obligations under applicable Law.
                 {e}   For purposes of this Agreement:
             "Company Takeover Proposal" means {i} any proposal
        or offer for a merger, consolidation, dissolution,
        recapitalization or other business combination
        involving the Company or any Company Subsidiary,
        {ii} any proposal for the issuance by the Company of a
        material amount of its equity securities as
        consideration for the assets or securities of another
        person or {iii} any proposal or offer to acquire in any
        manner, directly or indirectly, a material equity
        interest in any voting securities of, or a substantial
        portion of the assets of, the Company or any Company
        Subsidiary, in each case other than the Transactions.
              "Superior Company Proposal" means any proposal
        made by a third party to acquire all or substantially
        all the equity securities or assets of the Company,
        pursuant to a tender or exchange offer, a merger, a
        consolidation, a liquidation or dissolution, a
        recapitalization or a sale of all or substantially all
        its assets, {i} on terms which a majority of the
        disinterested directors of the Company determines in
        its good faith judgment {A} to represent superior value
        for the holders of Company Corrnnon Stock than the
        Transactions {based on the written opinion, with only
        customary qualifications, of Gordian Group, L.P. or
        another independent financial advisor as to such
        proposal's financial superiority}, taking into account
        all the terms and conditions of such proposal and this
        Agreement {including any proposal by Conopco to amend
        the terms of the Transactions}, and {B} to be no less
        favorable to the Company's stakeholders {not including
        its shareholders}, taken as a whole, than the
        Transactions, taking into account all the terms and
        conditions of such proposal and this Agreement
        {including any proposal:'·by Conopco to amend the terms
        of the Transactions} and {ii} that is reasonably
        capable of being completed, taking into account all
        financial, regulatory, legal and other aspects of such
        proposal.




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                          ARTICLE VI

                     Additional Agreements

            SECTION 6.01.   Preparation of Proxy Statement;
Shareholders Meeting.     (a}  The Company shall, as soon as
practical following the expiration of the Offer, prepare and
file with the SEC the Proxy Statement in preliminary form,
and the Company and each of Conopco and Sub shall use its
best efforts to respond as promptly as practicable to any
corrnnents of the SEC with respect thereto. The Company shall
notify Conopco promptly of the receipt of any corrnnents from
the SEC or its staff and of any request by the SEC or its
staff for amendments or supplements to the Proxy Statement
or for additional information and shall supply Conopco with
copies of all correspondence between the Company or any of
its representatives, on the one hand, and the SEC or its
staff, on the other hand, with respect to the Proxy
Statement.    If at any time prior to receipt of the Company
Shareholder Approval there shall occur any event that should
be set forth in an amendment or supplement to the Proxy
Statement, the Company shall promptly prepare and mail to
its shareholders such an amendment or supplement. The
Company shall not mail any Proxy Statement, or any amendment
or supplement thereto, to which Conopco reasonably objects.
The Company shall use its best efforts to cause the Proxy
Statement to be mailed to the Company's shareholders as
promptly as reasonably practicable after filing with the
SEC.

            (b}  The Company shall, as soon as reasonably
practical following the expiration of the Offer, duly call,
give notice of, convene and hold a meeting of its
shareholders (the "Company Shareholders Meeting"} for the
purpose of seeking the Company Shareholder Approval.
Without limiting the generality of the foregoing, the
Company agrees that, unless this Agreement shall have been
terminated, its obligations pursuant to the first sentence
of this Section 6.0l(b} shall not be affected by (i} the
corrnnencement, public proposal, public disclosure or
corrnnunication to the Company of any Company Takeover
Proposal or (ii} the withdrawal or modification by the
Company Board of its approval or recorrnnendation of this
Agreement, the Offer or the Merger.

            (c}  Conopco shall cause all shares of Class A
Corrnnon Stock purchased by Sub pursuant to the Offer and all
other shares of Class A Corrnnon Stock owned by Sub or any
other direct or indirect subsidiary of either Parent to be
represented at the Company Shareholders Meeting and to be



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voted in favor of obtaining the Company Shareholder
Approval.

           SECTION 6.02. Access to Information;
Confidentiality.   (a)  The Company shall, and shall cause
each Company Subsidiary to, afford to Conopco, and to
Conopco's officers, employees, accountants, counsel,
financial advisors and other representatives, upon
reasonable notice reasonable access during normal business
hours during the period prior to the Effective Time to all
their respective properties, books, contracts, corrnnitments,
personnel and records and, during such period, the Company
shall, and shall cause each Company Subsidiary to, furnish
promptly to Conopco (a) a copy of each report, schedule,
registration statement and other document filed by it during
such period pursuant to the requirements of Federal or state
securities laws and (b) all other information concerning its
business, properties and personnel as Conopco may reasonably
request; provided, however, that the Company may withhold
(i) any document or information that is subject to the terms
of a confidentiality agreement with a third party or
 (ii) such portions of documents or information relating to
pricing or other matters that are highly sensitive and the
exchange of such documents (or portions thereof) or
information, as determined by the Company's outside counsel,
might reasonably result in antitrust difficulties between
the Company and Conopco (or any of its affiliates).    If any
material is withheld from Conopco pursuant to the proviso to
the preceding sentence, the Company shall inform Conopco as
to what is being withheld. Without limiting the generality
of the foregoing, the Company shall, within two business
days of request therefor, provide to Conopco the information
described in Rule 14a-7(a) (2) (ii) under the Exchange Act and
any information to which a holder of Company Corrnnon Stock
would be entitled under Section 16.02 of the VBCA (assuming
such holder met the requirements of such section).

          (b)  The Company shall, as soon as practicable and
in any event by the end of the third week of each month,
furnish to Conopco such financial information for the
previous month in such form as is provided to the Company
Board.

           (c) •. A:tl information exchanged pursuant to this
Section 6.02 shall be subject to the confidentiality
agreement dated September 27, 1999 between the Company and
Conopco (the "Confidentiality Agreement").

          SECTION 6.03. Best Efforts; Notification.
(a)  Upon the terms and subject to the conditions set forth
in this Agreement, and subject to Section 5.02 and the


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Company's right to make the disclosures to its shareholders
permitted under Section 5.02{d), each of the parties shall
use its best efforts to take, or cause to be taken, all
appropriate actions, and to do, or cause to be done, and to
assist and cooperate with the other parties in doing, all
things necessary,. proper or advisable to consurrnnate and make
effective, in the most expeditious manner practicable, the
Offer, the Merger and the other Transactions, including
 {i) the obtaining of all necessary actions, waivers,
consents and approvals from Governmental Entities and the
making of all necessary registrations and filings {including
filings with Governmental Entities, if any) and the taking
of all reasonable steps as may be necessary to obtain an
approval or waiver from, or to avoid an action or proceeding
by, any Governmental Entity, {ii) the obtaining of all
necessary consents, approvals or waivers from third parties,
{iii) the defending of any lawsuits or other legal
proceedings, whether judicial or administrative, challenging
this Agreement or any other Transaction Agreement or the
consurrnnation of the Transactions, including seeking to have
any stay or temporary restraining order entered by any court
or other Governmental Entity vacated or reversed and
{iv) the execution and delivery of any additional
instruments necessary to consurrnnate the Transactions and to
fully carry out the purposes of the Transaction Agreements;
provided, however, that neither the Company nor Conopco
shall be required to consent to any action described in
Section 7.0l{a).    In connection with and without limiting
the foregoing, the Company and the Company Board shall
{i) take all action necessary to ensure that no state
takeover statute or similar statute or regulation becomes
applicable to any Transaction or this Agreement or any other
Transaction Agreement and {ii) if any state takeover statute
or similar statute or regulation becomes applicable to this
Agreement or any other Transaction Agreement, take all
action necessary to ensure that the Offer, the Merger and
the other Transactions may be consurrnnated as promptly as
practicable on the terms contemplated by the Transaction
Agreements and otherwise to minimize the effect of such
statute or regulation on the Offer, the Merger and the other
Transactions. Nothing in this Section 6.03 shall be deemed
to require any party to waive any substantial rights or
agree to any substantial limitation on its operations or to
dispose of ·,any significant asset or collection of assets.

          {b) The Company shall give prompt notice to
Conopco, and Conopco shall give prompt notice to the
Company, of {i) any representation or warranty made by it
contained in any Transaction Agreement that is qualified as
to materiality being untrue or inaccurate in any respect
when given or any such representation or warranty that is


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not so qualified being untrue or inaccurate in any material
respect when given or {ii) the failure by it to comply with
or satisfy in any material respect any covenant, condition
or agreement to be complied with or satisfied by it under
any Transaction Agreement; provided, however, that no such
notification shall affect the representations, warranties,
covenants or agreements of the parties or the conditions to
the obligations of the parties under the Transaction
Agreements.

          SECTION 6.04. Stock Options.   {a) As soon as
reasonably practicable following the date of this Agreement,
the Company Board {or, if appropriate, any corrnnittee
administering the Company Stock Plans) shall adopt
resolutions or take such other actions as may be required to
effect the following:

              {i) adjust the terms of all outstanding Company
        Stock Options, whether vested or unvested, as necessary
        to provide that each Company Stock Option {and any
        Company SAR related thereto) outstanding irrnnediately
        prior to the acceptance for payment of shares of
        Class A Corrnnon Stock pursuant to the Offer, including
        all vested and unvested Company Stock Options, shall be
        canceled effective irrnnediately prior to the acceptance
        for payment of Class A Corrnnon Stock pursuant to the
        Offer, with the holder thereof becoming entitled to
        receive an amount in cash equal to {A) the excess, if
        any, of (1) $43.60 over (2) the exercise price per
        share of the Class A Corrnnon Stock subject to such
        Company Stock Option or Company SAR, multiplied by
        {B) the number of shares of the Class A Corrnnon Stock
        for which such Company Stock Option shall not
        theretofore have been exercised; provided, however,
        that no cash payment shall be made with respect to any
        Company SAR that is related to any Company Stock Option
        in respect of which such a cash payment is made;
        provided, further, that all amounts payable pursuant to
        this Section 6.04{a) {i) shall be subject to any
        required withholding of Taxes or proof of eligibility
        of exemption therefrom and to receipt of the written
        consent of the holder thereof and shall be paid at or
        as soon as practicable following the acceptance for
        payment of shares of Class A Corrnnon Stock pursuant to
        the Offer, without interest; and

            {ii) make such other changes to the Company Stock
        Plans as the Company and Conopco may agree are
        appropriate to give effect to the Offer and the Merger.




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           {b} After the Effective Time, the Surviving
 Corporation shall establish an appropriate long-term
 incentive plan to properly incentivise its employees.

           SECTION 6.05. Benefit Plans and Special Bonus
 Program.   {a} Except as set forth in Section 6.04 and this
 Section 6.05, Conopco agrees that after the consummation of
 the Offer the Company shall honor, and, on and after the
 Effective Time, Conopco shall cause the Surviving
 Corporation to honor, all employment, severance,
 termination, consulting and retirement agreements to which
 the Company or any Company Subsidiary is presently a party
 and which have been disclosed in the Company Disclosure
 Letter, including all "constructive termination" provisions
 therein.  Conopco confirms that, for purposes of such
 agreements, the acceptance for payment, and purchase, of the
 Company Common Stock pursuant to the Offer shall constitute
'a "change in control".

            {b} Except as set forth in Sections 6.04 and
 6.0S{c}, the Surviving Corporation shall maintain for a
 period of five years after the Effective Time the Company
 Benefit Plans {other than equity or equity-based programs},
 except to the extent provided in Section 6.04, in effect on
 the date of this Agreement or provide benefits to each
 current employee of the Company and the Company Subsidiaries
 that are not materially less favorable in the aggregate to
 such employees than those in effect on the date of this
 Agreement {other than equity or equity-based programs},
 except to the extent provided in Section 6.04.

             {c} As soon as practicable following the date of
  this Agreement, the Company Board {or, if appropriate, any
  committee administering the 1986 ESPP} shall take or cause
  to be taken such actions as may be necessary to provide that
   {i} no options shall be granted and no payroll deductions
  accepted after the earlier of June 30, 2000 or the date in
  which falls the Effective Time; {ii} if the Effective Time
  falls on a date prior to June 30, 2000, the exercise date in
  respect of the offering {option} period under the 1986 ESPP
  that commenced January 1, 2000 shall be accelerated, and all
  unexercised rights granted in respect of such offering
   {option} period shall be exercised immediately prior to the
''"Effective Time; {iii} all holding periods with -respect ·to
  shares under the ESPP shall be waived; and {iv} the 1986
  ESPP shall terminate as of the Effective Time.

           {d} Six months following the Effective Time,
 Conopco shall make available to the Surviving Corporation
 the sum of $5 million to be distributed on a per capita
 basis to the then full-time employees of the Company below


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the OCEO as a special bonus unless the Company Board
determines in its sole discretion that all or a portion of
such amount should be contributed to the Foundation (as
defined in Section 6.14} in which case the balance shall be
distributed on a per capita basis to the then full-time
employees of the Company below the OCEO and the amount not
so distributed shall be contributed to the Foundation.

          SECTION 6.06.  Indemnification.   (a} Conopco and
Sub agree that all rights to indemnification under the
Company Charter, the Company By-laws, the Company's
indemnification or other agreements or by Law for acts or
omissions occurring prior to the Effective Time now existing
in favor of the current or former directors or officers of
the Company and its subsidiaries (the "Indemnified Parties"}
as provided in their respective articles of incorporation,
by-laws or indemnification agreements shall survive the
Merger and shall continue in full force and effect in
accordance with their terms until the expiration of the
applicable statute of limitations (provided, that in the
event any claim or claims are asserted or made prior to the
expiration of all applicable statutes of limitation, all
rights to indemnification in respect of any such claim or
claims shall continue until disposition of any and all such
claims}, and Conopco shall cause the Surviving Corporation
to honor all such rights. Without limitation of the
foregoing, in the event any such Indemnified Party is or
becomes involved in any capacity in any action, proceeding
or investigation in connection with any matter, including
the transactions contemplated by this Agreement, occurring
prior to, and including, the Effective Time, Conopco shall,
or shall cause the Surviving Corporation to, pay as incurred
such Indemnified Party's reasonable legal and other expenses
(including the cost of any investigation and preparation}
incurred in connection therewith (subject to receipt by the
Surviving Corporation of an undertaking from such
Indemnified Party to repay advances if it is subsequently
determined that such Indemnified Party is not entitled to
indemnification}. Conopco shall pay all expenses, including
reasonable attorneys' fees, that may be incurred by any
Indemnified Party in successfully enforcing the indemnity
and other obligations provided for in this Section 6.06(a).

          (b}  Conopco shall cause to be ma±ntained for a
period of not less than six years from the Effective Time
the Company's current directors' and officers' insurance and
indemnification policies to the extent that they provide
coverage for events occurring prior to the Effective Time
(the "D&O Insurance"} for all persons who are directors and
officers of the Company on the date of this Agreement, so
long as the annual premium therefor would not be in excess


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of 200% of the last annual premiums paid prior to the date
of this Agreement (such 200% amount, the 11 Maximum Premium"}.
If the existing D&O Insurance expires, is terminated or
canceled during such six-year period, Conopco shall use all
reasonable efforts to cause to be obtained as much D&O
Insurance as can be obtained for the remainder of such
period for an annualized premium not in excess of the
Maximum Premium, on terms and conditions no less
advantageous than the existing D&O Insurance. The Company
represents to Conopco that the Maximum Premium is $228,000.

          SECTION 6.07. Fees and Expenses; Liquidated
Damages.   (a} Except as provided below, all fees and
expenses incurred in connection with the Merger shall be
paid by the party incurring such fees or expenses, whether
or not the Merger is consummated.

            (b}  The Company shall pay to Conopco a fee of
$11.4 million if:     (i} this Agreement is terminated pursuant
to Section 8.01(b} (iii} as a result of the failure of the
condition set forth in paragraph (d} of Section 7.01;
 (ii} Conopco terminates this Agreement pursuant to
Section 8.01(d} or the Company terminates this Agreement
pursuant to Section 8.01(e}; (iii} after the date of this
Agreement any person makes or consurrnnates a Company Takeover
Proposal or amends a Company Takeover Proposal made prior to
the date of this Agreement, and (A} the Offer remains open
for at least five business days following the first public
announcement of the making, consummation or amendment, as
the case may be, of such Company Takeover Proposal, (B} the
Minimum Tender Condition is not satisfied at such expiration
date and (C} this Agreement is terminated pursuant to
Section 8.01(b} (iii}; or (iv} this Agreement is terminated
 (other than termination pursuant to Section 8.01(b} (iv} or
8.01(f}} and within 12 months of such termination the
Company enters into a definitive agreement to consurrnnate, or
consurrnnates, the transactions contemplated by a Company
Takeover Proposal. Any fee due under this Section 6.07(b}
shall be paid by wire transfer of same-day funds on the date
of termination of this Agreement (except that in the case of
termination pursuant to clause (iv} above such payment shall
be made on the date of execution of such definitive
agreement or, if earlier, consummation of such
transactions}. Conopco shall only be entitled to one fee
under this Section 6.07(b}.

          (c} The parties acknowledge that Conopco's
damages in the event that this Agreement is breached by the
Company would be extremely costly and impractical to
calculate. Conopco and the Company have expressly
negotiated this provision, and have agreed that in light of


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the circumstances existing at the time of execution of this
Agreement, an amount equal to $11.9 million represents a
reasonable estimate of the harm likely to be suffered by
Conopco in the event this Agreement is terminated pursuant
to Section 8.01(c) or pursuant to Section 8.01(b) (iii) as a
result of the failure of a condition set forth in paragraph
 (e) or (f) of Section 7.01. Accordingly, in the event this
Agreement is terminated under such circumstances, Conopco
shall be entitled to receive $11.9 million from the Company
as its sole remedy and as liquidated damages.
          SECTION 6.08. Public Announcements. Each of
Conopco and Sub, on the one hand, and the Company, on the
other hand, shall consult with each other before issuing,
and provide each other the opportunity to review and comment
upon, any press release or other public statements with
respect to the Offer and the Merger and the other
Transactions and shall not issue any such press release or
make any such public statement prior to such consultation,
except as may be required, as determined by outside counsel,
by applicable Law, court process or by obligations pursuant
to any listing agreement with any national securities
exchange.
          SECTION 6.09. Transfer Taxes. All stock
transfer, real estate transfer, documentary, stamp,
recording and other similar Taxes (including interest,
penalties and additions to any such Taxes) ("Transfer
Taxes") incurred in connection with the Transactions shall
be paid by either Sub or the Surviving Corporation, and the
Company shall cooperate with Sub and Conopco in preparing,
executing and filing any Tax Returns with respect to such
Transfer Taxes.
          SECTION 6.10. Interim Directors. Promptly upon
the acceptance for payment of, and payment by Sub for, any
shares of Class A Common Stock pursuant to the Offer, Sub
shall be entitled to designate, for election by the Company
Board, such number of directors on the Company Board as will
give Sub, subject to compliance with Section 14(f) of the
Exchange Act and the VBCA, majority representation on the
Company Board; provided, however, that in the event that
Sub's designees are appointed or elected to the Company
Board, until the Effective Time the Company Board shall have
at least three directors who are Directors on the date of
this Agreement and who are not officers of the Company (the
"Independent Directors"); provided, further, that, in such
event, if the number of Independent Directors shall be
reduced below three for any reason whatsoever, any remaining
Independent Directors (or Independent Director, if there
shall be only one remaining) shall be entitled to designate


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persons to fill such vacancies who shall be deemed to be
Independent Directors for purposes of this Agreement or, if
no Independent Directors then remain, the other directors
shall designate three persons to fill such vacancies who are
not officers, shareholders or affiliates of the Company,
Conopco or Sub, and such persons shall be deemed to be
Independent Directors for purposes of this Agreement.
Subject to applicable Law, the Company shall take all action
requested by Conopco necessary to effect any such election,
including mailing to its shareholders the Information
Statement containing the information required by
Section 14(f) of the Exchange Act and Rule 14f-1 promulgated
thereunder, and the Company shall make such mailing with the
mailing of the Schedule 14D-9 (provided that Sub shall have
provided to the Company on a timely basis all information
required to be included in the Information Statement with
respect to Sub's designees).  In connection with the
foregoing, the Company shall promptly, at the option of Sub,
either increase the size of the Company Board or obtain the
resignation of such number of its current directors as is
necessary to enable Sub's designees to be elected or
appointed to the Company Board as provided above.

           SECTION 6.11.   Company Capital Stock.
 (a)  Innnediately following the consunnnation of the Offer,
the Company Board shall authorize the Company to redeem all
of the outstanding shares of Company Preferred Stock, at a
price per share that would have been received by a holder of
Company Preferred Stock if paid as Merger Consideration in
the Merger, prior to the record date for the Company
Shareholder Meeting and deliver to all holders of Company
Preferred Stock the notice of redemption required by the
Company Charter. The Company shall redeem all outstanding
shares of Company Preferred Stock prior to the Effective
Time.

           (b) Upon receipt of a Qualified Notice (as
defined below) from Conopco, and in accordance with the
Company Charter, the Company shall mail a notice to all the
holders of Class B Connnon Stock, which notice shall specify
that all outstanding shares of Class B Connnon Stock will be
automatically converted into shares of Class A Corrnnon Stock
effective ten days from the date of such mailing. The
Company shall not take anraction to rescind, revoke,
retrieve or otherwise impair the effectiveness of such
notice of conversion or prevent the automatic conversion of
the outstanding shares of Class B Connnon Stock. A
"Qualified Notice" shall mean a written notice that (i) is
delivered by Conopco to the Company not earlier than the
business day irrnnediately prior to the then scheduled
expiration date of the Offer and not later than 2 p.m.


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Eastern Time on the then scheduled expiration date of the
Offer and (ii} states that, as of the time of such notice,
Conopco has no reason to believe that any condition set
forth in Section 7.01 will not be satisfied at the then
scheduled expiration time of the Offer (assuming compliance
by the Company with this Section 6.11(b}}.

          SECTION 6.12. Rights Agreements; Consequences if
Rights Triggered. The Company Board shall take all further
action (in addition to that referred to in Section 3.05(c}}
requested in writing by Conopco in order to render the
Company Rights inapplicable to the Offer, the Merger and the
other Transactions. Except as approved in writing by
Conopco, the Company Board shall not (i} amend either of the
Company Rights Agreements, (ii} redeem the Company Rights or
(iii} take any action with respect to, or make any
determination under, the Company Rights Agreements.

          SECTION 6.13. Shareholder Litigation. After the
Closing Date, the Company shall give Conopco the opportunity
to participate in the defense or settlement of any
shareholder litigation against the Company or its directors
relating to any Transaction.

           SECTION 6.14. Operations of the Surviving
Corporation.    (a} The Company Board irrnnediately following
the Effective Time shall consist of: (i} the CEO; (ii} seven
members to be composed of (A} such members of the Company
Board (other than the current CEO and Ineligible Directors
 (as defined in Section 9.03}} as of the date hereof who wish
to continue or rejoin as members of the Company Board
following the Effective Time and (B} such other persons as
may be necessary to fill any vacancies in the seven members
as shall be designated for election by a majority of the
persons specified in clause (A} (the "Class I Directors 11 } ;
 (iii} two members (the "Class M Directors"} to be designated
by Meadowbrook Lane, Inc. ( "Meadowbrook 11 } ; and (iv} one
member (together with any alternate that Conopco may from
time to time designate, the "Class U Director"} to be
designated by Conopco. The size of the Company Board shall
be fixed at 11. Directors shall be elected for one year
terms (subject to earlier removal, death or resignation},
and a majority of directors then in office in each Class
shall designate the·candidates for election to the Company
Board in such Class each year, and Conopco shall cause the
election of such candidates and the CEO to the Company
Board. Vacancies on the Company Board shall be filled in a
like manner. Conopco, as sole shareholder of the Surviving
Corporation, shall remove any director of any Class at the
written request of at least a majority of the directors of
such Class then in office and shall not otherwise remove any


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member of the Company Board after the Effective Time, other
than a Class U Director or the CEO following termination of
his or her employment. No Ineligible Director shall be
permitted at any time to be elected to the Company Board.

          {b)  Immediately following the Effective Time, the
Surviving Corporation shall delegate authority to the CEO to
manage the affairs of the Company, substantially in the form
of Exhibit B, appropriately adjusted for inflation and other
relevant factors.  The Surviving Corporation, with the
consent of Conopco, shall review on an annual basis the
proper scope of such delegation and shall make a new
delegation to the CEO as of January 1 of each year. Within
the scope of the authority delegated by the Surviving
Corporation to the CEO, the CEO may act without obtaining
the prior approval of Conopco or the Company Board. The
Company Board shall not alter or challenge in any way the
scope of any delegation of authority by the Surviving
Corporation to the CEO.

           {c) Decisions with respect to the appointment,
compensation and removal of the CEO shall be made by Conopco
after good faith consultation with, and the participation in
discussions of, an advisory committee of the Company Board
{the "Appointment Committee") consisting of Ben Cohen
{"B.C. ") and Jerry Greenfield {"J.G. "); provided, however,
that, if from time to time one or both of B.C. or J.G. is
not a member of the Company Board, then a majority of the
Class I Directors then in office shall appoint one or two,
as the case may be, Class I Directors or Class M Directors
to the Appointment Committee.

           {d)  Subject to Sections 6.14{e) and 6.14{f),
which place primary responsibility for Social Mission
Priorities and the Essential Integrity of the Brand {each as
defined below) with the Company Board, the Surviving
Corporation shall be managed by the CEO in accordance with
an annual business plan. Each year the CEO shall present a
business plan for the following year to Conopco and the
Company Board. Conopco and the Company Board, in good faith
consultation with each other, shall review the proposal and
Conopco, the Company Board and the CEO shall use good faith
efforts to reach agreement on the annual business plan. If
such parties are·- unable to reach agreement on the annual
business plan, the ultimate determination of such plan shall
be by Conopco. The annual business plan may be modified
following the principles set out in the previous two
sentences.

          {e) The Company Board shall have primary
responsibility for preserving and enhancing the objectives


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of the historical social mission of the Company as they may
evolve from time to time consistent therewith ("Social
Mission Priorities"). The Company Board shall work together
with the CEO to integrate Social Mission Priorities into the
business of the Surviving Corporation. The Company Board
shall have a corrnnittee (the "Social Venture Corrnnittee") that
shall oversee the Social Venture Fund (as defined below)
consisting of one Class M Director, appointed by a majority
of the Class M Directors then in office, and B.C., or, if
B.C. is not a member of the Company Board, J.G., or, if
neither B.C. nor J.G. is a member of the Company Board, a
Class I Director appointed by a majority of the Class I
Directors. Schedule 6.14 contains an illustrative list of
Social Mission Priorities of the Company as of the date
hereof.

           (f) The Company Board shall be the custodians of
the Ben & Jerry•s~brand image and shall have primary
responsibility for safeguarding the integrity of the
essential elements of the Ben & Jerry's brand-name (the
"Essential Integrity of the Brand"). The Company Board
shall work together with the CEO to provide that the
business of the Surviving Corporation is conducted in a
manner that preserves and enhances the Essential Integrity
of the Brand. As part of this responsibility, the Company
Board may prevent any action by the CEO in the areas of new
product introduction, the changing of product standards and
specifications, the approval of the content of marketing
materials and the licensing or other use of the Ben &
Jerry's trademark that, in each case, a majority of the
Company Board reasonably determines to be inconsistent with
the Essential Integrity of the Brand.

           (g) The Company and Conopco shall work together
to develop and mutually agree to a set of measures of the
social performance of the Surviving Corporation ("Social
Metrics"). The Surviving Corporation, under the direction
of the Company Board, shall seek to have the Social Metrics
of the Surviving Corporation increase at a rate in excess of
the rate of sales increases of the Surviving Corporation.

           (h)  The Surviving Corporation shall continue the
Company's practice of making charitable contributions by
making cont·ributions, for a minimum of ten years, of
$1.1 million per year adjusted annually (i) by multiplying
such amount by the ratio of the U.S. Producer Price Index
for the month of December of the year in which the
determination is made to the U.S. Producer Price Index for
December 1999 and (ii) by multiplying the product of such
calculation by the ratio of the equivalent gallon sales of
Products bearing the Principal Licensed Mark (each as


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defined in the License Agreement) sold by any person in such
year to the equivalent gallon sales of Products sold in
1999; provided, however, that such ratio shall never be less
than one. To the extent that a material portion of the
Company's business consists of activities other than the
manufacture and sale of Products, Conopco and the Surviving
Corporation shall agree on an appropriate equivalent measure
of sales volume for clause {ii) with respect to such
non-Product activities. The Company Board shall have the
responsibility for allocating annual contributions among The
Ben & Jerry's Foundation, Inc. {the "Foundation"), local
corrnnunity charitable initiatives with the support and
oversight of employee Corrnnunity Action Teams and charitable
institutions selected by the OCEO. The Company Board may
allocate a portion of such contributions to the Foundation
so long as {i) the Foundation does not significantly change
its charitable purpose, {ii) none of the trustees of the
Foundation disparages the Surviving Corporation, its -
products or its management and {iii) any replacement or
additional trustee of the Foundation is reasonably
satisfactory to Conopco. After such ten year period, the
Surviving Corporation shall continue to make contributions
as calculated in accordance with the first sentence of this
Section 6.14{h) unless the activities and performance of the
Foundation cease to be reasonably acceptable to Unilever,
and provided that the Foundation meets the other
requirements set out in the previous sentence. The Company
Board shall also be responsible for making the determination
referred to in Section 6.0S{d).

          {i)  Conopco shall not prevent the Surviving
Corporation from fulfilling its obligations under this
Section 6.14.

          {j)  Conopco shall have primary responsibility for
the financial and operational aspects of the Surviving
Corporation and the other aspects of the Surviving
Corporation not allocated to the Company Board pursuant to
this Section 6.14. Each member of the Company Board after
the Effective Time and all employees of the Surviving
Corporation shall agree to abide by the Unilever Code of
Business Conduct, and all employees of the Surviving
Corporation shall agree to abide by Unilever's financial,
accounting and legal procedures.

          {k)  Following the Effective Time, the Surviving
Corporation shall establish a new product development unit
responsible for special projects to be headed by B.C., for
so long as B.C. is a member of the Company Board and an
employee of the Surviving Corporation. The role of such
unit shall include the test-marketing of new products to a


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reasonable extent, provided that such test-marketing is
performed in conjunction with the Surviving Corporation's
marketing department to ensure that proper measures are
utilized to determine the success or failure of such
test-marketing.

          (1)  The parties agree that the Company Charter
and the Company By-laws shall be amended after the Effective
Time to the extent necessary to implement the provisions
contained in this Section 6.14, including if necessary the
Surviving Corporation electing to become a close corporation
in accordance with the provisions of the VBCA.

             SECTION 6.15. The Foundation.   Innnediately prior
   to the Effective Time, the Surviving Corporation shall, and
   Conopco shall cause the Surviving Corporation to, make a
   one-time contribution of not less than $5 million to the
,. Foundation so long as (i) the Foundation does not
   significantly change its charitable purpose, (ii) none of
   the trustees of the Foundation disparages the Surviving
   Corporation, its products or its management and {iii) any
   replacement or additional trustee of the Foundation
   appointed before the date of payment is reasonably
   satisfactory to Conopco.

          SECTION 6.16. Certain Employee Matters.    (a)  The
Surviving Corporation shall not, for a period of at least
two years following the Effective Time, initiate any
material headcount reduction of the employees of the
Company, such headcount to be measured on a seasonal basis
taking into account past employment practice by the Company.

          (b)  The Surviving Corporation shall maintain for
a period of at least five years following the Effective Time
its corporate presence and substantial operations in
Vermont.

          (c)  The Surviving Corporation shall maintain the
Company's current "liveable wage" policy in respect of
employees of the Surviving Corporation.

          (d)  Following the Effective Time, a significant
amount of the incentive-based compensation of the OCEO shall
be based on the social performance of the Surviving
Corporation, and the Company Board shall be primarily
responsible for the award of such social performance based
amounts.

          SECTION 6.17. Social Milestones. Following the
Effective Time, Conopco shall cause the Parents to, and the
Company shall, appoint John Elkington (or such other person


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as the parties may agree from time to time) {the "Social
Advisor") to work with the Parents and the Company to
develop a program of social milestones for the assessment of
the Parents' efforts to incorporate socially responsible
practices into their businesses, based on the Parents•
social audit to be completed in the year 2000 {the "Parents
Social Audit"), which will set out five-year performance
goals with interim annual targets {the "Social Milestones"),
each of the Social Milestones to be agreed between the
Parents and the Company. The Social Advisor shall carry out
an annual audit of the Parents' performance in relation to
the Social Milestones, such audit to be publicly
disseminated to the extent consistent with the dissemination
of the Parents Social Audit, or, if the Parents Social Audit
is not publicly disseminated, on a time frame and in a
manner reasonably acceptable to the Parents and the Company
Board, which manner shall include publication on the
Parents• website. The reasonable fees of John Elkington
shall be borne by Conopco or its affiliates.

          SECTION 6.18. The Social Venture Fund. Following
the Effective Time, the Surviving Corporation shall
establish a fund {the "Social Venture Fund"), to be
administered by the Social Venture Committee, to provide
venture financing to {a) vendors owned by women, minorities
or indigenous people, {b) vendors which give priority to a
social change mission, and {c) such other third-party
entrepreneurial businesses within the scope of the Company's
Social Mission Priorities. The Surviving Corporation shall
fund such entity pursuant to an agreement to be made between
the Surviving Corporation and the Social Venture Fund after
the Effective Time on such terms and conditions as they and
the Social Venture Committee shall approve. The Surviving
Corporation shall make available to the Social Venture Fund
an aggregate amount of $5 million. The terms of all venture
financings approved by the Social Venture Committee to be
made by the Social Venture Fund shall limit the financial
responsibility of the Surviving Corporation in the aggregate
to the foregoing cash contribution.


                         ARTICLE VII


          SECTION 7.01. Conditions to the Offer.
Notwithstanding any other term of the Offer or this
Agreement, Sub shall not be required to accept for payment
or, subject to any applicable rules and regulations of the
SEC, including Rule 14e-l{c) under the Exchange Act
{relating to Sub 1 s obligation to pay for or return tendered
shares of Company Common Stock promptly after the


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tennination or withdrawal of the Offer), to pay for any
shares of Company Common Stock tendered pursuant to the
Offer unless (i) there shall have been validly tendered and
not withdrawn prior to the expiration of the Offer such
number of shares of Company Common Stock that, taking into
account the conversion of the Class B Common Stock to
Class A Corrnnon Stock, would constitute a majority of the
combined voting power of the Company Common Stock
 (detennined on a fully diluted basis, after giving effect to
the exercise or conversion of all options, rights and
securities exercisable or convertible into voting
securities) (the "Minimum Tender Condition"), (ii) the
waiting period (and any extension thereof) under the HSR Act
applicable to the purchase of shares of Company Common Stock
pursuant to the Offer shall have expired or been tenninated
and (iii) the Company shall have mailed the notice of
conversion described in Section 6.ll(b) to all holders of
Class B Common Stock following receipt of the notice
specified in Section 6.ll(b) and shall not have taken any
action in violation of Section 6.ll(b). Furthennore,
notwithstanding any other tenn of the Offer or this
Agreement, Sub shall not be required to accept for payment
or, subject as aforesaid, to pay for any shares of Company
Corrnnon Stock not theretofore accepted for payment or paid
for, and may tenninate or amend the Offer, with the consent
of the Company, or if, at any time on or after the date of
this Agreement and before the acceptance of such shares for
payment or the payment therefor, any of the following
conditions exists:

              (a) there shall be threatened by any Governmental
        Entity, or there shall be initiated or pending any
        suit, action, proceeding, application or counterclaims
        by any Governmental Entity or any other person, or
        before any court or governmental authority, agency or
        tribunal, domestic or foreign in each case that has a
        reasonable likelihood of success, (i) challenging the
        acquisition by Conopco or Sub of any Class A Corrnnon
        Stock, seeking to restrain or prohibit the making or
        consummation of the Offer or the Merger or any other
        Transaction, or seeking to obtain from the Company,
        Conopco or Sub any damages that are material in
        relation to the Company and its subsidiaries taken as
        whole, (ii) seeking to prohibit or limit the ownership
        or operation by the Company, Conopco or any of their
        respective subsidiaries of any material portion of the
        business or assets of the Company, Conopco or any of
        their respective subsidiaries, or to compel the
        Company, Conopco or any of their respective
        subsidiaries to dispose of or hold separate any
        material portion of the business or assets of the


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        Company, Conopco or any of their respective
        subsidiaries, as a result of the Offer, the Merger or
        any other Transaction, (iii) seeking to impose
        limitations on the ability of Conopco or Sub to acquire
        or hold, or exercise full rights of ownership of, any
        shares of Company Corrnnon Stock, including the right to
        vote the Company Corrnnon Stock purchased by it on all
        matters properly presented to the shareholders of the
        Company, (iv) seeking to prohibit or limit Conopco or
        any of its subsidiaries from effectively controlling in
        any material respect the business or operations of the
        Company and the Company Subsidiaries, or (v) which
        otherwise, individually or in the aggregate, would
        reasonably be expected to have a Company Material
        Adverse Effect;

              (b) any Law shall be threatened, proposed, sought,
        or any Law or Judgment shall be enacted, entered,
        enforced, promulgated, amended or issued with respect
        to, or deemed applicable to, or any Consent withheld
        with respect to (i) Conopco, the Company or any of
        their respective s_ubsidiaries or (ii) the Offer, the
        Merger or any other Transaction, by any Governmental
        Entity that would reasonably be expected to result
        directly or indirectly, in any of the consequences
        referred to in paragraph (a) above;

              (c) since the date of this Agreement, there shall
        have occurred (i) any material damage to any material
        property in which the Company or any Company Subsidiary
        has any interest, (ii) any suit, action or proceeding
        threatened against or affecting the Company or any
        Company Subsidiary or any significant development in
        any existing suit, action or proceeding involving or
        affecting the Company or any Company Subsidiary,
        (iii) any challenge to the use by the Company of any
        material intellectual property rights used in its
        business at the date hereof or (iv) any event, change,
        effect or development adversely affecting the integrity
        of the trademarks or trade names under which the
        Company conducts its business, that, in any case under
        each of clause (i), (ii), (iii) and (iv), individually
        or in the aggregate, have had or would reasonably be
        expected to have, a Company-Material Adverse Effect;

             (d) (i) it shall have been publicly disclosed or
        Conopco shall have otherwise learned that beneficial
        ownership (determined for the purposes of this
        paragraph as set forth in Rule 13d-3 promulgated under
        the Exchange Act) of more than 50% of the outstanding
        shares of the Company Corrnnon Stock has been acquired by


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        another person or (ii) the Company Board or any
        committee thereof shall have withdrawn or modified in a
        manner adverse to Conopco or Sub, its approval or
        recommendation of this Agreement, the Offer or the
        Merger, failed to recommend to the Company's
        shareholders that they accept the Offer and give the
        Company Shareholder Approval or approved or recommended
        any Company Takeover Proposal;

              (e) (i) any representation and warranty of the
        Company in this Agreement that is qualified as to
        Company Material Adverse Effect shall not be true and
        correct as of the date of this Agreement, except to the
        extent such representation and warranty expressly
        relates to an earlier date (in which case on and as of
        such earlier date), and (ii) the representations and
        warranties of the Company that are not so qualified as
        to Company Material Adverse Effect shall not be true or
        correct in all respects as of the date of this
        Agreement, except to the extent such representations
        and warranties expressly relate to an earlier date (in
        which case on and as of such earlier date), unless the
        failure of all such representations and warranties in
        this clause (ii) to be true and correct in aggregate,
        has had or would reasonably be expected to have a
        Company Material Adverse Effect;

             (f) the Company shall have failed to perform in
        any material respect any obligation or to comply in any
        material respect with any agreement or covenant of the
        Company to be performed or complied with by it under
        this Agreement; or

              (g) this Agreement shall have been terminated in
        accordance with its terms;

which, in any such case, and regardless of the circumstances
giving rise to any such condition (including any action or
inaction by Conopco or any of its affiliates), makes it
inadvisable, in the sole judgment of Sub or Conopco, to
proceed with such acceptance for payment or payment.

          The foregoing conditions are for the sole benefit
of Sub and Conopco and, subj·ect to Section 1. 01 (a), may be
asserted by Sub or Conopco regardless of the circumstances
giving rise to such conditions or may be waived by Sub and
Conopco in whole or in part at any time and from time to
time in their sole discretion. The failure by Conopco, Sub
or any other affiliate of Conopco at any time to exercise
any of the foregoing rights shall not be deemed a waiver of
any such right, the waiver of any such right with respect to


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particular facts and circumstances shall not be deemed a
waiver with respect to any other facts and circumstances and
each such right shall be deemed an ongoing right that may be
asserted at any time and from time to time.

          SECTION 7.02. Conditions to the Merger. The
respective obligation of each party to effect the Merger is
subject to the satisfaction or waiver on or prior to the
Closing Date of the following conditions:

           (a) Shareholder Approval. The Company shall have
obtained the Company Shareholder Approval.

           (b) Antitrust. The waiting period (and any
extension thereof) applicable to the Merger under the HSR
Act shall have been terminated or shall have expired.

            (c) No Injunctions or Restraints. No temporary
restraining order, preliminary or permanent injunction or
other order issued by any court of competent jurisdiction or
other legal restraint or prohibition preventing the
consurrnnation of the Merger shall be in effect; provided,
however, that prior to asserting this condition each of the
parties shall have used its best efforts to prevent the
entry of any such injunction or other order and to appeal as
promptly as possible any such injunction or other order that
may be entered.


                               ARTICLE VIII

                     Termination, Amendment and Waiver

          SECTION 8.01. Termination. This Agreement may be
terminated at any time prior to the Effective Time, whether
before or after receipt of Company Shareholder Approval:

             (a) by mutual written consent of Conopco, Sub and
        the Company;

                 (b) by either Conopco or the Company:

                      (i) if the Merger is not consurrnnated on or
                before Sept'ember 30, 2000, unless the failure to
                consurrnnate the Merger is the result of a material
                breach of any Transaction Agreement by the party
                seeking to terminate this Agreement; provided,
                however, that (A) the passage of such period shall
                be tolled for any part thereof during which any
                party shall be subject to a nonfinal order,
                decree, ruling or action restraining, enjoining or


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                 otherwise prohibiting the consummation of the
                 Merger, (B) this Agreement may not be terminated
                 pursuant to this clause (i) after Sub accepts
                 shares of Company Common Stock for payment
                 pursuant to the Offer and (C) such September 30,
                 2000 date may be extended to a date not later than
                 November 30, 2000, by Conopco or the Company prior
                 to termination of this Agreement, by notice in
                 writing to the other, if on September 30, 2000,
                 the Offer has not been consummated because of the
                 failure of the condition in clause (ii) of the
                 lead-in paragraph in Section 7.01 or the condition
                 in paragraph (a) in Section 7.01;

                      (ii) if any Governmental Entity issues an
                 order, decree or ruling or takes any other action
                 permanently enjoining, restraining or otherwise
                 prohibiting the Offer or the Merger and such
                 order, decree, ruling or other action shall have
                 become final and nonappealable;

                    (iii) if as the result of the failure of any of
                 the conditions set forth in Section 7.01 to this
                 Agreement, the Offer shall have terminated or
                 expired in accordance with its terms without
                 Conopco having purchased any shares of Company
                 Common Stock pursuant to the Offer; or

                      (iv) if, upon a vote at a duly held meeting to
                 obtain the Company Shareholder Approval, the
                 Company Shareholder Approval is not obtained;
                 provided, however, that Conopco may not terminate
                 this Agreement under this Section 8.01(b) (iv) if
                 the Company Common Stock owned by Sub, Conopco or
                 any affiliate of Conopco shall not have been voted
                 in favor of obtaining the Company Shareholder
                 Approval;

              (c) by Conopco, if the Company breaches or fails
        to perform in any material respect any of its
        representations, warranties or covenants contained in
        any Transaction Agreement, which breach or failure to
        perform (i) would give rise to the failure of a
        condition set forth in Section 7. 01, and (ii) has not         •,.-
        been cured within 30 days after the giving of written
        notice to the Company of such breach (provided that
        Conopco is not then in wilful and material breach of
        any representation, warranty or covenant contained in
        any Transaction Agreement);




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                     (d) by Conopco:

                        (i) if the Company Board or any corrnnittee
                 thereof withdraws or modifies, or publicly
                 proposes to withdraw or modify, in a manner
                 adverse to Conopco, its approval or recorrnnendation
                 of this Agreement, the Offer or the Merger, fails
                 to recorrnnend to the Company's shareholders that
                 they accept the Offer and give the Company
                 Shareholder Approval or approves or recorrnnends, or
                 publicly proposes to approve or recorrnnend, any
                 Company Takeover Proposal; provided, however, that
                 any public statement by the Company that (A) it
                 has received a Company Takeover Proposal, (B) it
                 has given Conopco the notice required by
                 Section 5.02(b) in connection with the withdrawal
                 of its recorrnnendation or (C) otherwise only
                 describes the technical operation of
                 Sections 5.02, 6.07 and 7.0l(d) (ii) and this
                 Section 8.01 shall not be deemed to be a public
                 proposal to withdraw or modify the Company Board's
                 recorrnnendation for the purposes of this clause (i)
                 or Section 7. 01 (d) (ii) ; or

                       (ii) if the Company or any of its officers,
                 directors, employees, representatives or agents
                 takes any of the actions that are proscribed by
                 Section 5.02;

              (e) by the Company if the Company Board withdraws
        its recorrnnendation of the Offer in accordance with
        Section 5.02(b); and

              (f) by the Company, if Conopco breaches or fails
        to perform in any material respect any of its
        representations, warranties or covenants contained in
        any Transaction Agreement, which breach or failure to
        perform cannot be or has not been cured within 30 days
        after the giving of written notice to Conopco of such
        breach (provided that the Company is not then in wilful
        and material breach of any representation, warranty or
        covenant contained in any Transaction Agreement).

          SECTION 8.02. Effect of Termination.   In the
event of termination of this Agreement by either the Company
or Conopco as provided in Section 8.01, this Agreement shall
forthwith become void and have no effect, without any
liability or obligation on the part of Conopco, Sub or the
Company, other than Section 3.21, Section 4.06,
Section 6.02(c), Section 6.07, this Section 8.02 and
Article IX, which provisions shall survive such termination,


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and except to the extent that such termination results from
the wilful and material breach by a party of any representa-
tion, warranty or covenant set forth in any Transaction
Agreement.

          SECTION 8.03. Amendment. This Agreement may be
amended by the parties at any time before or after receipt
of the Company Shareholder Approval; provided, however, that
after receipt of the Company Shareholder Approval, there
shall be made no amendment that by Law requires further
approval by the shareholders of the Company without the
further approval of such shareholders. This Agreement may
not be amended except by an instrument in writing signed on
behalf of each of the parties and, where any amendment
relates to a provision of this Agreement in respect of which
any third party beneficiary is entitled to an enforcement
right pursuant to Section 9.07, an instrument in writing
must be signed by the person entitled to such enforcement
right.

           SECTION 8.04. Extension; Waiver. At any time
prior to the Effective Time, the parties may (a) extend the
time for the performance of any of the obligations or other
acts of the other parties, (b) waive any inaccuracies in the
representations and warranties contained in this Agreement
or in any document delivered pursuant to this Agreement or
 (c) subject to the proviso of Section 8.03, waive compliance
with any of the agreements or conditions contained in this
Agreement. Any agreement on the part of a party to any such
extension or waiver shall be valid only if set forth in an
instrument in writing signed on behalf of such party and,
where any waiver relates to a provision of this Agreement in
respect of which any third party beneficiary is entitled to
an enforcement right pursuant to Section 9.07, an instrument
in writing must be signed by the person entitled to such
enforcement right. The failure of any party to this
Agreement to assert any of its rights under this Agreement
or otherwise shall not constitute a waiver of such rights.

           SECTION 8.05. Procedure for Termination, Amend-
ment, Extension or Waiver. A termination of this Agreement
pursuant to Section 8.01, an amendment of this Agreement
pursuant to Section 8.03 or an extension or waiver pursuant
to Section 8.04 shall, in order to be effective, requi-re
 (a) in the case of Conopco, Sub or the Company, action by
its Board of Directors or the duly authorized designee of
its Board of Directors and (b) in the case of the Company,
action by a majority of the members of the Company Board who
were members thereof on the date of this Agreement and
remain as such hereafter or the duly authorized designee of
such members; provided, however, that in the event that


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Sub's designees are appointed or elected to the Company
Board as provided in Section 6.10, after the acceptance for
payment of Company Corrnnon Stock pursuant to the Offer and
prior to the Effective Time, the affirmative vote of the
majority of the Independent Directors, in lieu of the vote
required pursuant to clause (a) above, shall be required by
the Company to (i) amend or terminate this Agreement,
(ii) exercise or waive any of the Company's rights or
remedies under this Agreement or (iii) extend the time for
performance of Conopco's or Sub's respective obligations
under this Agreement.


                               ARTICLE IX

                           General Provisions

          SECTION 9.01. Nonsurvival of Representations and
Warranties. None of the representations and warranties in
this Agreement or in any instrument delivered pursuant to
this Agreement shall survive the Effective Time. This
Section 9.01 shall not limit any covenant or agreement of
the parties which by its terms contemplates performance
after the Effective Time.

          SECTION 9.02. Notices. All notices, requests,
claims, demands and other corrnnunications under this Agree-
ment shall be in writing and shall be deemed given upon
receipt by the parties at the following addresses (or at
such other address for a party as shall be specified by like
notice):

                 (a) if to Conopco or Sub, to

                     Conopco, Inc.
                     390 Park Avenue, 21st Floor
                     New York, NY 10022
                     Attention: Ronald Soiefer
                     Facsimile:   (212) 688-3411

                     with a copy to:

                     Cravath, Swaine & Moore
                     Worldwide Plaza
                     825 Eighth Avenue
                     New York, NY 10019
                     Attention: Richard Hall
                     Facsimile:  (212) 474-3700




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                     {b) if to the Company, to

                         Ben & Jerry's Homemade, Inc.
                         30 Community Drive
                         South Burlington, VT 05403
                         Attention:  Chief Executive Officer
                         Facsimile {508) 230-5579


                         with a copy to:

                         Ropes & Gray
                         One International Place
                         Boston, MA 02110
                         Attention: Howard K. Fuguet
                         Facsimile:   {617) 951-7050

                         and:

                         Skadden, Arps, Slate, Meagher & Flom LLP
                         Four Times Square
                         New York, New York 10036
                         Attention: Randall H. Doud
                         Facsimile: {917) 777-2524

                 SECTION 9.03.     Definitions.   For purposes of this
Agreement:

          "affiliate" and "associate", when used with
reference to any person, shall have the respective meanings
ascribed to such terms in Rule 12b-2 of the Exchange Act, as
in effect on the date of this Agreement.  In the case of
Conopco, "affiliate" shall include, without limitation,
either Parent, and any entity a majority of the voting
control of which is owned, directly or indirectly, by either
Parent or both of them together.

          A "material adverse effect" means, when used in
connection with the Company or Conopco, any change or effect
that is materially adverse to the business, properties,
assets, condition {financial or otherwise), or results of
operations of such party and its subsidiaries, taken as a
whole, except {in the case of the Company) as expressly set
forth in the Company Disclosure Letter.

          An "Ineligible Director" means any member of the
Company Board at the date hereof who {a) fails to tender his
or her shares of Company Common Stock pursuant to the Offer,
{b) makes any public statement disparaging either Parent,
Conopco, the Company, any Transaction Agreement or any
Transaction, {c) takes any action that, but for


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Section 9.11, would constitute a breach of this Agreement by
the Company or (d} takes any other action which is intended
to cause any of the Transactions to fail to be completed.

          "Parent" means either of Unilever N.V. or Unilever
PLC and "Parents" shall mean both of them.

          A "person" means any individual, firm,
corporation, partnership, company, limited liability
company, trust, joint venture, association, Governmental
Entity or other entity.

          A "subsidiary" of any person means another person,
an amount of the voting securities, other voting ownership
or voting partnership interests of which is sufficient to
elect at least a majority of its Board of Directors or other
governing body (or, if there are no such voting interests,
50% or more of the equity interests of which} is owned
directly or indirectly by such first person.

          SECTION 9.04.  Interpretation; Disclosure Letters.
When a reference is made in this Agreement to a Section,
Exhibit or Schedule such reference shall be to a Section of
this Agreement unless otherwise indicated. The table of
contents and headings contained in this Agreement are for
reference purposes only and shall not affect in any way the
meaning or interpretation of this Agreement. Whenever the
words "include", "includes" or "including" are used in this
Agreement, they shall be deemed to be followed by the words
"without limitation". Any matter disclosed in any section
of the Company Disclosure Letter shall be deemed disclosed
only for the purposes of the specific Sections of this
Agreement to which such section relates.

          SECTION 9.05. Severability.   If any term or other
provision of this Agreement is invalid, illegal or incapable
of being enforced by any rule or Law, or public policy, all
other conditions and provisions of this Agreement shall
nevertheless remain in full force and effect so long as the
economic or legal substance of the transactions contemplated
hereby is not affected in any manner materially adverse to
any party. Upon such determination that any term or other
provision is invalid, illegal or incapable of being
enforced, the parties hereto shall negotiate in good faith
to modify this Agreement so as to effect the original intent
of the parties as closely as possible in an acceptable
manner to the end that transactions contemplated hereby are
fulfilled to the extent possible.

          SECTION 9.06. Counterparts. This Agreement may
be executed in one or more counterparts, all of which shall


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be considered one and the same agreement and shall become
effective when one or more counterparts have been signed by
each of the parties and delivered to the other parties.

           SECTION 9.07. Entire Agreement; No Third-Party
Beneficiaries. The Transaction Agreements, taken together
with the Company Disclosure Letter and the Conopco
Disclosure Letter, (a} constitute the entire agreement, and
supersede all prior agreements and understandings, both
written and oral, among the parties with respect to the
Transactions, and (b} except for the provisions of
Article II and Sections 6.04(a}, 6.05, 6.06, 6.15, 6.16 and
6.18 are not intended to confer upon any person other than
the parties any rights or remedies. The provisions of
Section 6.04(a} are enforceable by the holders of the
Company Stock Options. The provisions of Section 6.0S(a}
are enforceable by the parties to those agreements referred
to in Section 6.0S(a}.     The provisions of Sections 6.0S(b},
6.0S(c}, 6.0S(d}, 6.16 and 6.18 are enforceable by Henry
Morgan and Jeffrey Furman acting jointly. Conopco shall
reimburse the reasonable legal fees and expenses of Henry
Morgan and Jeff Furman in bringing any litigation, or taking
any other action, in good faith to enforce the third-party
beneficiary rights granted to them under this Section 9.07.
The provisions of Section 6.06 are enforceable by the
directors and officers referred to in Section 6.06. Until
such time as the Company Board is constituted in accordance
with Section 6.14(a}, the provisions of Section 6.14(a} are
enforceable by any individual who is a member of the Company
Board at the date of this Agreement. Thereafter, (i} the
provisions of Section 6.14(a} relating to the removal of
directors may be enforced by any individual who was a member
of the Company Board irrnnediately prior to the alleged breach
of Section 6.14(a} and (ii} the provisions of Section
6.14(a} relating to the appointment of a director may be
enforced by any individual who was a member of the Company
Board irrnnediately prior to the alleged breach of Section
6.14(a} or by any individual nominated for appointment in
accordance with the provisions of Section 6.14(a} but not so
appointed by the Surviving Corporation. The provisions of
Section 6.15 are enforceable by the Foundation.

          SECTION 9.08. GOVERNING LAW. THIS AGREEMENT AND
ANY DISPUTE ARISING OUT OF OR RELATING TO THE TRANSACTIONS
CONTEMPLATED BY THIS AGREEMENT SHALL BE GOVERNED BY, AND
CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE STATE OF NEW
YORK, REGARDLESS OF THE LAWS THAT MIGHT OTHERWISE GOVERN
UNDER APPLICABLE PRINCIPLES OF CONFLICTS OF LAWS THEREOF,
EXCEPT TO THE EXTENT THE LAWS OF THE STATE OF VERMONT ARE
MANDATORILY APPLICABLE TO THE MERGER.



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          SECTION 9.09. Assignment. Neither this Agreement
nor any of the rights, interests or obligations under this
Agreement shall be assigned, in whole or in part, by opera-
tion of law or otherwise by any of the parties without the
prior written consent of the other parties except that Sub
may assign, in its sole discretion, any of or all its
rights, interests and obligations under this Agreement to
Conopco or to any direct or indirect wholly owned subsidiary
of Conopco, but no such assignment shall relieve Sub of any
of its obligations under this Agreement. Any purported
assignment without such consent shall be void. Subject to
the preceding sentences, this Agreement will be binding
upon, inure to the benefit of, and be enforceable by, the
parties and their respective successors and assigns.

           SECTION 9.10. Enforcement. The parties agree
that irreparable damage would occur in the event that any of
the provisions of any Transaction Agreement were not
performed in accordance with their specific terms or were
otherwise breached.   It is accordingly agreed that the
parties shall be entitled to an injunction or injunctions to
prevent breaches of any Transaction Agreement and to enforce
specifically the terms and provisions of each Transaction
Agreement in any New York state court or any Federal court
located in the State of New York, this being in addition to
any other remedy to which they are entitled at law or in
equity.  In addition, each of the parties hereto
{a) consents to submit itself to the personal jurisdiction
of any New York state court or any Federal court located in
the State of New York in the event any dispute arises out of
any Transaction Agreement or any Transaction, {b) agrees
that it will not attempt to deny or defeat such personal
jurisdiction by motion or other request for leave from any
such court, {c) agrees that it will not bring any action
relating to any Transaction Agreement or any Transaction in
any court other than any New York state court or any Federal
court sitting in the State of New York and {d) waives any
right to trial by jury with respect to any action related to
or arising out of any Transaction Agreement or any
Transaction.

          SECTION 9.11. Separate Parties. Each of the
parties to this Agreement acknowledges and agrees that each
party is responsible for 'it's· own performance of its
obligations hereunder and that no other party shall be
liable for a failure of another party to perform its
obligations. Without limiting the foregoing, it is
acknowledged by Conopco that no Ineligible Director is
acting as a representative of the Company in connection with
the Transaction Agreements or the Transactions and that any
action or failure to act on the part of any Ineligible


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Director shall not be deemed to be an act:.i.on or fa:llure to
act on the part of the Company, ~n~luding wider
Section 5. 0.2, 6. 07 or B. OJ., except to ehe extenf; that such
Ineligible Director's action or failure to ace ~s taken
under the instruction of, or with the cooperation o r the
concurrence of , t he Cowpany Board.

           lN WITNESS WHRREOP, Conopco, Suh and t he Company
have duly executed this Agreement, all ai; of thi::~ elate first
written above.

                           CONOP

                             by

                                        a rt La i us
                                        Vice Pre s i dent



                             by

                               Name: M t La i us
                               Title: Vi c e Preside n t

                           BKN & JBR.RY I s HamMADE. :INC. ,


                             by
                               Name:
                               Title:

          The undersigned, jointly entit1ed to enforce
Section 6.18 her eof, consent to the amendment t>f! suc h
section, as required by Section 8.03 hereot.




     Jeffrey Furman                           Henxy-Morgan




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Director shall not be deemed to be an action or failure to
act on the part of the Company, including under
Section 5.02, 6.07 or 8.01, except to the extent that such
Ineligible Director's action or failure to act is taken
under the instruction of, or with the cooperation or the
concurrence of, the Company Board.

          IN WITNESS WHEREOF, Conopco, Sub and the Company
have duly executed this Agreement, all as of the date first
wri tten above .

                                              CONOPCO, INC. ,
                                                by
                                                  Name:
                                                  Title:

                                              VERMONT ALL NATURAL EXPANSION
                                              COMPANY,
                                                by
                                                  Name:
                                                  Title:

                                              BEN & JERRY I s HOMEMADE, INC. ,
                                                           ~       /     7
                                                by   c2i:Q25¥
                                                  Name;
                                                  Title:        C E='o
          The undersigned, jointly entitled to enforce
Section 6.18 hereof, consent to the amendment of such
section, as required by Section 8.03 hereof.




        Jeffrey Funnan                                           Henry Morgan




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  s·e ct:ion s.02,. 6.07 or . 8, .0 1,· except to t~e extent that .such
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                                 ®NOPCOt INC .•


                                          Namet
                                          Title:

                                 VBRMQNT ALL NATOUL QPANSlON
                                 COMP.ANY,
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                                      •N._:.
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                                   by
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                                                        ' Henry Moi:gan


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Direa~or shall not be deemed to be an action or ra11ure to
act on the part of the Company, including Wlder
Section 5,02, 6.07 or 8.01, except to the extent that such
Ineligible Dire~tor's action or failure to act is taken
unde~ the instruction of, or with the cooperation or the
concurrence of, the Company Board.

          IN WI'I'NBSS HHBRBOP, Conopco, Sub ~nd the Company
have du1y executod this Agreement, all as of che date first
written above .

                         mNOPCO, INC. ,

                           by
                             Name:
                             Title:

                         WRMOl'IT ALL NATURAL gXPANSION
                         COMt>ANY,
                           by
                             Name:
                                Title:

                         B}3N & JElUlY' S HOMEMADE,   INC. ,


                           by

                                Name:
                                Title:

          The undersigned, jointly ent1tied to enforce
Section G.18 hereof, consent to the amendment of such
section, as required by Section 8.03 hereof .




     .Jeffrey Furman
                                                             EXHIBIT A




                         ARTICLES OF INCORPORATION

                                     OF

                           SURVIVING CORPORATION



                                 ARTICLE I

                 The name of the corporation (hereinafter called

the "Corporation"} is BEN & JERRY'S HOMEMADE, INC.



                                 ARTICLE II

                 The address of the Corporation's registered office

in the State of Vermont is 148 College Street, Burlington,

Vermont.         The name of the registered agent at such address

is The Corporation Trust Company.


                                ARTICLE III

                 The Corporation has the following Mission

Statement: We have a progressive, nonpartisan, social

mission that seeks to meet human needs and eliminate

injustices in our local, national and international

corrnnunities by integrating these concerns into our business

activities.          Our focus is on children and families, and the

environment.



•       The gap between the rich and the poor is wide.        We

        strive to create economic opportunities for those who

        have been denied them.



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•       Capitalism and the wealth it produces does not create

        opportunity for everyone equally.   We practice caring

        capitalism by integrating concern for the disadvantaged

        in our day-to-day business activities, and by advancing

        new models of economic justice that can become

        sustainable and replicable.


•       Manufacturing by definition creates waste.   We strive

        to minimize our negative impact on the environment.


•       The growing of food sometimes uses toxic chemicals.      We

        support socially and environmentally sustainable

        methods of food production and family farming.


The U.S. continues to spend significantly more on its

military each year than the combined spending on: child

health, welfare, education, nutrition, housing, job training

and environment.     We seek and support nonviolent ways to

achieve peace and justice.


We strive to manifest a deep respect for human beings inside

and outside our Corporation and for the communities of which

they live.




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                                ARTICLE IV

                 The total number of shares of all classes of stock

that the Corporation shall have authority to issue is

10,000,000 shares of Common Stock having the par value of

$0.01 per share.



                                ARTICLE V

                 The number of directors of the Corporation shall

be fixed from time to time by the Board of Directors of the

Corporation.

                                ARTICLE VI

                 In furtherance and not in limitation of the powers

conferred upon it by law, the Board of Directors of the

Corporation is expressly authorized to adopt, amend or

repeal the By-laws of the Corporation.



                               ARTICLE VII

                 Unless and except to the extent that the By-laws

of the Corporation so require, the election of directors of

the Corporation need not be by written ballot.



                              ARTICLE VIII

                 To the fullest extent from time to time permitted

by law, no director of the Corporation shall be personally

liable to any extent to the Corporation or its shareholders




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for monetary damages for breach of his fiduciary duty as a

director.


                                ARTICLE IX

                 Each person who is or was or had agreed to become

a director or officer of the Corporation, and each such

person who is or was serving or who had agreed to serve at

the request of the Corporation as a director, officer,

partner, member, employee or agent of another corporation,

partnership, limited liability company, joint venture, trust

or other enterprise (including the heirs, executor,

administrators or estate of such person}, shall be

indemnified by the Corporation to the fullest extent

permitted from time to time by applicable law.



                                ARTICLE X

                 The purpose of the Corporation is to engage in any

lawful act or activity for which corporations may be

organized under the Vermont Business Corporation Act.




[NYCorp;l097238.1]
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                      Form of Delegation of Authority

A.      Conopco and the Company Board retain authority with
        regard to the following matters, among others; as
        between Conopco and the Company Board the allocation of
        responsibility between them shall be as provided in
        Section 6.14:

        1.       Approval on an annual basis for the upcoming year
                 of:

                 a.   the Company's Strategic and Operating Plan to
                      include: Marketing, Sales and Social Mission
                 b.   the Financial Plan/Budget to include:
                      Statement of Income, Balance Sheet and
                      Statements of Cash Flows {including an
                      Operating Budget, Statement of Projected
                      Financial Positions, Balance Sheet and Flow
                      of Funds Forecasts}
                 c.   the Capital Expenditure Budget and Operating
                      Lease Budget
                 d.   the Company's draft and final audited
                      financial statements
                 e.   Trade Credit Policy: Conopco approval for
                      Trade Credit extended to any customer in
                      excess of $1 million

        2.       Selection of
                 a.   Corporate Counsel
                 b.   Independent Auditors

     2.1.        Approval of

                 a.   the principal Banking Institution{s} with
                      which the Company maintains deposit,
                      borrowing or other relationships
                 c.   any Investment Banking Institution
                 d.   Public Relations and Advertising Agencies
                 e.   Consultants with a contract value in excess
                      of $175,000 or to whom payments are expected
                      to exceed $175,000 in the aggregate
                 f.   any insurance agent, broker or similar party

        3.       Any transaction involving

                 a.   the sale or encumbrance of assets with a book
                      value over $100,000
                 b.   the sale of stock or assets of a subsidiary
                 c.   the acquisition of stock or assets of another
                      company

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                 d.   loans in excess of $30,000 made outside the
                      ordinary course of business not to exceed
                      $150,000 outstanding at any time
                 e.   a single purchase of Inventory in excess of
                      $5 million or any opening of Letters of
                      Credit in excess of $2 million (in the
                      aggregate of excess over and above $2 million
                      or singular opening of Letter of Credit above
                      $2 million)
                 f.   transactions with any parties related to any
                      officer of the Company
                 g.   the sale or purchase of the Company's capital
                      stock
                 h.   the declaration and payment of dividends
                 i.   the approval of any other contract (including
                      all real property leases, joint venture,
                      partnership or similar contracts with
                      vendors) with a value in excess of $250,000
                      per year with terms not to exceed five years
                      or any other non-ordinary course payment or
                      purchase orders (including the settlement of
                      litigation claims involving payments by the
                      Company) in excess of $250,000

        4.       Total compensation (including Bonuses) of any
                 employees at or above the level of Officer and/or
                 any other employees exceeding $200,000 annually.

        5.       Employment termination or appointments of any
                 employee with a base salary at or above $200,000.

        6.       Any change in employee benefit plans with an
                 annual aggregate cost increase in excess of
                 $300,000.

        7.       Any amendments of the By-laws of the Company.

        8.       Any amendment or alteration of the borrowing
                 authority of the Company or renegotiation,
                 prepayment of or amendment to any lending
                 arrangement.

        9.       Approval of authorized signatures and signing
                 authorities on all bank accounts for check
                 signing, money transfer authorities, etc.

        10.      The delegation of authority to individuals other
                 than officers ( ~ , buyers) of the Company to
                 execute contracts or other agreements on behalf of
                 the Company.



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        11.      Any amendment or new collective bargaining or
                 other labor agreements.

        12.      all matters not covered by the delegation in Band
                 any matters requiring, as a matter of law, a
                 specific vote of the Board of Directors in
                 addition to the votes establishing the below
                 delegation.

B.      The Surviving Corporation delegates to the Chief
        Executive Officer the authority to set upon the
        following matters with the required written concurrence
        of the Chief Financial Officer:

        1.       Capital Expenditures within the Capital Budget up
                 to $700,000 per project; provided, that the total
                 value of capital expenditures does not exceed the
                 amount authorized in the Budget.

        2.       Capital Expenditures not in the Capital Budget up
                 to $350,000 per project, but not over $750,000 in
                 the aggregate.  In no event will total capital
                 expenditures exceed the total value of capital
                 expenditures authorized in the Capital Budget.
        3.       Disposal or encumbrance of assets with a book or
                 fair market value of no more than $150,000 per
                 transaction.
        4.       Operating Leases within Operating Lease Budget up
                 to a total commitment of $500,000 per transaction.

        5.       Operating Leases not in Operating Lease Budget,
                 with a total commitment of $150,000 per year in
                 total commitment per lease with a term not to
                 exceed five years, but not over $450,000 annually
                 in the aggregate.
        6.       Administration of the details of the Company's
                 Compensation Program (applying its general
                 compensation philosophy as previously developed)
                 for all employees (other than those covered in A.3
                 above).

        7.       Administration of the Employees Benefit Program,
                 including approval of changes with an aggregate
                 annual cost up to $300,000.

        8.       a.   Execution of contracts within the ordinary
                      course with an individual value of up to



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                      $500,000 that do not require special approval
                      by A.3 above.

                 b.   Other non-ordinary payments in an amount up
                      to $150,000 that also do not require special
                      approval by A.3 above.

C.      Conopco and the Surviving Corporation will be provided
        with a comprehensive review of the following matters by
        the Chief Executive Officer, or other members of the
        management on a regular basis, or more often if issues
        create the need:
        1.       As soon as practical:

                 a.   Status of material tax matters as they arise.
                 b.   Status of material legal matters as they
                      arise.
                 c.   Any material change in vendor relations.
                 d.   Any material change in the operating or
                      financial performance of the Company.
                 e.   Any contact made by potential buyers who may
                      be interested in purchasing the Company
                      and/or its assets.
                 f.   Notices of default or acceleration under loan
                      agreements, notes or significant contract.
        2.       Monthly:

                 a.   Financial and operating results, including
                      managements analysis in writing
                 b.   Update/reconciliation of actual vs. budgeted
                      Capital expenditures.
        3.       Quarterly:

                 a.   Status of legal matters
                 b.   Competition update
                 c.   Information systems
                 d.   Report on all banking relationships
                 e.   Product Quality

        4.       Annually:

                 a.   Independent accountant management letters
                 b.   Other tax matters
                 c.   Officers salary, bonus and wages adjustment
                      recommendations
                 d.   Property/Casualty and employee benefit
                      insurance programs
                 e.   Advertising and Public Relations programs


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                 f.   Officer performance appraisals
                 g.   Union relationships




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                     Ben   &   Jerry's Social Mission Priorities


The following list contains certain Social Mission
Priorities of the Company as of the date hereof. Following
each priority is an example of the Company's current
activities and views.

1.      Continue packaging improvement efforts with the
        ultimate objective of achieving a compostable pint.

        Early in 1999 the Company launched the eco-pint. The
        Company has transitioned one-third of its pint
        packaging to "unbleached" kraft paper with a nontoxic
        coating on the outside. With paper bleaching being one
        of the largest causes of dioxins and toxic water
        pollution in the United States this initiative is a
        step in the right direction. The packaging, which is
        brown inside has been well received. The Company will
        continue to seek to create the economic and market
        conditions for suppliers to cost effectively produce
        this packaging. Efforts will also continue to research
        other technologies to achieve a fully compostable
        package ( ~ , starch based packaging, alterative glues
        and inks).

2.      Continue the ongoing compliance with CERES principles
        and efforts toward creation of a sustainability
        "footprint" for the business.

        The Company was the first public company to adopt the
        CERES principles ("Coalition for Environmentally
        Responsible Economies").  It has filed an annual,
        public environmental report with CERES. At the present
        time the Company is reviewing CERES compliance with our
        manufacturing operations in Canada and Israel.

        The Company is engaged in a process of documenting its
        environmental "footprint". Simply stated, this is a
        process of analyzing hat we take, what we make, and
        what we waste. We have a strong environmental ethic
        across the Company that will continue to be encouraged
        and supported. Specific and continual improvement
        goals in wastewater, solid waste and energy use
        reduction are a regular part of our annual planning
        process. We compost dairy waste, recycle shrink wrap
        and cardboard and recently initiated an innovative
        program with a few of our suppliers to receive
        ingredients in returnable totes.


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3.      Continue sustainable agriculture efforts.

        We define sustainable agriculture as a continuum of
        agricultural production practices that meet the
        objectives of reducing environmental degradation,
        maintaining the productivity of the land over time and
        promoting economic viability for the farm and rural
        corrnnunities.

        We have determined that as a food business, reliant on
        dairy farming, our priority must be to reduce adverse
        impacts on water from farm run-off.  Struck by the
        polar debate between outmoded, traditional farming
        methods on one end and organic farming on the other, we
        have launched an innovative project to provide greater
        sustainability gains at the farm level, especially
        through reduced phosphorous and nitrogen run-off,
        through a Whole Farm Nutrient Management Program. We --
        are using a model developed at Cornell University that
        has proven to yield both environmental and economic
        gains. Planning for a pilot project with the
        St. Albans Cooperative, Cornell University, the
        University of Vermont and the State Agriculture
        Department is underway.

4.      Continue the long-term relationship with the St. Albans
        Cooperative.

        All our milk and cream is provided by the 500+ family
        farm members of the St. Albans Cooperative. Vermont
        has been losing dairy farms at an alarming rate.
        Farming is a cornerstone of the Vermont economy. Many
        of the farms of the St. Albans Cooperative surround
        St. Albans Bay, an environmentally fragile part of Lake
        Champlain.

5.      Continue the brand's position of opposing the use of
        rBGH and continue the "We oppose rBGH" pledge and
        premium.

        The Company opposes the use of rBGH (recombinant bovine
        growth hormone) which is injected in cows to increase
        milk production. With no shortage in the milk supply,
        rBGH is in our view a biotechnological solution to a'
        problem that does not exist.  In addition, as the
        manufacturer's production information notes rBGH causes
        increased mastitis and other health problems for cows.

        When the FDA approved rBGH they allowed voluntary
        labeling but left the issue of a labeling standard and
        decision to the states. Our label says:   "We oppose


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        recombinant bovine growth hormone. The family farmers
        who supply our milk and cream pledge not to treat their
        cows with rBGH. The FDA has said no significant
        difference has been shown and no test can distinguish
        between milk from rBGH treated and untreated cows."
        Despite our use of the FDA disclaimer, four states
        refused our label (Illinois, Nevada, Hawaii and
        Oklahoma). Because we felt strongly that our customers
        had a right to know how our products are produced and
        because we were making a truthful statement on our
        label, we brought a First Amendment corrnnercial free
        speech lawsuit against the State of Illinois. This
        suit was eventually settled in our favor, and we have
        carried the above-noted label on our products since
        1997.

6.      Support the brand's position to have GMO free products
        available.

        We believe being GMO free is consistent with our brand
        image and values. We have been following the backlash
        against GMO food that is occurring around the world and
        view this as much as a political movement as a
        scientific one. We believe there should be more public
        input into GMO food policy issues, and impacts on
        ecosystems need to be more fully studied. We also
        recognize that biotechnology could be used to help feed
        desolate parts of the world. We are working on
        reformulating an alternative sourcing for potential GMO
        corn or soy ingredients in our products starting with
        products for international markets. Consistent with
        our activities around rBGH, we support labeling and
        consumers right to know how their food is produced.

7.      Continue to expand and support the Company's unique
        PartnerShop Program.

        We have eight existing PartnerShops. We intend to
        greatly expand this program under which Ben & Jerry's
        ScoopShops are owned and operated by nonprofits.    In
        general, the model works best with programs that serve
        youth. The most celebrated of our stores is the
        PartnerShop in Times Square.    It is owned and operated
        by Corrnnon Ground, a New York City nonprofit
        organization focused on housing and training for people
        without homes or needing support. The store played a
        role in the renovation of Times Square to a more family
        friendly neighborhood and has been featured on
        11 60 Minutes" and in numerous other media outlets.  In
        the PartnerShop Program the Company waives the



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        franchise fee and allocates more staffing and
        resources.

8.      Continuation of innovative purchasing relationships as
        well as consideration of further development of
        sourcing relationships consistent with our social
        mission and goals.

        We have used procurement and licensing agreements to
        further social and environmental goals. Since 1988,
        the Greyston Bakery in Yonkers, New York, has been a
        supplier of brownies. The bakery is owned by the
        Greyston Foundation, a provider of numerous social
        services in Yonkers, New York. These include housing
        for homeless people and for people with AIDS, day care
        and work programs. We are consulting with the bakery
        in the relocation and expansion of its operating
        facility and in developing additional customers for its
        products. Aztec Harvest Cooperative, a worker-owned
        cooperative, provides our coffee extract.  In
        conjunction with our vanilla supplier, the Virginia
        Dare Company, we use a blended vanilla extract that
        includes vanilla beans from a Costa Rican organization
        that works on rain forest renewal.  In addition to
        other social and environmental usefulness, these
        relationships usually create stories that enhance the
        brand image of the Company.

        We also see licensing as an opportunity to fulfill a
        social purpose. For example, we pay a licensing fee to
        the band Phish for Phish Food with the fee directed to
        a foundation that supports projects to cleanup Lake
        Champlain. We seek to source both licensed and other
        products that we sell in our stores in a socially
        responsible manner.

9.      Provide ongoing support for Partnerships with Non-
        profits.

        In the past we have worked with The Children's Defense
        Fund and Greenpeace. We tend to work with groups that
        are not likely corporate partners whose focus is on
        issues of environmental degradation or social injustice
        and poverty.

10.     Continue ongoing contribution for philanthropy and
        support for site community projects.

        The Company currently donates a portion of its pre-tax
        profits through employee-led philanthropy to non-profit
        organizations committed to positive social change.


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        This contribution was $1.1 million in the aggregate in
        1999.

11.     Continue the Social Audit/Assessment and Reporting.

        The Company sets annual social mission goals as part of
        the annual planning process and conducts a social audit
        around its performance. The audit is completed
        internally with an outside auditor retained to review
        and report on results. The complete social performance
        assessment is published in our annual report. We have
        for the past 11 years conducted social performance
        assessments.

Addendum

The following list contains certain further aims.  It is the
current intention of Conopco, subject to economic viability,
to conduct the business of the Surviving Corporation in a
manner consistent with the following aims. Economic
viability shall be as mutually agreed in good faith by the
Company Board and Conopco.

         (i) significant women and minority representation on
        the Company Board;

         (ii) affirmative programs to identify and provide
        technical assistance to vendors owned by minorities and
        indigenous peoples;

        (iii) affirmative programs to identify and to provide
        financial and technical assistance to vendors which
        give priority to a social change mission;

        (iv) the expansion of the number of PartnerShops and
        franchises owned by women, minorities and indigenous
        peoples;

        (v) the Company's headquarters and primary production
        facilities remaining in Vermont;

         (vi) the purchase of non-RBGH milk and cream primarily
        from Vermont farms;

        (vii) the use of unbleached and recyclable packaging,
        to the extent available at connnercially reasonable
        prices;

        (viii) the purchase of key connnodities (such as
        vanilla, coffee and cocoa) according to fair trade



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        practices, to the extent available at corrnnercially
        reasonable prices; and

        {ix)   the continued advocation of positive social
        changes on packaging, such as non-partisan campaign
        finance reform, national budget priorities, sustainable
        energy etc.




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